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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA

     Plaintiff,

     v.                                                    Criminal Action No. 17-232-EGS

     MICHAEL T. FLYNN,

     Defendant.




                            MR. FLYNN’S MOTION FOR LEAVE
                        TO FILE OVERLENGTH MOTION AND BRIEF
                              AND TO FILE 50 MINUTES LATE

          Michael T. Flynn (“Mr. Flynn”) respectfully requests leave to file his Supplemental Motion

to Withdraw Plea for Alternative Reasons in excess of the page limits specified in Local Criminal

Rule 47(e). The motion is very fact intensive and counsel has acted reasonably to reduce the text

as much as reasonably possible but believes that the full factual and legal issues cannot be fully

presented to the Court in less than fifty (50) pages. Therefore, Mr. Flynn requests that leave be

granted to file a combined motion and brief not exceeding fifty (50) pages. Moreover, due to a

technical malfunction on counsel’s computer, the brief was not filed pursuant to the Court’s

deadline of 12:00 p.m., for which counsel apologizes to the Court. Counsel requests that the Court

consider the motion be timely filed even though it was approximately 50 minutes late. Counsel

promptly notified the government when the technical error was discovered. The brief and its

exhibits are attached to this motion.

 Dated: January 29, 2020                        Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2020, a true and genuine copy of Mr. Flynn’s Motion

for Leave to Exceed Page Limits was served via electronic mail by the Court’s CM/ECF system

to all counsel of record, including:

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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA

     Plaintiff,

     v.                                                  Criminal Action No. 17-232-EGS

     MICHAEL T. FLYNN,

     Defendant.



                                     [PROPOSED] ORDER

          Having considered Defendant’s Motion for Leave to File Overlength Motion and Brief

and File 45 Minutes Late, and for good cause shown, it is hereby ORDERED that:

          The motion to Motion for Leave to File Overlength Motion and Brief is granted and Mr.

Flynn’s Motion and Brief, attached as Exhibit A, and its accompanying exhibits shall be deemed

filed by the clerk.

          It is FURTHER ORDERED that Defendant’s request to file 45 minutes late is granted.

          SO ORDERED.


Dated: ____________________                                 ______________________
                                                            Emmet G. Sullivan
                                                            United States District Judge
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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA

   Plaintiff,

   v.                                               Criminal Action No. 17-232-EGS

   MICHAEL T. FLYNN,

   Defendant.



           SUPPLEMENTAL MOTION TO WITHDRAW PLEA OF GUILTY
                        AND BRIEF IN SUPPORT


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          More than a year ago, at the December 18, 2018, Sentencing Hearing, this Court declared

that it could not “recall any incident in which the Court has ever accepted a plea of guilty from

someone who maintained that he was not guilty,” and that it did not “intend to start” that day.1

Michael T. Flynn (“Mr. Flynn”) does maintain that he is innocent of the 18 U.S.C. §1001 charges;

and he did not lie to the FBI agents who interviewed him in the White House on January 24, 2017.

As will be seen below, and at any evidentiary hearing ordered by this Court, Mr. Flynn’s guilty

plea (and later failure to withdraw it) was the result of the ineffective assistance of counsel

provided by his former lawyers, who were in the grip of intractable conflicts of interest, and

severely prejudiced him.

          This brief provides this Court every reason to honor its commitment to protect a man who

earnestly maintains his innocence. Mr. Flynn moved on January 13, 2020, to withdraw his plea of

guilty because of the government’s bad faith, vindictiveness, and breach of the plea agreement.

ECF No. 151. This Supplemental Motion addresses alternate reasons why it would only be “fair

and just” for the Court to permit Mr. Flynn to withdraw his plea. United States v. Cray, 47 F.3d

1203, 1206 (D.C. Cir. 1995).

          First, Mr. Flynn’s former counsel at Covington & Burling LLP (“Covington”) developed

what is often referred to as an “underlying work” lawyer-to-client conflict of interest early in the

representation.2 It arose from mistakes that the firm made in the Foreign Agents Registration Act

(FARA) filings it had made for Mr. Flynn and his company Flynn Intel Group (“FIG”). Rather

than disclosing the errors—and insisting Mr. Flynn obtain new counsel to fix the problem, or




1
    Hr’g Tr. Dec. 18, 2018 at 7.
2
    Geoffrey Hazard, William Hodes & Peter Jarvis, The Law of Lawyering, §10.07.6 (4th ed. 2015).



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allowing Covington to continue the representation (and the fix), knowing the truth—the lawyers

said nothing to Mr. Flynn, charged him hundreds of thousands of dollars to re-do its own prior

work, and still did not take the readily available steps of amending or supplementing the FARA

forms.

         In August 2017, the Special Counsel’s Office (“SCO”) began to threaten Covington’s work

with criminal FARA-related charges by way of an indictment of Mr. Flynn’s former business

partner, Bijan Rafiekian. Covington’s “underlying work” conflict of interest suddenly escalated

into a non-consentable conflict of interest that tainted every moment up to and through the guilty

plea in December 2017 and the Sentencing Hearing in this Court in December 2018. That

pernicious conflict infected and prejudiced his defense until he retained new counsel in 2019.

         As a result of this debilitating lawyer-to-client conflict of interest, the Covington lawyers

lost all ability to provide the effective assistance of counsel that the Sixth Amendment requires. At

every turn, the lawyers’ interest was in obscuring their original errors, hiding the fact that they had

never come clean with their client, and trying ever-harder to sweep their problems under the rug

by arranging for and preserving a plea that Mr. Flynn wanted to withdraw.

         Mindful of their own interests, Mr. Flynn’s former counsel repeatedly gave him advice that

was not “within the range of competence demanded of attorneys in criminal cases.” Strickland v.

Washington, 466 U.S. 668, 687 (1984). Repeatedly, “counsel actually acted in a manner that

adversely affected [their] representation by doing something, or refraining from doing something,

that [] non-conflicted counsel would not have done.” United States v. Taylor, 139 F.3d 924, 930

(D.C. Cir. 1998). They did irreparable damage to Mr. Flynn.

         They next kept the SCO’s November 1, 2017, express concerns and demands about the

conflict of interest from Mr. Flynn; and, they represented to the government that they discussed




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the conflict—all while they worked to position themselves favorably at Mr. Flynn’s expense. On

the eve of his plea, they kept from him information they knew was crucial to his decision.

       In this Circuit, a defendant seeking to withdraw a guilty plea before sentencing must

establish the “prejudice” element by showing “that there is a reasonable probability that, but for

counsel’s errors, he would not have pleaded guilty and would have insisted on going to trial.”

Taylor, 139 F.3d at 929-30. In this case, the evidence will show that if Mr. Flynn had been given

constitutionally adequate advice, he would not have pled guilty in 2017, and he would have

withdrawn his plea in 2018. The taint of Covington’s constitutional violations permeates this case.

       In addition, there were defects in the Rule 11 plea colloquy. When this Court extended the

colloquy in December 2018, among the questions this Court did not ask was if any additional

promises or threats were made to Mr. Flynn. The answer to that question is yes, there were.

Moreover, this Court ended the sentencing hearing noting that it had “many, many, many more

questions” about the factual basis for the plea. Hr’g Tr. Dec. 18, 2018 at 50:12-13. Accordingly,

withdrawal of the plea should be allowed pursuant to Cray, 47 F.3d 1203.

I.     THE STANDARD FOR WITHDRAWING A GUILTY PLEA PRIOR TO
       SENTENCING.

       The Federal Rules of Criminal Procedure allow for withdrawal of a guilty plea before

sentencing “if the defendant can show a fair and just reason for requesting the withdrawal.” Fed.

R. Crim. P. 11(d)(2)(B) (paraphrasing Kercheval v. United States, 274 U.S. 220, 224 (1927)). In

this Circuit, the trial courts (and the appellate courts on review) consider three factors, the last of

which is the most important: “(1) whether the defendant has asserted a viable claim of innocence;

(2) whether the delay between the guilty plea and the motion to withdraw has substantially

prejudiced the government's ability to prosecute the case; and (3) whether the guilty plea was




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somehow tainted.” United States v. McCoy, 215 F.3d 102, 106 (D.C. Cir. 2000). Mr. Flynn readily

satisfies each of the three factors, and the taint is overwhelming.

       A.      Mr. Flynn Asserts a Viable Claim of Innocence.

       “The District Court should not attempt to decide the merits of the proffered defense, thus

determining the guilt or innocence of the defendant.” Everett v. United States, 336 F.2d 979, 982

(D.C. Cir. 1964), quoting Gearhart v. United States, 272 F.2d 499, 502 (1959). Only if the district

court concludes that the defendant has not alleged any cognizable claim for relief, or that the

defendant's “conclusory allegations [are] unsupported by specifics,” or that the defendant's

allegations “in the face of the record are wholly incredible,” may it summarily dismiss the motion.”

Taylor, 139 F.3d at 933.

       Courts typically employ something of a sliding scale to decide whether a claim of

innocence is “viable” in this context: where it is clear that a plea was constitutionally “tainted,” a

defendant needs to show correspondingly less to establish a viable claim of innocence. As this

Circuit remarked in Taylor, “[t]he third [taint] factor is the “most important,” and the standard for

allowing withdrawal of a plea is fairly lenient when the defendant can show that the plea was

entered unconstitutionally.” 139 F.3d at 929 (internal citations omitted). See also, McCoy, supra,

215 F.3d at 106.

         Mr. Flynn’s claim of innocence is more than viable, and there is a very strong showing of

constitutional taint here. Mr. Flynn would be able to start his defense with evidence that the FBI

agents who interviewed him at the White House believed that he was not lying and maintained that

belief in the face of objection and even derision from senior FBI colleagues. In addition, he would

be able to present the actual recordings and transcripts of his calls with Russian Ambassador

Kislyak, and he knew that the FBI already had those recordings and transcripts. In addition, Mr.




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Flynn would presumably be able to present whatever 302s are now “missing,” and countless

other Brady disclosures that the government has dribbled over the last year. He would also be able

to demand additional evidence the government continues to suppress. Mr. Flynn could present

numerous other defenses and suppress evidence illegally obtained. The standard does not require

Mr. Flynn prove he would be acquitted. It is enough to say that Mr. Flynn’s claim of innocence is

“viable,” and it is.

        B.      The Government's Ability to Prosecute the Case has not been Substantially
                Prejudiced.

        This Court should not tarry long over the second factor: whether the lapse in time between

the original plea and the motion to withdraw the plea has “substantially prejudiced the

government's ability to prosecute the case.” McCoy, 215 F.3d at 106. The test does not depend

upon whether the government will be annoyed or even inconvenienced. Not only must there be

substantial prejudice, but the prejudice must go to the government’s very ability to prosecute the

case. No witnesses have died, the documents are readily available, and if the government ever had

a case, it should still be able to prove it. Indeed, the defense and the government have been in

active litigation over those records for much of the time since the original plea. See United States

v. Russell, 686 F.2d 35, 40 (D.C. Cir. 1982) (holding that the government was not prejudiced where

the government had not shown the unavailability of crucial witnesses or that its case was

prejudiced by the passage of time).

        Finally, although Mr. Flynn’s chief argument about the “taint” that infected his case

emanated from the ineffective assistance of his former counsel, the government’s coercive tactics

and other wrongful conduct contributed as well. Thus, any claim that the government might make

about “substantial prejudice” would have to be discounted by the government’s self-inflicted

damages.


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         C.      Sixth Amendment Violations—The Ineffectiveness of Mr. Flynn’s Former
                 Counsel—Tainted his Guilty Plea as well as the Subsequent Colloquy at his
                 December 2018 Hearing.

         The third and most important factor in determining whether a defendant should be

permitted to withdraw a guilty plea before sentencing is “whether the guilty plea was somehow

tainted.” United States v. McCoy, 215 F.3d at 106. “Taint” in this context typically means that

the plea was entered “unconstitutionally,” which in turn often means that the plea was not

“voluntary and intelligent” because it was based on advice of counsel that fell below the level of

“reasonable competence” that is required to satisfy the Sixth Amendment. Strickland, 466 U.S. at

714. A year after Strickland was decided, the Supreme Court assimilated its test for claims of

ineffective assistance of counsel to the context of guilty pleas in Hill v. Lockhart, 474 U.S. 52

(1985). This Circuit summarized the resulting rule as follows:

         The Hill-Strickland test requires the defendant to show both that counsel's advice
         was not ‘within the range of competence demanded of attorneys in criminal cases,’
         and that as a result he was prejudiced, i.e. ‘there is a reasonable probability that, but
         for counsel's errors, he would not have pleaded guilty and would have insisted on
         going to trial.’

United States v. Horne, 987 F.2d 833, 835 (D.C. Cir. 1993) (internal citations omitted). Focusing

on different language from Strickland and Hill, the same court summarized similarly a few years

later:

         [a] defendant must [] show first, that his counsel’s performance ‘fell below an
         objective standard of reasonableness’ by identifying specific ‘acts or omissions of
         counsel that are alleged not to have been the result of reasonable professional
         judgment,’ and second a defendant ‘must demonstrate that the deficiencies in his
         representation were prejudicial to his defense. He ‘must show that there is a
         reasonable probability that, but for counsel’s errors, he would not have pleaded
         guilty and would have insisted on going to trial.’

Taylor, 139 F.3d at 929-30 (citations omitted). Mr. Flynn meets those tests throughout this case,

including with both his 2017 guilty plea and his colloquy with this Court. The multiple instances



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in which Mr. Flynn’s former lawyers’ conflicts of interest and actions fell completely short of

professional norms, thus depriving him of the constitutionally mandated effective assistance of

counsel, nullified his opportunity to make informed decisions about his own case, and it grossly

prejudiced his defense.

II.      IF THE GOVERNMENT OPPOSES WITHDRAWAL OF THIS PLEA, AND IF
         ANY MATERIAL FACTS ARE ACTUALLY DISPUTED, THEN THIS COURT
         SHOULD HOLD AN EVIDENTIARY HEARING.

         No hard and fast rule governs whether an evidentiary hearing is required before a court can

properly adjudicate ineffective assistance of counsel claims, including those undergirding a motion

to withdraw a guilty plea. Much depends on exactly what is being contested and what materials

the court will have to consider in deciding the merits. In Taylor, 139 F.3d at 932-33, this Circuit

wrote:

         Ordinarily, when a defendant seeks to withdraw a guilty plea on the basis of
         ineffective assistance of trial counsel the district court should hold an evidentiary
         hearing to determine the merits of the defendant’s claims. . . . On the other hand,
         some claims of ineffective assistance of counsel can be resolved on the basis of the
         trial transcripts and pleadings alone.3

III.     SUMMARY OF THE CONFLICTS AND ARGUMENTS

          Mr. Flynn’s former counsel at Covington made some initial errors or statements that were

misunderstood in the FARA registration process and filings, which the SCO amplified, thereby

creating an “underlying work” conflict of interest between the firm and its client. Because

Covington attempted to hide the difficulty instead of addressing it forthrightly with Mr. Flynn,

what began as a manageable conflict of interest devolved into an inescapable morass of ever-


3
  Since his rights have already been severely compromised by his prior counsel, as discussed in
detail, infra, he also requests that any testimony that he give be heard ex parte so that it does not
prejudice his Fifth Amendment rights. See United States v. Tucker, 2018 U.S. Dist. LEXIS
172319, 22-23 (D. N.H. 2018) (allowing a defendant seeking to withdraw his guilty plea to testify
at a sealed hearing on an ex parte basis).

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worsening and eventually non-consentable conflicts. Those conflicts led to a series of instances

in which Covington provided ineffective assistance of counsel that irreparably tainted Mr. Flynn’s

guilty plea and the December 2018 hearing in this Court.

       Had Mr. Flynn been timely and properly informed of the serious self-interest of his

attorneys and the firm—and the ever-deepening conflict versus his own defense—he would not

have permitted the representation to continue beyond August 2017 when Covington began to re-

investigate the FARA issues. Had Mr. Flynn been informed of the facts, he would have retained

an independent firm to provide a second opinion—not the original one that made mistakes it

wouldn’t own or correct.

       By November 1, 2017, Special Counsel [“SCO”] notified Covington that it recognized

Covington’s conflict of interest from the FARA registration. Government counsel specified Mr.

Flynn’s liability for “false statements” in the FARA registration, and he told Covington to discuss

it with Mr. Flynn. This etched the conflict in stone. Covington betrayed Mr. Flynn. His lawyers

did not discuss this concrete attorney-to-client conflict with him. They did not insist he obtain

independent counsel. They did not advise him Special Counsel had focused on FARA issues.

They did not withdraw. Instead, his own lawyers kept it all a secret from him for weeks. Then,

they tendered him defenseless and uninformed to SCO for two full days of proffers for everything

the SCO wanted from Flynn on Russia and his own “exposure.” They schooled him to “get through

the proffer” to satisfy SCO, and instead of objecting or defending him in the face of a room full of

government agents and lawyers, they even asked him questions to elicit the answers SCO wanted.

       There is no dispute there was a serious conflict of interest. It is undeniable. Covington

and SCO discussed it. That minute Mr. Van Grack informed Covington the SCO was considering

FARA false statement charges against Mr. Flynn, the question became: Were the suspected false




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statements the result of Covington’s misfeasance or malfeasance, or, did Mr. Flynn lie to his

lawyers?4

        Showing that Mr. Flynn was truthful with his lawyers would cast aspersion on the

competence, or perhaps even the honesty of the Covington lawyers and the reputation of “the

Firm;” so would withdrawing from the representation of the highest profile figure in the SCO

investigation. Thus, the SCO put Mr. Flynn’s lawyers’ interests in direct collision with Mr.

Flynn’s. Covington chose the “Flynn-lied-to-his-lawyers” option they had discussed by email the

prior night.

        These factors, especially the egregious taint of a lawyer-client conflict of interest known to

the Covington lawyers and the government—but not immediately, fully, or ever accurately disclosed

to Mr. Flynn—warrant granting this motion.5 From every angle, this case presents stunning Sixth

Amendment violations of Mr. Flynn’s constitutional rights.          “Long ago, the Supreme Court

instructed that ‘[t]he right to counsel guaranteed by the Constitution contemplates the services of an

attorney devoted solely to the interests of his client,’ an admonition which we ourselves have had

occasion to observe. ‘Undivided allegiance and faithful, devoted service to a client,’ the Court

declared, ‘are prized traditions of the American lawyer. It is this kind of service for which the Sixth

Amendment makes provision.’” United States v. Hurt, 543 F.2d 162 (D.C. Cir. 1976) (citing Von




4
  The obvious solution to this for the ethical lawyer would have been to inform the SCO that all
mistakes, errors or omissions, if any, belonged to Covington and file an amended or supplemental
form. Then, it should have informed Mr. Flynn immediately of the entire situation and given him
the choice of how to proceed. Covington, however, proceeded to sacrifice Mr. Flynn in its own
efforts to cooperate with Special Counsel—all behind his back—and quickly jumped on the
“Flynn-lied-to-his-lawyer” bandwagon.
5
 Mr. Flynn acknowledges the government may make every effort to seek an indictment against
him for all the charges prosecutors originally threatened.



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Moltke v. Gillies, 332 U.S. 708, 725 (1948)). “[T]he ‘assistance of counsel’ guaranteed by the Sixth

Amendment contemplates that such assistance be untrammeled and unimpaired . . . If the right to

the assistance of counsel means less than this, a valued constitutional safeguard is substantially

impaired.” Glasser v. United States, 315 U.S. 60, 70 (1942).

IV.    THE EVER-DEEPENING CONFLICTS OF INTEREST RESULTING IN
       COVINGTON’S DEFECTIVE ASSISTANCE OF COUNSEL.

       In late 2016, Mr. Flynn received an official inquiry letter from the Foreign Agents

Registration Act (“FARA”) unit of the DOJ. Mr. Flynn promptly turned to his personal counsel

and attorney for Flynn Intel Group (“FIG,”) Kristen Verderame. 6 She encouraged him to retain

Robert Kelner—a nationally known FARA expert at the international powerhouse of Covington

in Washington, D.C. Mr. Flynn, Ms. Verderame, and Mr. Flynn’s son Michael G. Flynn met with

Covington FARA lawyers Robert Kelner and Brian Smith extensively on January 2, 2017. ECF

No. 151-12. Mr. Flynn provided Covington all documents, emails, and contracts he or FIG had,

and gave the lawyers all the information he could remember—specifically pointing them to the

emails for the details. Id. Significantly, Mr. Flynn told Covington that Bijan Rafiekian, his former




6
  FIG had only existed for a few months, and FIG was already closed because Mr. Flynn was a key
member of the Presidential Transition Team. The three-month project for which FIG received the
inquiry was its first of any significance. Moreover, upon advice of counsel, FIG had timely filed
an “LDA” [“Lobbying Disclosure Act”] registration in September 2017—which often substitutes
for a FARA filing. Foreign Agents Registration Act, United States Department of Justice,
https://www.justice.gov/nsd-fara. According to the DOJ’s response to a letter from Congress, the
FARA unit of DOJ only issued 130 “inquiry letters” in the last 10 years from 2015. Ex. 35. Yet,
on November 30, 2016, within approximately three weeks of the mere publication of Mr. Flynn’s
opinion piece in The Hill—an article that was critical of Fetullah Gulen and the powerful “Muslim
Brotherhood”—and within thirteen days of Flynn’s designation as the National Security Advisor
for the new president—the FARA unit sent an “inquiry letter” to FIG.



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partner in FIG, wrote the first draft of the op-ed, that was the primary object of the FARA section’s

letters. Id. at 17.

        Mr. Flynn authorized Covington to investigate all the facts, work with multiple lawyers

from multiple firms—including Robert Kelley, Kristen Verderame, attorneys for the public

relations firm Sphere, and attorneys from Jones Day and Arent Fox. They also conferred and then

met with the DOJ, interviewed many witnesses—all independently of each other and Mr. Flynn—

and prepared and filed the FARA forms. See also, United States v. Rafiekian, 1:18-cr-00457, ECF

No. 270-4. Kelner soon wrote the FARA section a letter where he first made a fateful error. He

stated that Mr. Flynn “initiated the op-ed.”7 Somehow it morphed into a felony (as construed by

the SCO), and Covington apparently never corrected or clarified it.

        Your letter asked several questions regarding an op-ed authored by General Flynn
        and published in The Hill newspaper on November 8, 2016. It is our current
        understanding that the op-ed was initiated by General Flynn himself, and that he
        intended the op-ed to summarize a number of his longstanding public statements
        and positions regarding issues related to Turkey, Syria, and the Islamic State in Iraq
        and Syria. We also believe that the op-ed may have been prepared in the context of
        FIG’s representation of Inovo BV, as the draft op-ed was shared with a
        representative of Inovo BV prior to publication and the op-ed related to subject
        matters overlapping with FIG’s representation of Inovo BV. Again, our efforts to
        understand the relevant facts are ongoing, and we will continue to keep you and the
        Department apprised as our efforts continue. Ex. 1.

This was one of many communications, meetings, and phone conferences between the FARA unit

and Covington over the FIG filing.8


7
  This happened despite Mr. Flynn’s clear statement on January 2, 2017, that Mr. Rafiekian wrote
the first draft of the op-ed, and despite Rafiekian having separately informed Covington of this
fact and providing even more information shortly thereafter. ECF No. 151-12 at 17; ECF No. 150-
5 at 7.
8
  On January 13, 2017, Heather Hunt replied to Covington’s January 11, 2017, letter and said,
“[b]ased on your letter and our previous communications, we anticipate that General Flynn and
the Flynn Intel Group will be filing a FARA registration statement imminently. . . Please continue
to keep us informed regarding your progress.” Ex. 2. Hunt emailed Kelner many times over the

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       Hunt and the FARA unit did not leave it to Covington to keep them informed. Kelner

recognized the unprecedented interest of the FARA unit in Mr. Flynn: “Heather Hunt [of FARA

unit] has been all over us. She emailed and then left a voicemail yesterday afternoon asking for a

call this weekend.” * * * “We’ve never seen her this engaged in any matter (ever).” Ex. 5.

       Meanwhile, on January 24, 2017, as we have briefed elsewhere, FBI Director Comey and

Deputy Director McCabe dispatched Agents Strzok and “SSA 1” to the White House—

deliberately contrary to DOJ and FBI policy and protocols—without notifying DOJ.9

       A.      The FARA Section and David Laufman at DOJ Pressure Covington for the
               FARA Filing, and Covington Magnifies Its Mistake.

       On February 13, 2017, the day Mr. Flynn resigned from the White House, David Laufman,

along with Heather Hunt of the FARA Unit, among others, had a call with Covington to pressure

them to file the FARA forms immediately.10 Ex. 5.




following weeks—relentlessly checking in on the status of the filing. On January 19, 2017, Heather
Hunt emailed Kelner, “Rob, any updates?” Kelner replied that Covington was working
“expeditiously” to compile the registration, and the firm did. Ex. 3.
9
   This was actually the FBI’s second surreptitious interview of Mr. Flynn—without informing
him even so much as that he was the subject of their investigation. SSA 1 had “interviewed him”
in a “sample Presidential Daily Briefing” (“PDB”) on August 17, 2016—unbeknownst to anyone
outside the FBI or DOJ until revealed in the recent Inspector General Report of December 9, 2019.

   This also goes to Mr. Flynn’s claim of actual innocence. Against the baseline interview the FBI
surreptitiously obtained under the guise of the PDB (in August 2016), the agents conducted the
White House interview and immediately reported back in three extensive briefings during which
both agents assured the leadership of the DOJ and FBI they “saw no indications of deception,” and
they believed so strongly that Mr. Flynn was shooting straight with them that Strzok pushed back
against Lisa Page’s disbelief and Deputy Director McCabe’s cries of “bullshit.” ECF No. 133-2 at
4. This development is addressed in Flynn’s Motion to Dismiss for Egregious Government
Misconduct filed contemporaneously herewith.
10
   Even when it was filed, lawyers at Covington were not sure it was required, and the FARA
expert at Arent Fox was adamant it was not required. Ex. 6.



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          The next day—Mr. Flynn’s first day out of the White House, with media camped around

his house 24/7—Rob Kelner and Brian Smith of Covington, and Kristen Verderame, called Mr.

Flynn to give him a status update on the FARA issues. Mr. Flynn accepted their recommendation

that it was better to file, and he instructed the lawyers to “be precise.”11

          On February 21, 2017, David Laufman, Heather Hunt, Tim Pugh, and multiple others from

the FARA Unit telephone-conferenced with Covington. Ex. 8. Laufman directed the content,

scope, and duration of the call. In this lengthy conversation, Kelner exacerbated his prior mistake,

stating that “Flynn wrote [the op-ed],” and that Mr. Rafiekian, Mr. Flynn’s former business partner,

provided “input.” Ex. 8 at 2. Kelner apparently misremembered or misspoke, but the SCO

parlayed the description in the FARA form into a felony attributable to Mr. Flynn. Meanwhile,

Covington—instead of owning any error and correcting it—began a campaign of obfuscation that

deepened the conflicts, created Mr. Flynn’s criminal exposure, and led to repeated instances of

ineffective assistance of counsel.12

          That evening, Heather Hunt requested a meeting the next day at Covington’s offices to

review the draft FARA filing in person. She and several others from the FARA unit, arrived and

reviewed the FARA draft and discussed logistics. Mr. Smith made notes of matters to include in

the filing, such as the New York meeting with Turkish officials, payments to Inovo, specifics of

the Sphere contract, and Sphere’s budget (if established). The team noted that if Turkey was

involved, it must be listed on the filing, and they created various reminders. Finally, Ms. Hunt




11
     Ex. 7: Smith Notes of 2/14/17 call.
12
  Covington lawyer Brian Smith’s notes of January 2, 2017, and reconfirmed in his 302 of June
21, 2018, show that Mr. Flynn stated Rafiekian wrote the first draft. ECF No. 151-12 at 17. ECF
No. 150-5 at 7. Rafiekian told Covington this also, and the emails confirmed it. Ex. 10.



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reminded the Covington team to file by email and send a check to cover filing fees by a

courier.13 Ex. 9.

        Covington filed the forms on March 7, 2017. Hunt acknowledged receipt at 10:50 p.m.,

prompting Smith to remark to his colleagues, “They are working late at the FARA Unit.” Ex.12.

        Hardly had the FARA registration been uploaded on the FARA website when the onslaught

of subpoenas began.14 On May 17, 2017, Special Counsel was appointed, and the much-massaged

“final” Flynn 302 was reentered for use by the SCO. Soon thereafter, the SCO issued a search

warrant for all Flynn’s electronic devices. Meanwhile, Covington’s August 14, 2017, invoice

alone was $726,000, having written off 10% of its actual time. Ex. 13 at 3.

        B.      By the Summer, SCO Takes Down Paul Manafort and Signals FARA Issues
                Are on its Radar.

        In late May/early June 2017, Mr. McCabe’s former Special Counsel Lisa Page left the

SCO, FBI, and DOJ, soon followed by FBI Agent Peter Strzok who had interviewed Mr. Flynn at

the White House. The Inspector General for DOJ had found thousands of texts proving an affair

between Strzok and Page and their shared hatred of Trump and his supporters. ECF No. 133-2.

The SCO did not notify Congress or anyone of the reason for the departure of two of its most

important team members, but it did kick into high gear against its targets. On July 26, 2017, a

swarm of FBI agents raided Paul Manafort’s home in the pre-dawn hours. They ransacked his


13
  On March 3, 2017, Kelner emailed Hunt to tell her “we are not quite ready to file, but close.”
Hunt wanted more detail and demanded to know, “close as in later today, or close as in next week?”
Kelner responded, Tuesday, March 7, 2017. Ex. 11.
14
    Covington received multiple subpoenas from the DOJ FARA unit, as well as subpoenas from
the House Permanent Select Committee on Intelligence, the Senate Select Committee on
Intelligence, and then Special Counsel Office. In response to these subpoenas, Covington provided
many thousands of documents in sixteen productions from April 2017 through October 2017 alone,
and Mr. Flynn’s legal fees exceeded two million dollars.



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home and searched his wife in her nightgown in their bed.15 The SCO was contemplating multiple

charges against Manafort—including FARA. Id.

       C.      After Learning the SCO Has the FARA Filings in Its Sights, Covington Quietly
               Begins Its FARA Assessment Anew.

       By August 10, 2017, Covington learned the SCO was examining Covington’s FARA filing

for FIG and Mr. Flynn. Covington began re-interviewing all FIG witnesses, redoing its entire

FARA assessment, and even interviewing Robert Kelley (prior counsel for FIG). Covington never

notified Mr. Flynn of what it was doing, or—even more important—why. This escalated the

conflict to a new level and rendered a simple resolution impossible.

       In late August 2017, Covington learned SCO was threatening an imminent indictment of

FIG partner Bijan Rafiekian for FARA violations. On August 30, Covington emailed Mr. Flynn

that there had “been a development” that was “not urgent,” but the lawyers wanted to chat. Ex. 14.

       The Flynns, who were at their home in Rhode Island, replied that they were heading to

dinner with friends. Kelner and Anthony called them while the Flynns were en route. On that

brief call, Kelner and Anthony relayed that Rafiekian was facing imminent indictment on FARA

charges. The lawyers mentioned a “possible conflict,” that Kelner might have to testify, but they

assured Mr. Flynn they would still be able to “vigorously defend” his case. But this was not just

another unfortunate, but manageable, conflict of interest. By this time, Covington now knew there

was a distinct possibility that one of Mr. Flynn’s lawyers not only might have to testify against his

former partner Rafiekian, but that he would be required to testify against his own client. That

instantly created a non-consentable conflict of interest that only worsened.



15
  Del Quentin Wilber and Byron Tau, FBI Raided Home of Paul Manafort in Russia Probe,
WALL ST. J. (Aug. 9, 2017, 12:00 PM), https://www.wsj.com/articles/fbi-raided-home-of-paul-
manafort-in-money-laundering-probe-1502294411.

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       Although the Covington lawyers knew they were in a conflict situation that should have

led to their immediate withdrawal from the representation, they did not bother with a written or

serious in-person explanation of the conflict.        They did not insist that Mr. Flynn consult

independent counsel to seek advice as to the wisdom of continuing to be represented by conflicted

counsel. And even if the new conflict of interest had been consentable, they did not seek their

client’s informed consent. Beyond this, Mr. Flynn’s former counsel failed even to bring to his

attention the additional (also non-consentable) conflicts that they could see coming—but he

obviously could not. What had begun as a simple mistake in doing the FARA filing suddenly had

the potential of exposing the Covington lawyers to civil or criminal liability, significant headlines,

and reputational risk. That the Covington lawyers thought that a “drive-by” cell-phone chat, while

their client was on his way to dinner with his wife, was sufficient disclosure in these dire

circumstances revealed their cavalier attitude and presaged far worse.

       D.      Judge Howell Unseals a Crime-Fraud Order in the Manafort FARA Case, and
               Covington’s Fears of its Own Exposure Increase.

       On the weekend of October 28-29, 2017, the Special Counsel’s investigation reached full

boil. SCO charged Paul Manafort and his longtime associate Rick Gates with multiple criminal

violations, including FARA violations. On October 30, 2017, Judge Beryl Howell unsealed an

order allowing the government access to Manafort’s communications with his lawyers, applying

the crime-fraud exception to the attorney-client privilege.16

       The Covington lawyers knew that their work on the FARA filing for Mr. Flynn posed

multiple risks for the firm. In an internal email, they noted that the SCO was so far unlikely to be


16
   As Judge Howell explained, “the [crime-fraud] exception comes into play when a privileged
relationship is used to further a crime, fraud, or other fundamental misconduct.” In Re Grand
Jury Investigation, 2017 U.S. Dist. LEXIS 186420, *21-22 (D.D.C. Oct. 2, 2017).



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able to obtain a similar crime-fraud order in the Flynn case, and so far was “stymied” in pursuing

“a Flynn-lied-to-his-lawyers theory of a FARA violation.” Ex. 15. Yet they were highly attuned

to the risk that the situation could change and determined to proceed with extra caution to prevent

their fear from becoming the reality. After the Manafort order was unsealed, Steven Anthony wrote

to Rob Kelner:

       I just had a flash of a thought that we should consider, among many many factors
       with regard to Bob Kelley, the possibility that the SCO has decided it does not have,
       [with regard to] Flynn, the same level of showing of crime fraud exception as it had
       [with regard to] Manafort. And that the SCO currently feels stymied in pursuing a
       Flynn-lied-to-his-lawyers theory of a FARA violation. So, we should consider the
       conceivable risk that a disclosure of the Kelley declaration might break through a
       wall that the SCO currently considers impenetrable. 17

       Remarkably, Mr. Flynn’s former lawyers still said nothing to their client about this

important development and its impact on their ability to continue to represent him. Yet, the

lawyers were aware of and responding to the increased pressure that they felt. The same day, Mr.

Kelner forwarded to Mr. Anthony, without comment, a copy of the January 11, 2017, letter he had

sent to FARA’s Heather Hunt—the one in which Kelner had confused the difference between

“writing,” “publishing,” or “initiating” an op-ed.

       Heightening Covington’s concerns about the SCO’s apparent focus on its FARA filing,

Kelner received a phone call from SCO prosecutor Brandon Van Grack at 4 p.m. on October 31,

2017, in which Mr. Van Grack demanded a meeting. Ex. X (4pm meeting email).




17
   Robert Kelley was FIG’s lawyer—first consulted by Mr. Rafiekian—who filed the LDA
registration for FIG in September 2016. Other emails show the Covington lawyers’ surprise (or
fear) about Kelley’s candor in explaining his prior actions. Ex. 16. Mr. Kelley took full
responsibility for the decision to file an LDA (as opposed to FARA) for FIG and for the contents
of that filing—both in his declaration and on the witness stand in the Rafiekian case. Exs. 17, 18.
Mr. Kelley was never charged with any wrongdoing.



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       E.      The SCO Etches Covington’s Conflict of Interest in Stone by Putting
               Covington on Notice of FARA Charges against Mr. Flynn, Along with Charges
               under 18 U.S.C. §1001.

       The Covington team went to the Special Counsel’s Office to meet with Mr. Van Grack and

his colleague Zainab Ahmad. Van Grack etched Covington’s conflict of interest in stone. He said

the SCO saw Mr. Flynn’s exposure as “(1) FARA (failure to register); (2) FARA false statements;

and (3) false statements to government officials.” Ex. 19. This was the “universe of charges” they

were considering against Mr. Flynn. Ex. 19.

       Kelner mentioned statutory immunity only in passing, but he did nothing to make a stand

for it or Mr. Flynn. Id at 2.18 He recognized there was exposure for his client in agreeing to a

proffer with only a “queen for a day” agreement. Id. at 3. Van Grack claimed the proffer was not

“supposed to be a ‘gotcha’ interview.” Id. at 3. Anthony acknowledged “this would definitely be

a leap of faith on our part.” Id.

       F.      Remarkably, SCO Specifically Raises the Conflict of Interest with Covington
               and Instructs Covington to Discuss with Mr. Flynn.

       The lawyer-to-client conflict became unescapable. Had there been any justification for

Covington not withdrawing previously, or at least advising the client and insisting he obtain



18
    Immunity would seem particularly appropriate to demand for a national hero like Mr. Flynn—
especially in light of the immunity grants freely awarded to at least five Clinton colleagues
including Cheryl Mills, and Heather Samuelson—who destroyed evidence and Clinton emails—
Brian Pagliano who set up her server, and others; not to mention SCO’s decisions not to prosecute
others who lied to them, such as former CIA Director James Woolsey (who attended the FIG NY
meeting with Turkish officials) and Joseph Mifsud (whom they allowed to leave the country
despite his lies); and, an apparent grant of immunity to Tony Podesta for many of the same offenses
Manafort committed.) Michael Biesecker, GOP lawmaker: FBI gave immunity to top Clinton
aide, AP (September 23, 2016), https://apnews.com/5eb9830643084dfa9fcbedd8b18b08e0/gop-
lawmaker-fbi-gave-immunity-clinton-aides-testimony.




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independent counsel to advise him on the entire situation, it evaporated at that moment. “There’s

one more issue I want to bring up,” Van Grack told Anthony and Kelner, “Because Covington

prepared the FARA registration, that would make you [Kelner] a fact witness. It isn’t something

we are considering.” Kelner dug in. “If we were to get to that point, we would litigate it very

aggressively.” Id. Kelner replied: “[w]e saw what you guys did with Manafort, and we’ll

definitely raise it with our client.” Id. at 4.

        G.      Covington Does Not Raise the Likely FARA Charges—Much Less the
                Stunning Conflict with Mr. Flynn.

        Despite SCO’s expressed concerns, and despite Kelner’s promise to address with his client

that remarkable fact that the SCO had just raised the conflict of interest and Mr. Kelner’s position

as a witness adverse to his own client, Kelner and Anthony said nothing to Mr. Flynn. Covington

did not raise the preclusive conflict with their client on November 1st. They did not raise it when

they met with Mr. Flynn three days later on November 4th. They did not raise it in proffer

preparation. They did not raise it before the first proffer, and they did not raise it the night of the

first proffer or the day of the second proffer. Indeed, they did not raise it until almost three weeks

later—late Sunday, November 19th. Instead, the Covington lawyers created talking points for their

own dealings with the SCO. Ex. 23.

        H.      Covington Calls SCO to Arrange a Deal for The Firm—Not Mr. Flynn.

        Instead of withdrawing then or even just informing Mr. Flynn of this stunning

development, on November 3, 2017, Covington called the SCO. Kelner said that the meeting two

days earlier left the defense team with “a few critical questions as to whether we could get

comfortable bringing [Flynn] in for a proffer.” Ex. 20 at 1. Van Grack and Ahmad said the proffer

had to happen because of “where we are in our investigation.” Id. They said the focus of the first

proffer was going to be on issues and activities Mr. Flynn was aware of or witnessed during the


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transition and his time in the White House. Id. at 2. Specifically, Van Grack claimed that the

“initial focus” would not be on topics “that could [] incriminate.” Id. Ahmad clarified that

“[w]e’re eventually going to want to talk about everything. That will include topics he has criminal

exposure on. We aren’t interested in Turkey right now.” Id.

       Anthony got the point that the firm’s own FARA problem could be postponed from its

perspective. “Cutting to the chase, are you going to ask him ‘what is Inovo’ or do you intend to

leave Turkey aside and talk about the types of things [Van Grack] was talking about?” Id. Notably,

Anthony limited his concern to the FARA issues, as to which he and Covington had exposure.

This is not the work of an unconflicted counsel whose sole interest is protecting his client’s rights

and interests.

       Van Grack agreed to postpone discussion of issues as to which Covington had potential

liability. He said “What I would propose is, right now, we want to talk with your client for more

than one day. Right now, initially, we are fine not talking about Turkey or the FARA piece because

our investigation is not focused on Turkey/FARA.”19 Id.

       With that exchange, the false statements Mr. Flynn allegedly made to the FBI and all the

“Russia collusion” issues were on the table first, where he had “exposure.” His own lawyers teed

him up to discuss what SCO really wanted. Simultaneously, Covington took the FARA issues off

the table—the only risk of problems for the firm. Id. at 4.

       I.        Covington Met with Mr. Flynn the Next Day but Did Not Disclose the FARA
                 Target, the Firm’s FARA Liability, or Covington’s Pernicious Lawyer-Client
                 Conflict of Interest.




19
    This is a significant change from Van Grack’s original position that listed FARA charges as
first and second in the “universe” of three charges against Mr. Flynn.



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       On November 4, 2017, the Covington team met with Mr. Flynn to discuss the proffer and

supposedly to update him on its conversations with SCO. They urged him to accept the proffer.

They pointed out risks, and they advised Mr. Flynn that “the prosecutors seemed really worked up

about the [January 24, 2017] FBI interview.” Exs. 21, 22. Despite recognizing on October 30

(only 4 days earlier) the “impenetrable wall” of attorney-client privilege between Covington and

Flynn—and the inability of SCO to prove a “Flynn-lied-to-his-lawyer case” on the FARA filing—

they warned, however, that a proffer “may be our only way of talking them out of the indictment.”

Id. Covington’s self-interest reared its head, and it cannot be disentangled from its advice to Mr.

Flynn to proceed to discuss what the SCO wanted and divert attention from the firm’s problematic

FARA registration. Covington withheld information its fiduciary relationship with its client

required it to disclose. It withheld the secret of the firm’s FARA liability, that SCO identified a

clear conflict of interest, that SCO had instructed Covington to discuss it with Mr. Flynn, that SCO

identified two FARA charges at least, and that Covington needed to protect itself.

       Anthony gave a list of twelve factors to consider about going in for a proffer, but there was

not a mention of FARA. In fact, Covington did not raise FARA issues at all with Mr. Flynn. Id.

When Mr. Flynn, sua sponte, asked about the charges, Anthony deflected, strongly encouraging

the Flynns to participate in the proffer because it would give the SCO the chance to “get to know

the real Mike Flynn…” Ex. Flynn).20 Then Covington prepared talking points for a call with the

SCO to set up the meeting. Ex. 23.


20
     The next day, NBC ran a story that described “sources” saying that the SCO was going to
proceed with charges against Flynn. One paragraph was particularly clear: “If the elder Flynn is
willing to cooperate with investigators to help his son, two of the sources said, it could also change
his own fate, potentially limiting any legal consequences.” Ex. 24. Kelner and Anthony had already
predicted that if Mr. Flynn didn’t proceed with the proffer, he would likely be indicted within
weeks, and his son was at risk of indictment also.



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        Kelner called Van Grack the next day, and SCO agreed to postpone any discussion of the

FARA issues. Van Grack suggested a two-day proffer, over consecutive days, “talking between

4-5 hours each day.” Now Covington was being asked to prepare a client for a multiple day proffer

in days. Id. Covington agreed to proffer sessions on November 16 and 17, 2017, and provided

Mr. Flynn some preparation on November 15, 2017. Ex. 25. Still Covington did not disclose to

Mr. Flynn that SCO included in its entire “universe of charges” his “FARA (failure to register);”

and “FARA false statements.” They did disclose the assertion of false statements to government

officials regarding contacts with Russian officials during transition. Ex19.

       The Covington lawyers continued to withhold the most important information: (i) that the

prosecutors themselves had raised Covington’s serious conflict of interest; (ii) the fact that the

SCO had suggested calling Kelner as a witness; (iii) the lawyers had their own fear of the firm

being subjected to the “Manafort treatment”; the headline risk of Covington in federal crime-fraud

order because of their FARA filing; and, their own criminal exposure if the SCO deemed the

lawyers co-conspirators instead of having the government operate on the theory of “Flynn-lied-to-

his-lawyers” discussed in their internal email only days earlier. Ex. 15.

       Van Grack told them if the “proffer tomorrow and Friday ‘goes well,’ they would want

Flynn to come back in Monday to proceed to the proffer on Turkey/Inovo/FARA.” Kelner said

they had not prepared him for that. [Van Grack] said that “because of time pressures… they might

need to tell us to be prepared to do the Turkey proffer Monday.” Ex. 26.

       J.      Covington Still Did Not Discuss the Conflict with Flynn.

       On the first day of the proffer, which was to start in the afternoon of November 16, 2017,

Van Grack called Anthony to discuss whether they had talked with Mr. Flynn about the conflict.

“Nothing to worry about,” Anthony wrote to Kelner to report on the call. “They wanted to ask




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what they’d previously asked: have we considered and disclosed to the client (a) RK’s potentially

being a fact witness and (b) Covington’s own interest with respect to its prior advice to FIG/MF

regarding FARA—and that the client is OK proceeding with us? Answer: yes.”                 Ex. 27.

Apparently, Mr. Anthony misled the government. 21

       K.      Self-Interested Covington Subjected Flynn to Two Days of “Exposure” on
               Russia and “False Statements” to the FBI.

       Covington subjected Mr. Flynn to two full days of proffers on the issues on which he had

the greatest “exposure” while they hid their conflict of interest. Not only did they not object to

any questions by the SCO, they asked questions of him themselves to elicit answers the SCO

wanted, and they strongly encouraged him, the second day, to say what they deemed would “get

him through the proffer” to the satisfaction of the SCO. Ex. 21.

       After those two days of proffers, Covington acceded to SCO’s scheduling demands,

cancelled trips, including Mr. Flynn’s return home, and took the weekend (November 18-19, 2017)

to begin preparing on FARA issues so Mr. Flynn could start a third proffer session on Monday,

November 20, 2017.

       It was not until Sunday afternoon, November 19, 2017, at 1:13 p.m., when Mr. Flynn was

at his lowest, that Covington partner Anthony finally sent Mr. Flynn with a written request for

consent to a “potential” conflict of interest that would have taken an ethics expert to comprehend.

Astonishingly, that email referenced and relied on the wrong ethics rules. Ex. 28. Mr. Flynn did



21
   Giving Mr. Anthony the benefit of the doubt, he must have been referring to the brief August
30 phone call, when Kelner and Anthony described "a development” that was “not urgent” in an
email, then spoke to the Flynns as they were driving to dinner. The lawyers raised the possibility
of Rafiekian being indicted on FARA charges; they mentioned “a conflict” but did not elaborate;
and they assured Mr. Flynn they would “vigorously defend” the case. Exs.21, 22. That does not
even constitute a cognizable “drive-by” of what was required.



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not even read and reply to the email until noon the following day—an hour before his third day of

proffers.

       He had been told that his freedom and his son’s freedom hung in the balance based on how

these time-critical proffers went, and he would likely be indicted in days if the proffers “didn’t go

well”—which meant to SCO’s satisfaction. The timing of Covington’s “notice” letter was only to

Covington’s advantage and Mr. Flynn’s complete disadvantage. He had been strongly encouraged

by his self-interested counsel through the worst two days and increased his “exposure.” Secretly-

conflicted Covington counsel did him an irreparable disservice, while completely protecting itself.

And then they did not even bother making their disclosure in person, so he could ask questions

and discuss with them any concerns, nor did they advise him that he should or must consult

independent counsel before making a decision, since their advice on the matter was, well,

conflicted.

       After replying to Anthony’s email and expressing his uninformed but profound trust for

his lawyers, Mr. Flynn proceeded through three more days of “proffers” with the SCO on FARA

and tangential issues through November 29, 2017. The exchange of documents for a guilty plea

began on November 27, 2017.

       L.      Before the Plea Documents were Even Shared with Mr. Flynn, Covington Was
               Gleefully Planning its Marketing Campaign Based on Flynn’s Plea

       They had barely started exchanging plea documents before Kelner wrote his partners an

email on November 27, 2017, with his plan to capitalize for the firm on Mr. Flynn’s plea.

       I've been thinking about this. Assuming we reach a resolution of the Flynn case this
       week, after that resolution is fully public, including the FARA discussion, I would
       feel free to issue a meatier client advisory on FARA. I am trying, as time permits,
       to work up a draft. After that goes out, I am thinking we could do a client briefing
       in DC, one in NY, and one in LA. We would need to generate a unique slide deck
       for this, based partly on the advisory. We could perhaps divide and conquer, pairing



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       with Zack and Derek, so that we could cover more locations quickly. Just sending
       out announcements of the events would be good advertising.

       This may be a lot to bite off, with the holidays coming up, but we may as well strike
       when the iron is hot, and I think Flynn would be fine with that, since the chances
       of our getting paid for his case are looking grim.

       Ex. 29.

Brian Smith agreed:

       I agree. I had a conversation last week with Derek, encouraging him and Zack to
       take advantage of the environment while you and I are constrained from doing so.
       I like the idea of client briefings, coupled with an advisory. I'm happy to help draft
       the advisory and update our prior decks, of course.

       All that said, I really worry about a press backlash if we launch something right on
       the heels of a plea. I agree that the General won't mind, but we could take a beating
       in the press if it's too close to the plea.

       With that in mind, we should definitely include Zack and Derek (to make it less of
       "Flynn's lawyers"). And I think some space from the plea is wise, notwithstanding
       the challenge that presents with the holidays and doing events while attention is
       high.

       Honestly, I think the attention will remain high, and you doing an event on FARA
       will generate a lot of attention itself. Id.

Their concern for their own reputations, and what marketing advantage they could gain—rather

than their client’s welfare—is obvious and grossly unethical.

       M.        Covington Does Not Share with Mr. Flynn the Crucial Details of the
                 Government’s Last-Minute “Disclosure.”

       On November 30, 2017, the day before Mr. Flynn’s plea, the SCO has said it disclosed to

Covington that “one of the agents who interviewed Mr. Flynn was being investigated by the DOJ

Inspector General” and had electronic communications that “showed a preference for one of the




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candidates for President.”22 The SCO also said it disclosed that the agents said Mr. Flynn had a

“sure demeanor,” and “did not give any indicators of deception” and that the agents “had the

impression at the time that Mr. Flynn was not lying or did not think he was lying.” But, Kelner

and Anthony did not transmit this important information from the SCO to Mr. Flynn. Whether an

oversight or deliberate strategy to keep Mr. Flynn from changing his mind about the plea, by that

time, it would have exposed Covington to significant reputational risk—at a minimum—and

scuttle the big marketing campaign.

       Mr. Flynn even specifically instructed Anthony and Kelner to call SCO immediately and

ask if the agents believed that he lied. Ex. 21. However, when Kelner and Anthony returned to

the room where Mr. Flynn was about to sign the plea agreement, they did not inform the Flynns

that Van Grack said, “both agents said ‘they saw no indication of deception,’” he had “a sure

demeanor,” and they “did not believe he was lying or he did not believe he was lying.” Ex.21.

Rather, they said “the agents stood by their statement.” Not only had Mr. Flynn neither been

properly informed nor properly consented (if such were even possible) to the pernicious conflict

of interest impairing his lawyers, but he also signed the plea without being fully informed of or

understanding the government’s eleventh-hour disclosure. Ex. 21. The SCO rushed them into

court the next morning for Judge Contreras to accept Mr. Flynn’s plea.

       N.     Covington Receives Awards for Flynn’s Guilty Plea.




22
   The SCO put nothing in writing. Van Grack said nothing to explain the full breadth of the text
messages, nor did Van Grack even name Strzok. He did not disclose the massive quantity of
messages or the significant ramifications. ECF No. 133-2. Ironically, through 2018, as more news
came out, Kelner and Anthony assumed that the President would fire Mueller or pardon Mr. Flynn.
Cite email. Indeed, Anthony never anticipated “filing anything in this case, ever.” Ex. 30.



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       The publicity poured in for Covington. American Lawyer named Kelner and Anthony

“Litigators of the Week” for Mr. Flynn’s plea. Ex. 30. Emails of congratulations and digital

backslapping flew.23 Ex. 31. But the publicity was not all good. On December 30, 2017, Kelner

shared the news that “the Government of Israel decided not to retain us to provide FARA advice.

While our work on the Flynn matter seems to have initially drawn them to us, the Prime Minister’s

Office apparently saw things differently and decided that our Flynn representation was a minus

not a plus.” Ex. 32.24

       What came next was more evidence of Sixth Amendment violations by Covington. On

January 29, 2018, Kelner received an email from a New York Times reporter saying that it was the

reporter’s understanding that “SSA1” (the Agent who interviewed Flynn with Strzok) “was

pressured by McCabe to change [his] 302.” Ex. 33. Kelner contacted Van Grack and Ahmad and

had two conversations over the next two days. While Kelner questioned the SCO, he did not

follow-up, much less file a motion to obtain Brady evidence. Moreover, these seem to be the

questions he was supposed to have asked before Mr. Flynn signed the plea.

       O.      March 13, 2018, SCO Began Producing Exculpatory Evidence, Which
               Continues to this Day.




23
   The accolade was sent to all the attorneys and paralegals in the firm, to the marketing
department, and to the management committee. Ex. 30. Anthony emailed the other lawyers
involved in the case, bragging that it represented their “well-deserved recognition – to be added to
your growing clips collection.” Ex. 31.
24
  While the loss of this one potential client was a disappointment, it does not take much to imagine
how much worse it would have been if they were called upon to testify against Michael T. Flynn
or be subject to civil or criminal penalties for any mishandling of FIG’s FARA filing in the height
of the SCO operation, or even named in a crime-fraud order as in Manafort’s case. The Covington
lawyers had every reason to keep the Flynn plea from blowing up.



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       The SCO finally began producing Brady documents in March 2018. Soon an entirely

different picture emerged. With every disclosure and IG Report of the last eighteen months, it has

become increasingly clear the FBI was not trying to learn facts from Mr. Flynn on January 24,

2017. Rather, the Agents were executing a well-planned, high-level trap that began at least as far

back as August 15, 2016, when Strzok and Page texted about the “insurance policy” they discussed

in McCabe’s office, opened the “investigation” on Mr. Flynn the next day, and inserted SSA 1

surreptitiously into the “sample PDB” the next day to investigate and assess Mr. Flynn. The IG

reported:

       “[T]he FBI also had an investigative purpose when it specifically selected SSA 1,
       a supervisor for the Crossfire Hurricane investigation, to provide the FBI briefings.
       SSA 1 was selected, in part, because Flynn, who would be attending the briefing
       with candidate Trump, was a subject in one of the ongoing investigations related to
       Crossfire Hurricane. SSA 1 told us that the briefing provided him ‘the opportunity
       to gain assessment and possibly some level of familiarity with [Flynn]. So, should
       we get to the point where we need to do a subject interview…I would have that to
       fall back on.”25

       P.      Covington Recognized Significant Defenses as in 2018, the Attorneys Kept Mr.
               Flynn on “The Path.”

       Covington recognized significant defenses were arising from the government’s

productions in 2018, but the Covington lawyers repeatedly pointed out the worse-case scenario

and the parade of horribles to Mr. Flynn, filed no Brady motion, and kept Mr. Flynn on “the path.”

Even worse, even though there was plenty of time and reason to reconsider everything, they took



25
   See U.S. Department of Justice (DOJ) Office of the Inspector General (OIG), A Review of Four
FISA Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation, Oversight
and      Review         Division    Report      20-012      Revised       (December      2019),
https://www.justice.gov/storage/120919-examination.pdf (last accessed January 2, 2020),
(hereinafter Review of Four FISA Applications and Other Aspects of FBI’s Crossfire Hurricane
Investigation), at 408.



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no action to withdraw or insist he consult new counsel for an unconflicted perspective on the many

issues that arose. Keeping control of Mr. Flynn, so they could keep him from straying, was clearly

part of the Covington agenda.

       Q.      For the Hearing in this Court, Covington Prepared Flynn Only to Affirm His
               Plea.

       Despite all the new Brady material produced and Mr. Flynn’s numerous concerns and

questions about withdrawing his plea, when it came time to prepare for the scheduled sentencing

hearing, December 18, 2018, Anthony and Kelner were clear to Mr. Flynn: he should not withdraw

his plea. They warned that if Judge Sullivan asked if he wanted to withdraw his guilty plea he

must say, no, because the Court would simply be giving Mr. Flynn the “rope to hang [him]self.”

When the December 18, 2018, national-news-breaking hearing stunned everyone, and the Flynns

accepted this Court’s offer to discuss the issue among themselves, the Flynns instructed counsel

to accept the delay. See ECF No. 133 at 17.26

V.     COVINGTON & BURLING’S LAWYER-TO-CLIENT CONFLICTS OF
       INTEREST WERE EITHER NON-CONSENTABLE OR NOT VALIDLY
       CONSENTED TO.

       A.      Non-Consentable Conflicts of Interest.

       Non-consentable conflicts of interest come in two flavors. The first type of conflict—

not relied on by Mr. Flynn in earlier briefings—but mentioned by this Court in its Memorandum



26
   In Spring 2019, Covington finally insisted, and Mr. Flynn sought new counsel, who in turn
sought expert ethics counsel immediately. Both new lawyers instantly recognized the conflict of
interest held by Covington. Kelner soon became a witness in the EDVA case against Mr. Flynn’s
former partner, Rafiekian, and Van Grack and Turgeon proved he was adverse to Mr. Flynn.
Kelner’s testimony played an important part in convincing the EDVA jury to convict Rafiekian
for conspiracy and acting as a foreign agent; however, Judge Trenga acquitted him. United States
v. Rafiekian, 1:18-cr-457-AJT-1, ECF No. 372.



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Opinion at ECF No. 144 at 81-89, arises under Rule 1.7(a) of the D.C. Rules of Professional

Conduct. That rule flatly states that “[a] lawyer shall not advance two or more adverse positions

in the same matter.” That form of non-consentability is often referred to as arising “by operation

of law,”27 and does not apply to this case.

          The second form of non-consentability—squarely presented here—requires reading Rules

1.7(b) and 1.7(c) together. The point of Rule 1.7(c) is that all the conflicts set out in Rule 1.7 (b)—

including lawyer-to-client “personal interest” conflicts—are disqualifying unless two conditions

are both met. Obtaining informed client consent under Rule 1.7(c)(1) is meaningless unless Rule

1.7(c)(2) has also been satisfied. That subparagraph puts the onus on the lawyer to first make a

judgment that the representation is proper: “the lawyer reasonably believes that the lawyer will be

able to provide competent and diligent representation to each affected client” (emphasis added).

           If the lawyer cannot satisfy Rule 1.7(c)(2), then the lawyer cannot ethically even ask for

client consent under Rule 1.7(c)(1). In that situation, the second form of non-consentability arises

from what might be called “discretionary judgment.”28 Conflicts falling into this category are non-

consentable because the client will never even be given a chance to consent. An ethical lawyer

will voluntarily withdraw from the representation, and all lawyers will be required to withdraw by

D.C. Rules of Professional Conduct Rule 1.16(a)(1) in any event.29

          Although the second form of non-consentability depends upon the judgment of the lawyer

on the scene, that judgment is itself further cabined by the Rules of Professional Conduct. D.C.



27
     Hazard, Hodes & Jarvis, supra n. 2 at §12.30.
28
     Hazard, Hodes & Jarvis, supra n. 2 at §12.31.
29
   Rule 1.16(a) states in part that “a lawyer shall not represent a client or, where representation has
commenced, shall withdraw from the representation of a client if: (1) The representation will result
in violation of the Rules of Professional Conduct or other law” (emphasis added).

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Rule 1.7(c)(2) sets the standard for even seeking client consent at the lawyer’s “reasonable belief,”

but those terms are then defined in Rule 1.0(a) and Rule 1.0(j). Under the former, “belief” is

established if the person—here the lawyers at Covington— “actually supposed the fact in question

to be true.” But for such a belief to be “reasonable,” the latter definition specifies that it must be

associated with “the conduct of a reasonably prudent and competent lawyer.”

         The concept of a “reasonably prudent and competent lawyer” is an ethics-related term of

art, has some objective meaning, and is given further (indirect) elaboration in the Comments to the

Rules:

         The underlying premise [of paragraph (b) and (c)] is that disclosure and informed
         consent are required before assuming a representation if there is any reason to doubt
         the lawyer’s ability to provide wholehearted and zealous representation of a client
         or if a client might reasonably consider the representation of its interests to be
         adversely affected by the lawyer’s assumption of the other representation in
         question. Although the lawyer must be satisfied that the representation can be
         wholeheartedly and zealously undertaken, if an objective observer would have any
         reasonable doubt on that issue, the client has a right to disclosure of all relevant
         considerations and the opportunity to be the judge of its own interests.

Comment [7] to Rule 1.7 (emphases added).

         Under the remarkable circumstances of this case, it would be absurd to maintain that Mr.

Flynn’s former counsel could have had a “reasonable belief” that they already had or could ever

“provide competent and diligent representation” to their client when their own interests were at

equal risk and the choice was “him or us.” At minimum, the Covington defense team lawyers had

misstated or allowed the government to misinterpret their statement of the origins of Mr. Flynn’s

election day op-ed in the FARA filing they prepared. They never corrected it in any supplemental

filing. They never made an amended filing. They never admitted any role in the travesty. At the

same time, they discussed among themselves their own potential civil and criminal FARA liability,

they feared entry of a crime-fraud order, and they were leery of substantial “headline risks.”



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Anything antagonizing the omnipotent SCO jeopardized tipping the delicate balance they

struggled to maintain, and they effectively positioned themselves to minimize these and other risks.

       Especially telling is the fact that despite multiple opportunities to discuss this crucial

problem in person with Mr. Flynn and answer his questions face-to-face, from August until

November 19, 2017, when they nominally sought his written “consent” in an extremely

problematic email that is discussed below. They chose not to do so. They certainly did not advise

him of the advisability—much less the necessity—of consulting non-conflicted counsel before

making any decision to proceed with the firm.

       Even this partial inventory of the lawyers’ and law firm’s interests that were at risk during

the representation renders any purported belief in its integrity wholly untenable and, in the

language of the applicable rules, wholly unreasonable. No reasonable lawyers or law firm could

possibly meet the “reasonable belief” standard when its own work product has put the lawyers and

the law firm at serious risk of criminal exposure, reputational damage, “headline risk,” and civil

liability—not merely the loss of an advantage in a business transaction or civil dispute. No law

firm could possibly meet the “reasonable belief” standard in the face of even a minimal risk of its

own possible criminal exposure—especially when confronted by an aggressive Special Counsel

and the FARA unit of the Department of Justice that Covington itself acknowledged had an

unprecedented interest in this matter.

       Judging the severity of conflicts of interest to determine whether they rise to the level of

non-consentability is especially risky when lawyer-client conflicts are at issue, because the

judgment must be made by the very lawyers and law firms whose interests are threatened. There

is an ever-present danger, therefore, that the lawyer will—consciously or not—underestimate the

dangers faced by the client. By contrast, in client-to-client conflicts, at least the lawyer is




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mediating between interests other than his own. In this case, not only was the conflict between

lawyer and client, the most insidious of all, but the evidence of Covington’s self-interest was so

significant and dangerous that it could not reasonably be set aside.

       Lawyer-to-client conflicts also demand the most rigorous review, because if the lawyer

does proceed to seek the client’s consent, the client will have no good way of judging whether the

disclosure and explanation of the conflict has itself been compromised by the self-interest of the

lawyer seeking consent.

       Clients rightly have a bias towards trusting the lawyers they have earlier chosen—in whom

they have invested hundreds of thousands of dollars, months of time, and developed a trusting

relationship. Moreover, they have no realistic ability to double-check the sincerity of the request

for consent. This is especially true when any purported “notice” is presented when the client is in

the worst possible position, under enormous stress, and watching his life unravel. Indeed, the

particular insidiousness of lawyer-to-client conflicts is that even the most well-intentioned lawyer

can never be certain whether what would ordinarily have been a reasonable judgment call was

tainted by his own self-interest, and if so, to what extent.

       The lawyer-client conflicts of interest that are presented here are well recognized not only

in legal ethics generally, but in longstanding Sixth Amendment jurisprudence. As the D.C. Circuit

said over forty years ago:

       To be sure, most conflicts of interest seen in criminal litigation arise out of a
       lawyer’s dual representation of co-defendants, but the constitutional principle is not
       narrowly confined to instances of that type. The cases reflect the sensitivity of the
       judiciary to an obligation to apply the principle whenever counsel is so situated that
       the caliber of his services may be substantially diluted. Competition between the
       client’s interests and counsel’s own interests plainly threatens that result, and we
       have no doubt that the conflict corrupts the relationship when counsel’s duty to his
       client calls for a course of action which concern for himself suggests that he avoid.
       (emphasis added).



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United States v. Hurt, 543 F.2d 162, 166 (D.C. Cir. 1976) (internal citations omitted.)30

       B.      Even if Any Aspects of the Dramatic Covington-Flynn Conflicts of Interest
               were Consentable, Mr. Flynn’s Purported Consent was not “Informed.”

       Even if the egregious conflicts of interest described throughout were consentable, much

more would be required before any waiver (or consent) could be deemed valid.31 The D.C. Rules

of Professional Conduct include a number of formal definitions, including Rule 1.0(e) which states

that: “‘[i]nformed consent’ denotes the agreement by a person to a proposed course of conduct

after the lawyer has communicated adequate information and explanation about the material risks

of and reasonably available alternatives to the proposed course of conduct.” (emphasis added).

       Making this already high standard even tougher to meet, Comment [27] to Rule 1.7

provides in part: “Disclosure and informed consent are not mere formalities. Adequate disclosure

requires such disclosure of the parties and their interests and positions as to enable each potential

client to make a fully informed decision as to whether to proceed with the contemplated

representation.” More tellingly, Comment [28] to Rule 1.7 contains the important reminder that

“under the District of Columbia substantive law, the lawyer bears the burden of proof that

informed consent was secured.” (emphasis added).



30
  Cf., Ambush v. Engelberg, 282 F. Supp.3d 58 (D.D.C. 2017), in which this Court recognized
that a “personal interest” conflict of interest was cognizable for purposes of a motion to disqualify
counsel, before it denied the motion chiefly on standing grounds.
31
  In its Memorandum Opinion of December 16, 2019, this Court repeatedly stressed that during
Mr. Flynn’s original guilty plea and his later colloquy with the Court at the Sentencing Hearing,
he was accompanied by and able to consult with his former counsel. ECF No. 144 at 2, 4, 9, 31,
and 90. Moreover, this Court noted that former counsel had assured the government that Mr. Flynn
had been made aware of possible conflicts of interests inherent in the representation, and that Mr.
Flynn had waived those conflicts [Memorandum Opinion, ECF. No. 144 at 83]. As shown here,
the Court’s observations were presumably correct, but the assurances given by former counsel
were not.



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       As the facts discussed above establish, Covington did not give Mr. Flynn adequate or

honest information at any stage. It was not until November 19, 2017, two days after the proffer

sessions began, and on the eve of the FARA proffers themselves, that Steven Anthony wrote a

long email to Mr. Flynn, belatedly seeking his consent. He sought Mr. Flynn’s “informed consent”

to permit the representation to continue despite the intractable and pernicious conflict under which

Covington had already been representing him. Mr. Flynn responded by email at noon the next

day, as he was about to go into the third (FARA) proffer. Ex. 28. He did not have time to consult

any un-conflicted lawyer before consenting, even if Covington had insisted he do so, which it did

not.

       Although the Anthony email nominally explained the elements of an “underlying work”

conflict of interest, correctly noted the additional difficulty that the Covington lawyers might be

called by the government as fact witnesses against Mr. Flynn, and offered Mr. Flynn an opportunity

to consult with independent counsel, it did not advise him that he should do so—much less insist,

and it was far too little and far too late. Covington should have withdrawn in August, three months

earlier, when new counsel could have appeared and amended the FARA registration to correct any

mistakes, clarify the situation, and fight for Mr. Flynn. Instead Covington charged Mr. Flynn

hundreds of thousands of extra fees to reinvestigate its own flawed prior work.

       The lawyers passed over weeks of time and at least three face-to-face meetings with Mr.

Flynn before the first proffer. They ignored SCO’s pointed request to discuss the most threatening

conflict with Mr. Flynn—that Mr. Kelner could become an adverse witness to his own client and

the “Flynn-lied-to-his-lawyer” theory of his criminal conduct that Covington had every incentive

to adopt. Instead, the lawyers acted for the firm’s interest by pushing the FARA issues to the later




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days by which time SCO had Mr. Flynn undefended on the §1001 charges about Russia and his

own exposure.

       If all of this were not enough, Mr. Anthony’s email negated any semblance of validity to

the very request for consent—let alone Mr. Flynn’s supposed agreement to provide that consent.

In the November 19, 2017 email, Mr. Anthony stated that “under Rule 1.7 of the D.C. rules of

professional conduct, a lawyer shall not represent a client if there is a significant risk that the

representation will be materially limited by a personal interest of the lawyer, unless the client gives

informed consent.” (emphasis added). But the D.C. Rules say no such thing. What Mr. Anthony

actually quoted was language from the American Bar Association Model Rules of Professional

Conduct; he made no mention of the actually applicable (and stricter) D.C. Bar rule.

       The applicable language in D.C. Rule 1.7 creates a much lower threshold at which a lawyer

must bow out: “the lawyer’s professional judgment on behalf of the client will be or reasonably

may be adversely affected by . . . the lawyer’s own financial, business, property, or personal

interests.” (emphasis added). The D.C. standard and the ABA standard quoted by Anthony are

dramatically different. “Adversely affected” judgment is much more likely to occur than

representation that is “materially limited.” And, risks that “reasonably may be” presented will

occur far more often than “significant risks.”

       Seeking client consent under the wrong rule and an inapplicable standard, Covington

cannot even plausibly claim to have satisfied its obligation to make an “adequate disclosure” to

Mr. Flynn to enable him “to make a fully informed decision.” D.C. Rule 1.7 Comment [27]. And

it certainly was neither timely nor fulsome. The firm cannot shoulder the burden of persuasion—

presumably to this Court—that informed consent had been secured. D.C. Rule 1.7 Comment [28].

It decidedly was not.




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       Beyond this, even if Mr. Anthony had checked the applicable rules of professional conduct

he had been practicing under for many years, his recitation of the risks posed by both of the

conflicts in play—underlying work and adverse testimony—was generic and bland. There is

nothing in his advice that would bring home to a layperson in the crisis, and under stress, Mr.

Flynn faced that would alert him to the seriousness and outrageousness of the matter.32        Even

worse, the greatest damage had already been done. His own lawyers had served Mr. Flynn up on

a “silver platter” to the SCO to facilitate its “Russia investigation” and increased Mr. Flynn’s risk

of criminal exposure, innocent misstatements, unrefreshed recollection—and all in the

unprecedented pressure of trying to “get through” the proffer to SCO’s satisfaction—with no

understanding of the real ramifications to himself.

       Time and again, the conflicts caused Covington to favor its own interests over those of its

client, and, as a result, the lawyers repeatedly violated the constitutionally mandated standard of

the Sixth Amendment.

VI.    BECAUSE OF THE PERVASIVE CONFLICTS OF INTEREST, COVINGTON
       REPEATEDLY FAILED TO PROVIDE MR. FLYNN WITH THE
       CONSTITUTIONALLY MANDATED EFFECTIVE ASSISTANCE OF COUNSEL.
       AS A CONSEQUENCE, HIS DEFENSE WAS IRREPARABLYPREEJUDICED.

       To meet the prevailing standard in this Circuit for withdrawing a guilty plea on the ground

of the ineffectiveness of his counsel, Mr. Flynn must demonstrate both that counsel’s advice or

performance was “not within the range of competence demanded of attorneys in criminal cases,”

and that “there is a reasonable probability that, but for counsel's errors, he would not have


32
   Mr. Anthony contented himself with these words, which are essentially tautological and both
self-serving and self-congratulatory: “We do not believe that our commitment, dedication, and
ability to effectively represent you will be adversely affected by our own interests, and we believe
that we will be able to provide you with competent and diligent representation.” He provided no
reason or fact on which such a “belief” could have rested.



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pleaded guilty and would have insisted on going to trial.” United States v. Horne, 987 F.2d 833,

835 (D.C. Cir. 1993) (internal citations and quotation marks omitted). That standard is the result

of the Supreme Court’s assimilation, in Hill v. Lockhart, 474 U.S. 52 (1985), of the general

standard for showing ineffectiveness of counsel set out in Strickland v. Washington, 466 U.S. 668,

714 (1984). Mr. Flynn’s former lawyers from Covington repeatedly acted outside the range of

competence demanded of attorneys in criminal cases. Because of these failings, Mr. Flynn was

essentially on his own (at best) and battling two opponents simultaneously (at worst). As a result,

his defense was prejudiced and his ability to make knowing and intelligent decisions in his own

interest was destroyed.

       In terms of the second prong of the Horne test, there is not merely a “reasonable probability

that absent counsel’s failings he would not have pleaded guilty. There is certainty. If his own

lawyers had not withheld critical information from him at the time of the first plea, and had not

continued to obscure their own role in creating his predicament, Mr. Flynn would not have pled

guilty in 2017, and he would have withdrawn his plea in 2018.

        A.     Covington Withheld Crucial Information from Mr. Flynn that the SCO
               Disclosed Immediately Before Flynn Signed the Plea Agreement.

       At perhaps the single most crucial moment of the whole case, Mr. Flynn’s former counsel

betrayed his trust by withholding the very pieces of information Mr. Flynn needed to make his

final decision whether to plead guilty on November 30, 2017. Covington should have shared with

Mr. Flynn the precise information the government disclosed to them at the last minute.33 The


33
    Any “disclosure” by the government—especially when prefaced with a claim of “no legal or
ethical obligation to share”—should have been reduced to writing by the government and then
shown to the client and personally acknowledged in further writing signed by the client. This was
a case of national and international importance. It changed the President of the United States’
administration. It altered the course of history and the life of a man and his entire family hung in
the balance.

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lawyers did not do so. The Flynns did not hear or understand what the government had advised it

told Covington at the eleventh hour. ECF No. 122 at 16. This remarkable and directly prejudicial

failure of Mr. Flynn’s former counsel to provide the effective assistance of counsel required by the

Sixth Amendment at the most crucial time is sufficient alone to require withdrawal of his plea.34

It is wholly unreasonable and outside the range of acceptable lawyerly behavior, let alone

competence, for counsel—not the government, but the defendant’s own counsel—to withhold

crucial information that effectively disables the defendant from making a truly voluntary or

intelligent decision whether or not to plead guilty.

       The information that counsel withheld concerned prior statements that the two FBI agents

who interviewed Mr. Flynn in the White House had made about his “sure demeanor,” the lack of

“indicators of deception,” and similar observations. Exs. Michael Flynn Declaration;Lori Flynn

Declaration.

        In an earlier round of briefing in this case, the government represented that it had

communicated this information to the defendant on the day that the plea agreement was signed,

November 30, 2017 [Gov’t’s Opp’n, ECF No. 122 at 16]. In its December 16, 2019 Opinion,

moreover, this Court accepted and relied on that representation [Memorandum Opinion, ECF No.

144 at 32].As the Flynn Declarations demonstrate, however, that representation was mistaken: the

government almost certainly made a disclosure to the defendant’s counsel on that day, but

Covington did not then communicate the information to the defendant himself. Of course, in the

vast majority of cases, communication to counsel is communication to the client, but it was not

that day.




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       But that merely makes the point—if it needed making—that Mr. Flynn’s former attorneys

acted far outside of ordinary professional norms. Whether one consults formal Rules of

Professional Conduct, the traditions and lore of the legal profession, or case law discussing the

meaning of the “assistance of counsel” provision in the Sixth Amendment, the core values of

loyalty and zealous service always loom large.

       B.      Covington Continued to Fail to Act on Mr. Flynn’s Behalf as New Evidence
               Came to Light After His Plea.

       Covington repeatedly failed to reevaluate its position in light of significant developments

in the case, or to encourage Mr. Flynn to seek new counsel when the developments arose that

further invalidated the advice they had already given him. They repeatedly convinced him to “stay

on the path” they had placed him on and to discount or render meaningless the astonishing facts

that began surfacing from the day after he entered his rushed and misinformed plea.

       Moreover, the Covington lawyers had most of 2018, production upon production of Brady

evidence from the government, and ample time before the next court appearance, in which they

could have fully and honestly discussed the conflict of interest with Mr. Flynn. At any time during

all of 2018, had Covington been forthright and ethical, Mr. Flynn would have been able to consult

meaningfully with non-conflicted counsel well in advance of the December 18, 2018, sentencing

hearing in this Court. Instead, time and time again, they persuaded him to “stay on the path.”

       C.      By December 18, 2018, Covington Prepared Mr. Flynn to Reaffirm his Plea of
               Guilty and Nothing Else.

       Before the Sentencing Hearing of December 18, 2018, Mr. Flynn’s lawyers essentially

advised him only to “stay the path,” say as little as possible, and refuse to consider any suggestion

by the Court that he might want to withdraw his plea. Ex. 21. They explicitly told him: “If the




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judge offers you a chance to withdraw your plea, he is giving you the rope to hang yourself. Don’t

do it.” Id.

        That advice is the capstone showing how Mr. Flynn’s former counsel provided nothing but

ineffective and self-interested assistance of counsel to the last. Not coincidentally, it also satisfies

the prejudice prong of Hill v. Lockhart, 474 U.S. 52 (1985). See Berkeley, 567 F.3d at 708. The

“result” of the prior proceedings in this case would have been different at every turn. Absent the

actual secret self-interest of Mr. Flynn’s conflicted former counsel: (i) he would have terminated

Covington in August 2017; (ii) he would not have gone into the proffer; (iii) he would not have

pled guilty in 2017; and, (iv) he would have withdrawn his plea in 2018. This is confirmed by the

change in his defense immediately upon his retention of unconflicted and tenacious lawyers whose

allegiance and devotion are only to him.

        D.      Covington Knew Special Counsel’s Statements in the Statement of Offense
                Regarding the FARA Filing Were False or Wrong, But Covington Simply
                Stood Down.

        Covington’s internal emails show it knew the “false statements” asserted by the

government in the FARA filing were either false, made by someone other than Flynn, included

because of Covington’s own judgment calls, or were falsely crafted by the government. See ECF

No. 150-1 at 35-68. Covington simply stood down.

        Covington possessed, from its first conversation with Michael Flynn and the emails

provided to it in early January 2017 by Flynn, his former partner Rafiekian, and then-FIG counsel

Kristen Verderame, ample information and documents to make a correct FARA filing. The choice




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of information to include in that filing was made primarily by Covington lawyers Smith and Kelner

who advertised their expertise as FARA lawyers.35

                i.     The “Smoking Gun” Email Shows Covington Knew the SCO’s
                       Assertions Were False.

         The email Ex. 34 alone requires withdrawal of the plea and dismissal of this case. On

November 27, 2017, three days before the rushed plea of Mr. Flynn, Brian Smith, Kelner, Anthony

and other Covington lawyers exchanged a stunning email. It copied the full Covington team on

Mr. Flynn’s defense, including senior partner Michael Chertoff:

         “Paragraph 5 of the Statement (regarding FARA) is hardly brief or passing, as they
         suggested it would be. Several of the ‘false statements’ are contradicted by the caveats or
         qualifications in the filing. For example, the Statement says ‘Flynn made’ false statements
         that are, in the filing, attributed to Arent Fox and the accounting records.”

         Kelner acknowledges having made “the same point about the caveats” to SCO. Ex. 34.

Smith’s own quotation marks around “false statements” and “Flynn made” show Smith knew it

was the SCO’s allegations that were false.        Moreover, it suggests that Covington had an

understanding with SCO to keep any FARA comments “brief or passing”—about which they were

disappointed on their own behalf.

                ii.    Covington did not inform Mr. Flynn that it was the alleged “false
                       statements” in the Statement of Offense that were false.

         Despite Covington’s significant re-investigation of all the FARA issues after August 10,

2017, they did not make certain Mr. Flynn understood it was the government’s allegations in the

Statement of Offense regarding the FARA filing that were the actual falsehoods. 36 For reasons


35
     ECF No. 151-5.
36
    Despite the huge importance of Brady v. Maryland, 373 U.S. 83 (1963) to any criminal
defendant, and the documented and well-publicized “epidemic of Brady violations” in this country,
Covington did not make a written Brady demand before walking Mr. Flynn into the proffer and a
plea that signed away his rights. It finally made a Brady demand a year later, but watered-it down

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new counsel cannot imagine, Brian Smith also thought it was “helpful” that “the double negatives

in the Information and the Statement” “make it hard to comprehend.” Ex. 34.

               iii.   Covington Counseled Flynn to Sign A Statement of Offense It Knew
                      Was False.

       Despite knowing the government’s allegations regarding false FARA statements in the

Statement of Offense were false or wrong, Covington counseled Mr. Flynn to sign the Statement

of Offense. Ex. 21.

               iv.    Covington Signed an Attorney’s Acknowledgement of the Statement of
                      Offense.

       Kelner and Anthony themselves signed the Statement of Offense for the plea even though

they knew they had provided predominantly correct information to the government, and that

mistakes, if any, were their own or the government’s—not Flynn’s.37 Nonetheless, they joined the




in deference to the SCO, and it never followed up. Indeed, the defense did not even have the “final
Flynn 302” McCabe approved until November 20, 2017. Although some courts have held the duty
to produce exculpatory evidence under Brady v. Maryland, 373 U.S. 83 (1963) does not extend to
persons who have not been indicted, competent counsel would have insisted on Brady disclosures
before permitting Mr. Flynn to walk into a proffer with SCO—not to mention before relinquishing
his rights pursuant to a plea. See White v. United States, 858 F.2d 416 (8th Cir. 1988) (adopting
the Sixth Circuit’s framework that acknowledged a Brady claim can attack a guilty plea); Sanchez
v. United States, 50 F.3d 1448, 1453 (9th Cir. 1995) (holding that “a defendant challenging the
voluntariness of a guilty plea may assert a Brady claim”); United States v. Webb, 277 Fed.Appx.
775 (10th Cir. 2016) (noting that Ruiz only addressed impeachment and pointing to other Circuits
that have held the government is still required to produce exculpatory evidence in the plea
stage); United States v. McCoy, 636 Fed.Appx. 996 (11th Cir. 2016) (“This Court has not decided
whether a guilty plea waives a Brady claim.”). See United States v. Saffarinia, 2019 U.S. Dist.
LEXIS 176174 (citing United States v. Hsia, 24 F. Supp. 2d 14 (D.D.C. 1998) (court no longer
trusting the government).

37
   Conflations and choices of words muddied the ridiculous point of who wrote the op-ed. There
was no dispute that Rafiekian wrote the first draft. The documents also showed that. ECF No.
150-5 at 7.



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“Flynn-lied-to-his-lawyer” theory of the SCO—the very subject they raised in their October 30,

2017 email and they effectively demolished the “impenetrable wall.”




VII.   THE LAW OF THIS CIRCUIT REQUIRES ALLOWING MR. FLYNN TO
       WITHDRAW HIS PLEA.

       United States v. Cray, 47 F.3d 1203 (D.C. Cir. 1995), which this Court requested counsel

address, denied withdrawal of a guilty plea because there was no violation of Rule 11. As more

recent circuit decisions hold, Rule 11 violation is only one of the reasons that warrants granting a

motion to withdraw a plea. Here, Sixth Amendment violations taint Mr. Flynn’s plea, and it cannot

stand.38 United States v. McCoy, 215 F.3d 102, 107 (D.C. Cir. 2000) (“A plea based upon advice of

counsel that ‘falls below the level of reasonable competence such that the defendant does not receive

effective assistance’ is neither voluntary nor intelligent.”) (internal citation omitted).



38
   “Where a constitutional right to counsel exists, our Sixth Amendment cases hold that there is a
correlative right to representation that is free from conflicts of interest.” Wood v. Georgia, 450
U.S. 261, 271 (1981). E.g., Cuyler v. Sullivan, 446 U. S. 335 (1980); Holloway v. Arkansas, 435
U. S. 475, 481 (1978).



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       In United States v. Taylor, this Circuit also hammered out parameters for a defendant to

benefit from the relaxed Cuyler v. Sullivan standard which allows a presumption of prejudice

because of an actual conflict of interest. 139 F.3d at 929. Relying on Cuyler, this Court wrote that

“prejudice[] will be presumed if the defendant demonstrates that counsel actively represented

conflicting interests, and that the conflict adversely affected his lawyer’s performance.” A

defendant must “show that his counsel advanced his own, or another client’s, interest to the

detriment of the defendant. Id. at 930. Counsel must know of the conflict, but “if an attorney fails

to make a legitimate argument, because of the attorney’s conflicting interest…than the Cuyler

standard is met. Id. Mr. Flynn must show that “counsel actually acted in a manner that adversely

affected his representation by doing something, or refraining from doing something, that a non-

conflicted counsel would not have done.” Id. Mr. Flynn’s case is painfully replete with evidence

of Covington acting secretly in its self-interest and to Mr. Flynn’s prejudice.

       In United States v. Berkeley, this Circuit again addressed a conflict of interest and

ineffective assistance of counsel as the basis for a plea withdrawal. In that 2009 case, the court

reiterated that “prejudice is presumed…if the defendant demonstrates that counsel actively

represented conflicting interests and that an actual conflict of interest adversely affected his

lawyer’s performance.” 567 F.3d 703, 708 (D.C. Cir. 2009).39

       Finally, in United States v. McCoy (five years after Cray), this Circuit applied the two-

prong Strickland standard to a defendant’s request to withdraw his plea based upon ineffective




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   The defendant claimed that his counsel failed to pursue an entrapment defense, because he knew
it would require testimony from a former client, thereby necessitating his own withdrawal from
the case. Id. at 709. The Court took issue with only one element of the defendant’s argument—
defense counsel did not know the necessary fact that would have alerted him to the looming
conflict. Without his attorney’s knowledge of the conflict, the court held the defendant’s “logical
chain collapses.” Id. at 709.

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assistance of counsel when the defendant’s lawyer calculated the wrong jail sentence he was facing

with his plea. 215 F.3d 102 (D.C. Cir. 2000). The Court held that such a mistake in “fail[ing] to

follow the formula specified on the face of the guidelines” was deficient performance under

Strickland. Id. at 108. The court found that McCoy did not need to “prove[] he would have gone

to trial,” only that there was “a reasonable probability” that “but for counsel’s mistake he would

not have pled guilty.” Id. Significantly, this Circuit remanded the denial of McCoy’s motion to

withdraw to the district court with instruction to grant withdrawal. Id. Mr. Flynn satisfies

Strickland’s test—with or without the more relaxed presumption of Cuyler. Most of all, Mr. Flynn

meets the “lenient” standard for plea withdrawal pre-sentencing, because he has demonstrated that

it is only “fair and just” to grant his motion.

        There is not merely a “reasonable probability” that Mr. Flynn would have proceeded

differently had his own lawyers been honest with him, there is certainty: (1) he would have hired

a different law firm to redo the FARA investigation in August if he had been fully informed; (2)

he never would have agreed to a proffer; (3) he would not have been disarmed and effectively

unrepresented in the proffer—much less tried to please SCO; (4) he would not have pleaded guilty;

and (5) he would have withdrawn his plea in December 2018. There are no subtle judgments about

“prejudice” here. Covington could not represent the colliding interests of itself vis-à-vis the

omnipotent SCO and also represent Mr. Flynn.

VIII. RULE 11 FAILURES ALSO SUPPORT WITHDRAWAL PURSUANT TO CRAY.

        In what was scheduled to be a sentencing hearing on December 18, 2018, this Court began

an unexpected “extended” colloquy with Mr. Flynn. His counsel had prepared him only to refuse

to withdraw his plea—lest this Court be “giving him rope to hang himself.” Flynn declaration.




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       That plea colloquy did not, however, inquire into whether any undisclosed promises or

threats induced the plea agreement. Moreover, the Court specifically expressed its dissatisfaction

with the underlying facts supposedly supporting the factual basis for the plea. United States v.

Cray, 47 F.3d 1203, 1207 (D.C. Cir. 1995) (“Where the defendant has shown his plea was taken

in violation of Rule 11, we have never hesitated to correct the error.)”

       As previously discussed, there was substantial pressure on Mr. Flynn to participate in a

quick proffer and reach a quick plea agreement with the government. The government leveraged

the threat of charges against Mr. Flynn’s son to induce that agreement. Yet the government’s

decision not to charge his son was not reduced to writing as part of the plea agreement; it was a

secret, side deal between counsel. Yet, that “understanding” was one of two necessary pre-

conditions for Mr. Flynn to enter into the plea agreement. The government and Mr. Flynn’s prior

counsel chose not to disclose that agreement to this court. By doing so, they concealed from this

Court that the plea was driven by threats and promises that were foreign to the plea agreement,

thus showing that the plea was not voluntary. That evidence is now in plain view, and the

government’s conduct since the plea was entered on December 1, 2017, shows as much. Exs. 21,

22.

       Moreover, the Court did not complete the full colloquy to ensure that Mr. Flynn fully

understood the conduct that was required for his actions to be considered a violation of 18 U.S.C.

§ 1001. While the Court did ask him about whether he considered himself guilty, it did not inquire

into the basis of that belief. That was crucial here because it may have been that Mr. Flynn was

pleading guilty to take responsibility for something that was not criminal activity.




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       Finally, the Court was not satisfied with the factual basis for the plea. It said it had “many,

many, many questions.” Hr’g Tr. Dec. 18, 2018 at 20. The Court, sensing the materiality issues

in the case, specifically left those questions open for another day. Id. at 50.40

IX.    CONCLUSION

       For these reasons, and/or those briefed at ECF No. 151, this Court should allow Mr. Flynn

to withdraw his plea. Indeed, the government should agree that this plea be allowed to be

withdrawn.    Not only was Mr. Flynn denied his Sixth Amendment right to “zealous counsel”

devoted solely to his interests, he was misled, misinformed and betrayed by counsel mired in non-

consentable conflicts of interests that only worsened to Mr. Flynn’s increasing prejudice.

       In addition, when this Court unexpectedly extended his Rule 11 colloquy, it did not address

a fundamental point that would invalidate his plea, and it ended the hearing with significant

dissatisfaction over the information underlying the factual basis for his plea and with “many, many,


40
   The element of materiality boils down to whether a misstatement “has a natural tendency to
influence, or was capable of influencing, the decision of the decision-making body to which it was
addressed.” United States v. Gaudin, 515 U.S. 506, 522-23 (1995). In applying this rule, courts
analyze the statement that was made and the decision that the agency was considering. Universal
Health Services, Inc. v. U.S. ex rel. Escobar, 136 S. Ct. 1989, 2002-03 (2016). For a misstatement
to be material, the agency must show that it would have made a different decision had the defendant
told the truth.

        The government alleges misstatements that were not material because the FBI agents did
not come to the White House for a legitimate investigative purpose; they did not come to
investigate an alleged crime. Instead, they came to get leverage over Mr. Flynn at a time when
they felt the new administration was still disorganized. So they ignored policies and procedures.
They went around the Department of Justice and the White House Counsel’s office, and they
walked into the National Security Advisor’s office under false pretenses. They decided not to
confront Mr. Flynn with any alleged misstatement not for a legitimate law enforcement purpose,
but rather because they did not know if the effort to purge him from his office would be successful.
If it was not, they wanted to maintain a collegial working relationship with him. If Mr. Flynn had
answered the questions the way in which they imagine he should, nothing at all would have
changed in the actions the FBI would have taken.



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many questions” remaining. There is every reason in this case that the Court must exercise its

discretion and allow withdrawal of the plea. It is the only “fair and just” result short of dismissing

the entire prosecution for outrageous and egregious government misconduct.



       Dated: January 23, 2020                 Respectfully submitted,


 /s/ Jesse R. Binnall                           /s/ Sidney Powell
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                               CERTIFICATE OF SERVICE

I hereby certify that on January 29, 2020 a true and genuine copy of this Supp. Motion to
Withdraw Plea of Guilty and Brief in Support was served via electronic mail by the Court’s
CM/ECF system to all counsel of record, including:

       Jessie K. Liu, U.S. Attorney for the District of Columbia
       Brandon L. Van Grack, Special Assistant U.S. Attorney
       Jocelyn Ballantine, Assistant U.S. Attorney
       555 4th Street, NW
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                                                    Respectfully submitted,

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                                                                   January 11, 2017

Ms. Heather H. Hunt
Registration Unit
U.S. Department of Justice
600 E Street, N.W.
Washington, D.C. 20004


       Re:     Flynn Intel Group, Inc.

Dear Ms. Hunt:

        On behalf of our clients, Lieutenant General Michael T. Flynn and the Flynn Intel Group,
Inc. (“FIG”), this letter provides an initial response to your November 30, 2016, letter to General
Flynn and FIG regarding a potential obligation to register under the Foreign Agents Registration
Act (“FARA”). As a preliminary matter, we appreciate the several telephone conversations that
you and I have had over the last several days concerning our review of this matter and the steps
we are taking to respond to your inquiry letter.

        As I noted in our initial conversation, the existence of your letter was not known to
General Flynn and FIG until approximately December 24, 2016, because FIG generally
suspended its activities in mid-November, including the use of the office to which the letter was
sent. As soon as the letter was discovered, FIG contacted the FARA Registration Unit to discuss
a timeline for responding. Since that time, we have been working diligently to gather and review
information necessary to understand the activities relevant to your letter, and we intend to
respond more fully as soon as we are capable of doing so.

         As I shared in our recent telephone conversation, based on currently available
information, we anticipate that General Flynn and FIG likely will file a FARA registration
statement and supplemental statement for FIG’s representation of Inovo BV, in lieu of the
Lobbying Disclosure Act (“LDA”) filing that FIG filed on September 30, 2016. Although the LDA
filing disclosed FIG’s engagement by Inovo BV, in hindsight it seems likely that the subject
matter of FIG’s representation of Inovo BV may have called for registration under FARA rather
than under the LDA.

       As discussed with you, our review has been complicated by a number of factors,
including challenges in recovering e-mails and other documents because FIG began shutting
down in mid-November, prior to your letter. In addition, as I shared with you, we have not yet
reached a final determination as to the foreign principal(s) to be listed in a FARA registration.
We are also continuing to assess the role of various consultants and employees who performed
work for Inovo BV in order to determine whether any of them are required to file short-form
FARA registrations.
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Ms. Heather H. Hunt
January 11, 2017
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        Your letter asked several questions regarding an op-ed authored by General Flynn and
published in The Hill newspaper on November 8, 2016. It is our current understanding that the
op-ed was initiated by General Flynn himself, and that he intended the op-ed to summarize a
number of his longstanding public statements and positions regarding issues related to Turkey,
Syria, and the Islamic State in Iraq and Syria. We also believe that the op-ed may have been
prepared in the context of FIG’s representation of Inovo BV, as the draft op-ed was shared with
a representative of Inovo BV prior to publication and the op-ed related to subject matters
overlapping with FIG’s representation of Inovo BV. Again, our efforts to understand the
relevant facts are ongoing, and we will continue to keep you and the Department apprised as our
efforts continue.

        As we have discussed, the FARA registration that FIG and General Flynn likely will file
would include various details required to be disclosed under FARA, including information
responsive to other questions posed in your inquiry letter. We are moving as quickly as
reasonably possible to assemble the necessary information, and we will continue to remain in
close touch with the FARA Registration Unit.

       As always, please contact me if you have any questions about this matter.

                                                                  Respectfully submitted,



                                                                  Robert K. Kelner

cc: Clifford Rones
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      FW: Flynn                Intel Group, Inc.
      From:        "Kelner, Robert" &rkelner@cov.corn&
      To:          "Langton, Alexandra" & "/o=covington 5 burling/ou=exchange administrative group
                   (fydibohf23spdlt)/en=recipients/cn=54610707d47f404ba9511efe701flf09-lang" &, "Smith, Brian"
                   & "/o=covington 5 burling/ou=cb/en=recipients/cn=csib.cbpowa02.smithbd" &
      Date:        Sat, 21 jan 2017 14:34:41 -0500




     Robert Kelner
     Covington k Burling LLP
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                           l

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     From: Hunt, Heather H. (NSD) [mailto:Heather.Hunt@usdoj.gov]
     Sent: Friday, january 13, 2017 6:37 PM
     To: Kelner, Robert
     Cc: Smith, Brian
     Subject:       Flynn Intel Group, Inc.

      Rob—

     Thank you for your letter of January 11, 2017, and for your efforts to resolve this matter
     expeditiously. Based on your letter and our previous communications, we anticipate that General
     Flynn and the Flynn Intel Group will be filing a FARA registration statement imminently. We
     understand that the registration statement will include answers to the questions we posed in our
     letter of November 30, 2016. If the registration statement does not fully respond to our questions,
      we ask that you provide a supplemental letter. Please continue to keep us informed regarding your
     p rogress.

      Best Regards,
      Heather




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Confidential   —   Subject to Protective Order                                Rafiekian EDVA 00005204
                        Case 1:17-cr-00232-EGS Document 160-5 Filed 01/29/20 Page 1 of 1
      Re: Flynn

      From:             "Hunt, Heather H. (NSD)" &heather.hunt@usdoj.gov&
      To:               "Kelner, Robert" &rkelner@cov.corn&
      Date:             Thu, 19 jan 2017 22:51:56 -0500



       Thank you for the update.
       &   Onjan 19, 2017, at 8:50 PM, Kelner, Robert &rkelner@cov.corn& wrote:
       &   We are working expeditiously on compiling a registration based on available records.
           Rob
       &   Sent from my iPhone
       »«Heather.janHunt@usdoj.gov&
               On       2017, at 4:53
                         19,              Hunt, Heather
                                      wrote:
                                            PM,                H. (NSD)



        » Rob- Any
           Heather
                  updates'




Confidential   —   Subject to Protective Order                                      Rafiekian EDVA 00010276
                        Case 1:17-cr-00232-EGS Document 160-6 Filed 01/29/20 Page 1 of 1
      RE: GEN Flynn                   meeting
      From:        "Kelner, Robert"& "/o=covington & burling/ou=cb/en=recipients/cn=c&b.cbpowa01.kelnerrk" &
      To:          K Verderame &kverderame@ponderainternational.corn&
      Cc:          "Smith, Brian" &bdsmith@cov.corn&
      Da~:         Thu, 09 Feb 2017 17:28:05 -0500


     OK.   It's also my wife's birthday..... But we'l figure that out. In some ways that time might be easier for
      me than this weekend. Does he want to meet here at Covington?
     Meantime, Heather Hunt has kind of been all over us. She emailed and then left a voicemail yesterday
     afternoon asking for a call this weekend (because I had indicated I thought this weekend was the earliest
     we could meet with our client). She said she just needed to know when we will be coming in to meet her,
     so she can arrange her schedule. We'e never seen her this engaged in any matter (ever). I'l let her
     know tomorrow we wouldn't be prepared to meet her until later next week sometime.
      Best,
      Rob


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                              (




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     cooperation.
     From: K Verderame [mailto: kverderame@ponderainternational.corn]
     Sent: Thursday, February 09, 2017 5:20 PM
     To: Kelner, Robert; Smith, Brian
     Subject: GEN Flynn meeting
     The only time he can do this (and your spouses are going to    kill   you) is Tuesday at 6 pm. Please
     apologize to your wives for me!!!



     Attachments:
           //cbentvault01dc.cov.corn/EnterpriseVaultP/iewMessage.asp?
     image001.jpg    (2 KB)
     http:
     VaultId= 127967E82C2BB114CBA93692D726B7D3D1110000cbentvaultsite&SavesetId =201706107135995
       201702092228070000 Z F07716C8D09AB7B82C20E2B6A030AEDl&AttachmentId=limage001.jpg
      &TABLE/& &/BODY& &/HTML&




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                           Case 1:17-cr-00232-EGS Document 160-7 Filed 01/29/20 Page 1 of 2
      Re: FARA

      From:                "Hunt, Heather H. (NSD)" &heather.hunt@usdoj.gov&
      To:                  "Kelner, Robert" &rkelner@cov.corn&
      Date:                Sat, 18 Feb 2017 09:46:30 -0500



       Okay. Thanks. So 2pm on Tuesday and let's talk briefly sometime on Monday. Have a
       good weekend.
       &    On Feb 18, 2017,        at 8:27 AM, Kelner, Robert &rkelner@cov.corn& wrote:
       &    Yes.
       &    Sent from my iPhone
       »Heather. Hunt@usdoj.gov&
       &
                     2017, at 8:48
                On Feb 18,             Hunt, Heather
                                   wrote:
                                              AM,                 H. (NSD)


       » Does 2pm work for you?
       »&          On Feb 18, 2017,    at 7:39 AM, Kelner, Robert &rkelner@cov.corn& wrote:
                   Ok.
       »    &      Sent from my iPhone
       »»
       &Heather.
                    On Feb 18, 2017,      at 8:35 AM, Hunt, Heather
                         Hunt@usdoj.gov& wrote:
                                                                      H. (NSD)


       »»      Thank you for getting back with me on a Saturday morning. I can do lpm
       although it might be tight. I will be in touch as I need to coordinate with others. Also, let'
       talk by phone real quick on Monday if you are able.
       »»&               On Feb 18, 2017,   at 7:19 AM, Kelner, Robert &rkelner@cov.corn& wrote:
       »»&               Would lpm work for you'?
       »»&               Sent from my iPhone
       »»»
       «Heather.
                         On Feb 18, 2017, at 7:06 AM, Hunt, Heather H. (NSD)
                         Hunt@usdoj.gov& wrote:

       »»» Rob-           What time is good on Tuesday afternoon'?
                          Heather
       »»»
       &
                    On Feb 13, 2017, at 12:30 PM, Kelner, Robert
           rkelner@cov.corn & mailto: rkelner@cov.corn» wrote:
                          ok

                          Robert Kelner
       »»»
       »»»                Covington 5 Burling LLP
       »»»
       »»»
                          One CityCenter, 850 Tenth Street, NW
                          Washington, DC 20001-4956
       »»»                T +1 202 662 5503 rkelner@cov.corn & mailto: rkelner@cov.corn
                                               (

                          www.cov.com&http://www.cov.corn&
                                                                                          &




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       »»»              &   image002.jpg &
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       »»»
       »»»
                       From: Hunt, Heather H. (NSD) [mailto: Heather. Hunt@usdoj.gov]
                       Sent: Monday, February 13, 2017 1:27 PM
       »»»             To: Kelner, Robert
                       Subject: RE: FARA
       »»»              Let's tentatively set a call for 3pm, but   I   may need to make it a few minutes
       »»»
       after that.
                       thanks

       »»»
       »»»
                 From: Kelner, Robert [mailto: rkelner@cov.corn]
                 Sent: Monday, February 13, 2017 12:43 PM
                 To: Hunt, Heather H. (NSD)
       »»»
       & hhunt@jmd. usdoj.gov& mailto: hhunt@jmd.usdoj.gov»
                 Subject: RE: FARA
       »»»              I   could talk at 3pm today.



       »»»              Robert Kelner
       »»»
       »»»             Covinqton 8i. Burling LLP
       »»»
       »»»
                       One CityCenter, 850 Tenth Street, NW
                       Washington, DC 20001-4956
       »»» T+1              202 662 5503 rkelner@cov.com&mailto:rkelner@cov.corn&
                                              (

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       »»» message This
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       advise the sender by reply e-mail that this message has been inadvertently transmitted to
       you and delete this e-mail from your system. Thank you for your cooperation.


       »»»
       »»»             From: Hunt, Heather H. (NSD) [mailto:Heather.Hunt@usdoj.gov]
       »»»
       »»»
                       Sent: Monday, February 13, 2017 12: 29 PM
                       To: Kelner, Robert
                       Subject: FARA

       »»»
       »»»
           Rob-
                       Any updates? Are you available for a call after 3pm today?
       »»»             Thanks,
                       Heather




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                                                                                            Arent Fox L.LP / Attorneys at Law
                                                                         Los Angeles, CA / New York, NY / San Francisco, CA /
                                                                                                             Washington, l3C
                                                                                                           ~.  arenttox.corn




                                                                                               Matthew M, Nolan
                                                                                               Partner
                                                                                               202.857.6013 DIRECT
                                                                                               202.857.6395 EAx
                                                                                               matthew,nolangarentfox.corn




               Deat Mr, Alptekin:

                       You have asked for our advice regarding the regulations for the Foreign Economic
               Relatiions Board of Turkey (DEIK), specifically, the applicability of this regulation to your
               election as the Chairman of The Turkish-American Business Council (TAIK) one of the
               Business Councils of the Foreign Economic Relations Board of Turkey.
                      In particular„you have asked us to prepare a Memo on the procedure of the election
               TAIK Chairman and if TAIK Chai~an position could be construed as a Turkish government
               position or an independent position for purposes ot the Foreign Agents Registration Act
               I'FA~). We note that a new structure for TAIK was adopted on September 20, 2014 with the
               regulation numbered 29125, Regulation On 8'o7king Principles and I'roeedures Of Fo/:eign
               Fconomic Aelafions Board and Business Councils, which was issued by the Ministry of
               Economy to regulate the working principles and procedures of DEIK and its business councils,




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                        After some period of time, RATIO determined that the limited reporting on such matters
               by INOVO was insufficient and RATIO requested that INOVO outsource this service to more
               expert providers. INOVO subsequently reached out to FIG in August 2016 with the question to
               measure the strength and challenges of Turkish American relations. The agreement was for 3
               months which would only be renewed if both parties so agreed. There was a lack of confidence
               in the relationship and at some point, while discussing the exact scope of the contract, FIG
               Lobbyist Mr. Kelley suggested activities to increase the level of confidence in the relationship.
               He also indicated that F IG might end up having discussions ln Congi'css, and to this end and he
               should consider registering under the I.obbying Disclosure Act. Mr. Alptekin and Mr, Kelley
               agreed to be on the safe side of things ancl Mr. Kelley registered as the ilobbyist, Although the
               initial aim was merely passive geopolitical reporting„Mr. Alptekin and Mr. Kelly agreed that at
               some time in the future there might be a lobbying component and a PR component. The
               lobbying PR components ultimately never took place, Mr. Aiptekin and Mr. Kelly had several
               interactions about this. FIG introduced Mr. Alptekin to Sphere Consulting as their PR company
               and during the first meeting in October. Sphere Consulting explained that a 3 month contract
               was not enough and little could be done. Mr. Alptekin argued lNOVO should be reimbursed for
               part of the retainer since both the I.obbying and PR components never materialized. INOVO
               never hired Sphere Consulting.
                       On election Day, November 8, 2016, in "The Hill", a US political newspaper, General
               Flynn authored a strongly worded opinion piece condemning the cleric Fetullah Gulen who lives
               in the U.S. and Gulen's U.S activities, and calling upon the U.S gove~ent to support the
               Turkish Government. The article was subsequently linked by certain reporters to the contract
               FIG had with NOVO and Mr. Alptekin.
                       Mr. Alptekin told the press that he had very few interactions with General Fly~. They
               never discussed details of the contract between INOVO and FIG; and they never discussed his
               personal involvement. When Mr. Alptekin met him in person, the General independently
               expressed his concern about Radical Islam and said he feel Turkey should do more on
               combatting it. He did not commit to or announce that he had any intentions of writing an article;
               nor did Mr. Alptekin never ask him to do so. I-Ie never consulted Mr. Alptekin on this, oi asked
               his opinion. If he had, Mr. Alptekin would have strongly advised against publishing an article
               along the lines of his opinion letter that appeared in the Hill on election day.




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                      As of November 2014, DEIK has 99 founding institutions, 121 business councils, and
               approximately 900 member companies which form these councils, as well as 2000
               representatives from the member companiies.
                      DEIK's organs are the General Assembly, Board of Directors, Executive Board, Board of
               Auditors, Business Councils, High Advisory Board and Advisory Boards. I'Article 6 of the
               Regulation).
                       DEIK does not receive government funding. In addition to the corporate members of
               DEIK, Uruon of Chambers and Commodity Exchanges of Turkey (TOBB) and Turkish
               Exporters'ssociation j"TIM"). DEIK" s Board of Directors is composed of thirty five
               members including the Chairman of the Board. DEIK's Board of Directors is composed of five
               permanent Inembers, who are the represen'tatlves of certajn founding lnstltutlons - natnely
               TOBB, TIM, Turkish Industrialist and Businessmen's Association ("TUSIAD"), Independent
               Industrialist and Businessmen's Association ("MUSIAD"), Turkish Contractors Association
               I'"TMB") and business council leaders, representative of other founding institutions and other
               members elected among other General Assembly delegates, OEIK's Chairman is assigned
               among the Board member's by the Turkish Minister of Economy (Article 9 of the
               Regulation).




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                        There are three different types of business councils, namely Country Business Councils,
               Sectorall. Business Councils, and Special Purpose Business Councils. Business Councils are
               established through cooperation agreements signed with foreign counterparts with the purpose of
               promoting business relations with these countries. Bilateral country councils which are founded
               in 114 countrikes as of February 2015 have been gathered under 8 regional councils (in Africa„
               America, Asia-Pacific„Eurasia, the European Union, South East Europe, the Gulf and the Middle
               East). Business Councils consist of two parties„one is the Turkish party and the other onc is a
               counterpart institution in the relevant country, which is usually a tepresentative body of the
               respective country's private sector. Councils meet regularly each year at "Business Councils
               Joint Meetings". Each sectoral and special purpose business council within DEIK convenes a
               separate General Assembly annually and a general assembly meeting with an electiion every two
               years. Each business council elects its own Executive Committee during these general assembly
               meetings. The Executive Committee members then elect the Chairman for the Business Council.




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                        Prior to September 20 1 2„DElK. operated as an independent organization composed of
               various business chambers and commodity exchanges with a budget determined by the Union of
               Chambers and Commodity Exchanges of Turkey ('TOBB). TOBB, in turn, derived its budget
               from assessment s on various member Chambers of Commerce and Commodity Exchanges, and
               is subject to control indirectly by the Government of Turkey, However, in September 2014„
               DElK's authorization Iaw and governance structure significantly changed. The Turkish
               Gove~ent Ministry of the Economy issued revised regulations which expanded the Ministry of
               Economy's authority over the operations of DEIK, including the ability to cancel or revise the
               institution, appointing the Chairman and certain other officials, designating 25 members of the
               General Assembly, potential funding from the Ministry, and other authority.




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                        We note that documents leaked by Wikileaks indicate that certain individuals with close
               ties to the Turkish government have tried to convince the Turkish gove~ent to influence
               TAIK's elections, None of these emails were on Mr. Alptekin' behalf; quite the contrary. The
               same leaks only show emails to members of the Cabinet asking for an intervention to favor
               another candidate. TAIK regulations and procedures, however, do not allow for an intervention.


                       DEIK adopted a new structure on September 20, 2014 with the regulation numbered
               29125, Regulation on 8'orking I'I inchp/es rjnd I'I.ocedures of Foreign Economic RelaIions Board
               and Business Councils, which was issued by the Ministry of Economy to regulate the working
               principles and procedures of DEIK and its business councils (" Regulation" ). Please see the
               Regulation in Appendix 8.

                        Under the Regulation, the Ministry of Economy (" Ministry" ) may designate or cancel the
                status of the founding institutions (Article 4 of the Regulation), designate the twenty-ftve
                members of the General Assembly (Article 7 of the Regulation) and designate or remove the
                Chairman of the Board of Directors (Article 4 of the Regulation), Business Councils are
                established by the Ministry with the proposal of the Board of Directors (Article 14 of the
                Regulation). The Chairmen of the business councils and the executive committee members may
               be discharged by the Minister or upon the proposal of the Board of Directors with the approval
               of Ministry. In the event that the members of the executive committee and the chairman are
               dIscharged or a vacancy ln the memberslMp or presIdency ts occurred for any reason, the Yllew
               chairman shall be assigned with the approval of the Ministry upon the proposal of the Board of
               Directors and the members shall be assigned by the members of the executive committee from
               among the associate members to serve until the following date of election (Article 16 of the
               Regulation). The Secretary General shall be assigned upon the approval of the Ministry and with
               the proposal of the Board of Directors (Article 19 of the Regulation). DEIK may open
               representative agencies at home or abroad upon the approval of the Ministry (Article 16 of the
               Regulation). Ministry allocates income to DEIK among other contributions fees and donations
               (Article 24 of Regulation). Under the regulation, the directives covering the working principles
               and procedures such as the way of work of DEIK bodies, relationships with each other, the
               principles of the right to elect and be elected, budget, accounting, human resources shall take
               effect upon the approval of the Ministry (Article 27 of the Regulation)




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                          O.         Interpreting the Agency Relatiionship
                        While there have been few cases interpreting FA~„ the courts have considered what
               type of relationship exists triggering a FARA registration requirement. In United Stares v.
               GeI"man-AmeI"ican Voeariona/ League" the 3"~ Circuit Court interpreted the meaning of an
               agency relationship under FARA as applied to a group of German-Americans acting as Nazi
               propagandists. The Court considered and rejected an argument that there was no written
               employment contract with the Germany Reich, hence no agency. Instead the Court applied a
               traditional Aestarernen/ Standard to determine the existence of agency under PARA:
                       The true test, we think, was whether agency in fact existed, with the term agency deftned
                       substantially as in the Restatement of A ~enc Section 1 „which states it to be: 'The
                       relationship which results from the manifestation of consent by one person to another that
                       the other shall act on his behalf and subject to his control, and consent by the other so to
                       act ~10




               7
                   22 U.S.C. (613.
               '53 F. 2d 860 I'3'~ Cir, cert. denied 329 U.S. 760 (1946)
               'd. at 862.
               " 1d at 864.




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                        Nevertheless, while we acknowledge that the Act requires registration by a person who
                        acts, in specitted ways, at a foreign principal's "'request," we caution that this word is not
                        to be understood in 1ts most predatory sense. Such an interpretation would sweep within
                        the statute's scope many forms of conduct that Congress did not intend to regulate. The
                        exact perimeters of a "request" under the Act are difficult to locate, falHng
                        somewhere between a command and a plea. Bespite this uncertainty„ the
                        surrounding circumstances will. normally provide suffi1cient indication as to whether
                        a request'" by a "foreign principal" requires the recipient to register as an
                                      "agent."'emphasis
                                      added, footnotes and citation omitted]
                       There has been some criticism of the INAC decision as it creates some uncertainty
               regarding the concept of requiring FA~ registration based on its more expensive reading of
               agency and the link to FA~'s "informative purposes." Nevertheless, the current jurisprudence
               indicates that there must be some form of "control" relationship exercised by the foreign
               principal that the agent has consented to, or at least actions at the "request" of the foreign
               principal which the agent construes as some form more required action.


               "United States v. Irish,Vationa/ Aid Committee (INC), 668   1'd   II   59 (2d Cir. 1982)   aff g 530 1"'. Supp.   241 (SONY 1981)..

               " 686 F2d   159-160.




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                      Whether TAIK is an entity afliliated with the Gove~ent of Turkey is significant
               because if it is considered an entity or agent of the GOT, then actions by any party hired by
               TAIK in the United States for lobbying or public relations work would trigger FA~ fihng
               requirements, instead of an LDA filing (which was made). In such a case, a US agent hired by
               TAIK could be deemed an agent of the GOT.
                       FA~ itself does not define what constitutes a gove~ent agency, or an organization
               controlled by or affiiliated with same, nor does it define who is an agent of a foreign gove~ent.
               In general, a foreign gove~ent is considered to include the gove~ent of a foreign country,
               or any agency, department, ministry, or political subdivision thereof. 'n     other U.S. laws, some
               context is provided, For example, unde~ the U.S. Foreign Corrupt Practices Act I'FCPA), it is
               unlawful for U.S persons to pay bribes to "any offhcer or employee of a foreign government or
                                                                       j
               any department, agency or instrumentality thereof j; .. or any person acting in an official




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                          "'imilarly,
               capacity for or on behalf of any such government, department, agency, or instrumentality.
                          in other lIaws an "agent"'f a foreign gove~ent has been defined to include an
               individual or entity that operates subject to the direction and control of a foreign government.
               Under some U.S laws, gove~ent has been interpreted to include state owned Under the
               FCPA, the defiinition has been interpreted to include state owned enterprises (SOEs).




                        Recently another branch of the U.S. Gove~ent has considered the status of Turkish
               trade associations. By coincidence we represent the Turkish steel producer, Icdas Enerji which is
               involved in a government subsidies case. The question presented was whether financial
               assistance provided by the Turkish Steel Exporter's Association ("TSEA"), part of the Istanbul
               Mineral and Metals Exporters Association ("IMMIB"), should be treated as a gove~ent
               subsidy to Icdas Enerji. We believe the governing decrees for IMMIB are similar to DEIK and
               "I'AIK. In the Icdas Enerji subsidy case, the U.S. Department of Commerce preliminarily found
               "that'" there is no evidence on the record of a monet~ contribution from the GOT to TSEA's
               financial accounts."'ince TSEA did in fact provide financial support to Icdas Enerji in the
               case, the implication is that the GOT was not involved and did not direct TSEA's action.




               " See 18 U.S.C. $ 951(d).
               " See Decision Memorandum for Preliminary Results of Countervailing Duty 2014 Administrative Review of Steel
               Concrete Reinforcing Bar from the Republic of Turkey, Admin review C-489-819, December 5, 2105, pl l.




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                       However, even if TAIK were to be found to be a an extension or agent of the GOT, a.
               second question would still exist with respect to Mr, Alptekin" s activities. Mr. Alptckiin is both
               chairman of TAIK, and also a prominent private sector businessman whc operates numerous
               private businesses including Havacilik A.$ . in Turkey and Eclipse Aerospace in the United
               States, He has significant business interests and activities completely independent of and apart
               from TAlK. Further, Mr. Alptekin' position as Chair of TAlk is completely voluntary: he
               receives no salary or compensation for his activities on behalf of TAIK, In fact, his position as
               Chair of TAlK can be attributed in large part to his status as a prominent respected and
               recognIzed business leader.




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Conference w/ Flynn
2-14-17 4:30 pm
RK, KV, M Flynn, Lori.
KV: Spoke before
     Documents in email to look @ leisure?
w/ final? to read more carefully
RK: David Laufman call. HH, CR on call.
     Unrelated to stuff in the press.
     Time to collect and interview – facts.
     Possible draft registration. Decision of client.
     When talking? He asked. Call and let us know able to talk.
     Read it: File or subpoena may follow.
     If file, possible they’ll still look. Take a lot of wind away.
     Focus is whether you register. Could audit the filing.
     Subpoena less likely.
MF: YESTERDAY?
RK: Yes.
RK: Where we are. Told them in Jan we expected to file.
Emails, docs, interviews — little evidence of business/commercial.
     Except after the fact letter.
     Not discussed previously – after the fact.
     Talk to people involved. Little on oil field.
      Focus on Gulen, at time of FIG? focus on Gulen/Turkey
      Meeting with government in September — tied to Confidence.
      Op-ed distributed by Sphere — paid through contract.
      Op-ed on same topicà Gulen
      LDA only if Turkey not directing and not prin. beneficiary.
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     Email – Green light. Bijan insists, not Confidence.
     Other view – Ekim/Ratio, business, green light unrelated.
      We could fight it out. Would likely pursue. Court. Expensive. Might win –
but big fight
Media storm. Conspiracy theories, etc.
MF: Filing late – legality.
     Smart thing to file. Be precise.
RK: Take time with the draft.
     High level — don’t have the detail.
     Gaps to explore?
     Meet w/Heather with the document.
     Address any of her concerns.
      Could send cover letter. Simple letter summarizing the position
             Cogent explanation of our position.
     Careful of public statements. Interconnected. Can all blow back.


Notes in upper right corner: Payments added to chart.
     Kept this from being factor
     FCPA interconnected
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Transcription of Brian Smith FARA Unit Meeting Notes from 2/21/2017 2.pm




KV     Personal counsel – FIG and business                  FARA Unit 2/21/17
                                                                          2pm
                                                            Alex Heather Laufmin?
                                                            Heather [Hunt]
                                                            David Laufman
                                                            Wallace
                                                            Cliff
                                                            Tim [Pugh]
                                                            BDS, RK, KV

RK     Answers to Questions – letter

Issues revised – welcome your feedback
Draft with us here




1.     Op Ed – Comm w/ Turkish govt/EA re Op Ed
       Turkey – no contacts we’re aware of
       EA – Yes saw before published
       No substantive changes. Technical, spelling, views
       Gen Flynn didn’t accept any suggested changes




                                              1
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2.    EA/I comm w/ GOT
      Not that we’re aware of

3.    Preparation
      Flynn wrote it, Bijan, Business partner, input
      Editor Hank Cox. Bijan brought in.

Laufman Q:   FG Employee?
KV:          Not employee




4.    So far as we’re aware, not an official or agent
      Any direct it be written, involved
      No
      Built into question EA working for GOT
      As far as we’re aware, he’s not an official
      Unsolicited, received letter from his counsel, Arent Fox
      Their justification In detail not official or agent.




                                               2
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5.    Receive Copy
      Not aware of govt receiving copy
      EA received it. Don’t believe he’s agent.

TP:   Draft?
RK:   Draft. May have been some changes.




6.    Comp?
      No. Subject matter related to work for Inovo; compensation there.
      He didn’t view it as something he was doing under contract.




                                              3
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Didn’t resolve question on registration

Laufman:       Genesis of op-ed

RK             Issues MF involved for long time
               He wants to write

Laufman:       His idea?

RK:            His idea. Not EA suggested. Not suggested by Turkey, other
               Apiece w/ other things written or said
               Learning about the topic – from doing work




KV:            Muslim Brotherhood reference. Upset. Asked for change.

Laufman:       Why sent?

RK:            Doing work on similar subject matter. Projecting.
               Thinks he may not like. Would need to let him know.

Laufman:       Awareness, not approval

HH:            Didn’t make any changes?

KV:            Very Upset

RK:            No changes, other than spelling

RK             (Talking points)


                                                 4
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Laufman    Get my brain around that?

RK         Perspective that Gulen is causing all the trouble in Turkey.
           Trouble stirred up. Investors think things destabilized in Turkey with him there,
           businesses not investing

Laufman    MF or EA?

RK         EA’s views and FG/Sphere understanding of engagement.
           Understand not immediately clear.
           Not living in this narrow world.
           FIG aware EA talked to GOT about govt engagement
           Didn’t happen (Turkey)
           So EA decided to engage through his company
           No funding or direction from GOT – him and his counsel




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KV         His engagement w/ another company

RK         Right >> after the fact explanation from his counsel
           Business copy w/ Leviathan gas field

Laufman    FIG aware in touchw/ GOT on FIG engagement. Why not happen?

RK         No detail

Laufman    Comm bt/ EA and GOT on decision

RK         Understand he was in touch, not privy




L          EA own reason to engage FIG. Not proxy.

RK         EA told FG. His counsel tells us/counsel after the fact
           Don’t have evidence to the contrary
           (TPs) – contract August
           Public source research Gulen
           Develop adverse information about Gulan. Case developed.
           Criminal referrals mentioned in contract
           PR firm and develop video on Gulen and network

                                            6
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           FIG retained contractors




Laufman    Employees?

KV         MF, Bijan, Oakley. Bunch of colleagues brought in
           Reference in contract to team, some brought in, some not

HH         LDA – Kelly

RK         He’s general counsel

KV         Brought in to look @

RK         (cut off) no privilege

KV         Brought in to do LDA




                                           7
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RK         Engaged Sphere consulting

KV         SGR – Trade name Sphere

RK         Engaged in Fed and State lobbying type outreach

TP         Lobbying type?

RK         Lobbying
           Met McCaul

UKNOWN     Sphere?

RK         Joint Bijan and Sphere. Talked re Gulen

TP         Client?




                                           8
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RK         Inovo > FIG > Sphere
           State level contacts

HH         Pennsylvania

AM         Texas

Laufman    What transpired @ McCaul meeting?

RK         Loosley. No email or summary

Laufman    Bijan, talked

RK         Yes. Discussed broader national security and Gulen




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Laufman     Sought to raised the issue?

RK          Bijan would say no. Broader issues. Sphere was there.
            Bijan wouldn’t say set up meeting for Inovo, under contract

Laufman     Set up by FIG/Sphere side?

RK          Yes. Part of his relationship with staff

Laufman     Any documents brought or left?

RK          Not that we have found
            Level set At time of letter, before, shut down




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Laufman      Server records down, or not preserved

RK           Not a server. Various services. Some encrypted.
             Resurrected accounts open encrypted emails
             Don’t believe all emails that existed could be recovered
             Don’t have access to every independent contractor

TP           Because small?

RK           Like new PR firms. Build by various people contributing.
             MF never went back to the office
             MF2 happened to go back to the office

RK           Atmospherics. All happening in height of campaign.
             He’s flying @ 30,000 feet. Bijan handling. He’d dive in for meeting.

Laufman      Flynn sign?

BDS          Yes




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RK          Gulenopoly. Asked to create game.

Laufman     Get out of jail free?

RK          They created and give to FIG. And EA
            No evidence that Sphere or FIG disseminated
            See online and hashtag
            Don’t know how it got out

HH          Copy given to EA




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RK          Yes could speculate he did it
            Still drilling down on dissemination
            3-month, option to extend
            Work on getting it out into the world
            Nov 15, clear he’s going in to Admin
            A lot they were planning wasn’t done
            Video done some interviews
            Some research, game, Hill meeting, media, states
            Asked Sphere to distribute Op Ed
            Placed in Hill
            Don’t have perfect visibility
            Those are things identified
            Lots of ideas of things they could do




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HH          Brain storming

RK          Ideas that could be implemented later on
            Things identified here were the things done as best we can tell

HH          Flynn dive in for what? Hill meeting

RK          Calls w/ client on emails. Maybe not reading

Laufman     EA Emails




RK          EA and internal
            Meeting in September Turkish officials in NY, Flynn in NY
            Arranged late night meeting

TP          Ambassadors?



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RK          2 Ministers. MFA and Energy
            EA wanted MF to meet them and understand what was going on in Turkey
            And talked about Gulen
            No indication they gave any directions or order on the project. But Gulen
            discussed




TP          Timing w/ coup

Laufman     memos memorializing the meeting?

RK          Not that we’ve located

KV          Just emails scheduling the meeting

RK          w/ these facts:
            Bona fide commercial enterprise
            Stated business purpose
            Commercial funding, not govt
            Activities in US tie to purpose




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Laufman     Commercial purpose? Why?

RK          Logically difficult to accept position that Gulen is source of Turkey econ
            problems. Stated reason from EA and after the fact explanation – contract w/
            Israeli company interest in Turkey economy
            Other hand:
            Meeting w/ GOT officials
            Since coup, principal policy focus in Gulen extradition
            Direction or control from GOT. Don’t really have evidence
            Contract and funding, representation
            Beneficiary – Gulen focus overlap




RK cont’d   Argument for registration. If subject matter, principal beneficiary
            Reason it’s taken so long. We thought we’d find dispositive evidence. Haven’t.
            Thin reed – subject overlapping. Principal beneficiary and LDA regulation

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Laufman      EA. How he regarded benefits to Turkey.

RK           No indication




BDS          Counsel would say he doing for own reason – the inverse

RK           Important counsel

HH           No connection w/ GOT

RK           Didn’t say that. Not official. Clearly has relation.
             Arranged meeting – black box
             We don’t know relationship. Was in touch. Procured meeting.

Laufman      TAIK – some connection to govt

HH           According to his counsel, not an agent

RK           Yes




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KV          Some connection to govt. quasi under law

RK          Clear relation. Question whether agent under this project. Counsel says he’s not
            agent at all.

TP          Primarily funded by Turkey?

KV          TAIK and business counsel. Conclusion that he’s not agent/official

HH          He went to govt. They said no. He still wants to do himself through his business.

RK          What he tells us/Bijan. They weren’t prepared to retain FIG




HH          They said you do it

RK          Can’t rule that out. Not that we’re aware.

KV          Not our impression

RK          Bijan would say that’s not the case

RK          Not crazy to file under LDA.
            Subject overlap – principal beneficiary

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RK          Have draft. Couple things to drill down.

HH          Registration on determination of principal beneficiary

RK          Under statute, exempt
            Under reg, still true unless principal beneficiary
            w/o PB – LDA would be sufficient

TP          Sphere register?

RK          Under LDA




HH          FIG as client
            Not for foreign

RK/BDS      Double check

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TP          Leviathan – Turkey/Israel

RK          Not an expert. In Israel. Others working on deals for access

Laufman     Factual voids info on EA genuinely viewed scope of work
            Hired FIG. Commercial, dual purpose? Benefit govt
            Don’t have sufficient visibility




RK          Lengthy letter from counsel. Strong case.

Laufman     Available

RK          No. Strong case. Israel
            After the fact
            FIG told @ time – confidence in Turkish economy and
            Gulen is obstacle to that. Deal w/ him

HH          Op-ed MF 100% deciding

RK          MF and others spoken to. No indication otherwise in documents and interviews
            Natural. Research being done about Gulen.
            EA didn’t request and wasn’t thrilled
            Muslim brotherhood. Sensitive.
            Mentioning it, he not happy

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TP          Economic reason or political

RK          Don’t know the particulars

Laufman     Commentary that positions in Nov 8 op-ed are contrary to prior positions

RK          Recall seeing that claim. Not explored. Could ask General
            Lots of changes on ground. Months leading up to it
            Haven’t asked General
            Views evolve




Laufman     One possibility. Views espoused by client

RK          As writer, where do things come from
            From general’s view, he had things to say
            Election day – no rhyme or reason
            No request from client to publish on election day
                                            21
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             Something he wanted to write. No one asked for it

Laufman      He disavowed op-ed – not true?

RK           No.
             Have to look @ his statement
             Suggested changes, not accepted




HH           Flynn – meeting on Hill? Not @ Sphere meetings

KV/RK        Not @ meeting

HH           Internal?

RK           Knew they were working on it. September meeting

KV           He personally did very little

Laufman      Reason for Sept meeting?

BDS          Get to know one another

Laufman      Topic/reason

BRS          Didn’t specify




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TP           UNGA

BRS          Yes

AM           negotiate representation


RK           No
             Could have presented and said not needed to register




Laufman      After registration but not sure it’s necessary
             51%?

RK           Useful exercise. Gather the facts. What would it look like
             Internal debates – not slam dunk either way

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            My view: credible basis – subtle judgment of PB
            P is strong word
            After the fact business justification
            Not inconsistent w/understanding @ time
            Confidence business interest
            Explanation goes further
            But have inquiry from you. He wants to get things right.
            Wouldn’t want to decide on our own.




HH          Looks like

RK          Prepared to show

HH          Who? Registrant FIG
            Principal Inovo

HH          Sphere?

RK          Have their own counsel. Belief that if conclude, your advice
            They’d file their own

TP          FIG incorporated, Ex C




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KV          Yes. Will dissolve when this is all done

Laufman     Reopen

KV          No, his own LLC. This is one business w/ Bijan

HH          Detailed activities?

RK          Similar to described orally. Hill, video, opoly, state contacts.
            Few paragraph summary of detail that we have

HH          Statement regarding LDA

RK          Yes note of previous LDA. Address any issues, overlap subjecting
            Register. Best efforts to reconstruct facts w/ counsel




TP          Time?

RK          August to Nov.

HH          Supp
                                              25
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RK           Yes early supp
             To answer question, prefer not to file, everything else going on
             Recognize thin line




TP           Kelly?

RK           No role

HH           Why Kelly
             Not a subject expert
HH?          He has own FARA registration – Kelly law group registered

AM           McBree new name
             Signal group




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TP          Video tasked to do – same one?

KV          Video not completed

RK          Kelly – registered? News to me

Laufman     Time to study draft

RK          Don’t want to surrender custody
            Available in our conf room. Day or 2




KV          Lots going on w/ Gen Flynn. His answer – do the right thing

Laufman     Peculiar w/ him more free. Can’t get access to documents emails

RK          Can get back on details
            Cloud services, Virtru

KV          Account for FIG – used for its business

RK          Some of it was still available
            Hard to reconstruct

KV          On phone w/ CEO




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Laufman     Exist on his hard drive before sent to cloud

RK          Haven’t imaged HDs, there are no FIG hard drives

Laufman     How cooperative? Bijan

RK          Cooperative. Handed over information

Laufman     Dependent on EA lawyer and his representation

RK          Yes, that’s the usual case. Don’t have access to someone client
            Mental state




Laufman     Seek documentary evidence from your client to see internal emails

RK          Usual to ask them to make representations
            Not ask for internal documents

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            Usually look @ representations and public information

Laufman     Depend on the accounts provided to you, and then to us

RK          Don’t normally have access to 3rd party documents.
            Putting back in time. Ask for representations. Don’t ask for internal emails w/
            GOT

Laufman     Puts you in tough spot

RK          Some of it’s the smell test

Laufman     (blank line)




RK          Two: (1) Turkey funding/directing. Don’t know EA > Turkey
            (2) GOT is PB - there we have as much as we know. Emails wouldn’t shed light

HH          When it comes to be, EA hanging hat on a connection end. to MF

RK          Yes Bijan and MF consistent this was EA’s commercial
            Interest and Gulen irritant to economic relation


Leviathan

RK          No one @ FIG. First mention in media interview
            Then details from Arent Fox




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RK          Could imagine his own business purpose
            Client may tell you just what need to know
            True – didn’t know until later

Laufman     See copy of agreement? Things typically ask for

TP          Kelly registration. Iraqi




                                           30
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                                                                       Meeting to
                                                                       Review of draft
HH – Things we saw if filed. Look @ these issues.                      2/22/17
               1. Residences addresses. Appreciate why not listed.     noon
                         Not @ upon request.
                         Put in the filing – redact.
Revise home              Put on the form “Provided separately for DOJ”
Addresses ✓                       and submit in letter
Request redaction ✓ Redact in Exhibit C. also.
In Exhibit C
               Leaning toward Registration – principle benefiting Turkey.
               Will give it more thought, the definitive view.




Register –             Pretty much there. Make decision now.
Written? * ✓           Want something in writing?
                       Electing to file in LDA note
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                 2. Reg
                          9 retroactive – put on there
                                  60 days prior

Add retroactive           10 –
Note to 60                        Because retroactive, receipts/disbursements, appear on supplemental.
Day look back ✓
                          “to the filing of the statement” – problem




                 3. 13-16
                                  Budget established
                                  Yes. Attachment –
No on budget              #13     No – no separate budget
check if                          Look again @ Sphere contract – anything specific
info materials
budget or                         13 – 16 – check a box – even if “other”
clarify debt ✓

Check “other”
Throughout
Info note
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                      Exhibit A
Check Hon Consul              Honorary Consul from Turkey to Albania. ?
To Albania ✓
                                      Check.
                             If Turkey, list it
                      Meeting w/ officials.
Add mtg                               Add in New York
luncheon
(NY)                  Also in #11 of Supp. Statement.
2 spots ✓




              Cliff
              #15     Payments to Inovo of 40
                             Strange
                      TP Return of something?
                                     (BPI – note @ top
                                             Still looking – not clear)
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Sphere             Sphere draft. ?
coordinates
filing ✓                    Reach out to them
                                    Happy to look @ draft for them tom.
                                            Same format
*                                   Coordinate
                   HH – like to be @ same time.




Exhibit            HH/Cliff – Ex B –        Gulen not mentioned
B       ✓                                   Ok to put in supp.
Gulen -
OK                 To Supp -         McCaul meeting date possible?

Date of McCaul     Various State governments.              Date location if possible
Meeting ✓                                                  governor, legislative

Details on State
Meetings –
Issue for
Sphere ✓
       Case 1:17-cr-00232-EGS Document 160-11 Filed 01/29/20 Page 5 of 5




               Logistic –      file by email
File by                                 So they can handle the timing and
email ✓                                         Publication
Courier the check
                               Send check for fees – Courier a check

               We can idle while Sphere finalizes filing
Case 1:17-cr-00232-EGS Document 160-12 Filed 01/29/20 Page 1 of 1
                      Case 1:17-cr-00232-EGS Document 160-13 Filed 01/29/20 Page 1 of 1
      Re: Flynn

      From:        "Kelner, Robert" & "/o=covington 5 burling/ou=cb/en=recipients/cn=dkb.cbpowa01.kelnerrk" &
      To:          "Hunt, Heather H. (NSD)" &heather.hunt@usdoj.gov&
      Cc:          "Smith, Brian" &bdsmith@cov.corn&
      Date:        Fri, 03 Mar 2017 10:19:38 -0500



       Looks like Tuesday. Finalizing some things. Expect General to sign Monday. And then we'
       file Tuesday, and Sphere would file same day.
       Sent from my iPhone
       &    On Mar 3, 2017, at 10:15 AM, Hunt, Heather            H. (NSD)
       &   Heather. Hunt@usdoj.gov& wrote:
       & Okay. Close as in later today or close as in next week? Call on my mobile. 202-598-
       7101.
       »               2017, at 10:10
               On Mar 3,                    AM,   Kelner, Robert &rkelner@cov.corn& wrote:
       » are not quite ready to
               We
       discuss status.
                                             file, but close.   I'l try to catch you   by phone today to

       »       Rob
       » Sent from my iPhone




Confidential   —   Subject to Protective Order                                                    Rafiekian EDVA 00009723
                      Case 1:17-cr-00232-EGS Document 160-14 Filed 01/29/20 Page 1 of 2
      Fwd: Flynn Intel Group, Inc.

                           "Kelner, Robert" &rkelner@cov.corn&
      To:                  kverderame@ponderainternational.corn
      Cc:                  "Smith, Brian" &bdsmith@cov.corn&, "Anthony, Stephen" &santhony@cov.corn&,
                           "Langton, Alexandra" &alangton@cov.corn&
      Date:                Tue, 07 Mar 2017 23:04: ll -0500
      Attachments:         Unnamed Attachment (68 bytes); image00l.png (2.66 kB)


     They are working late at the FARA Unit.
     Sent from my iPhone
      Begin forwarded message:


        From: "Hunt, Heather H. (NSD)" Heather.H nt usd                   .   ov&
        Date: March 7, 2017 at 10:50:18 PM EST
                     h,      "~bd
        C:"
        Subject: RE: Flynn Intel Group, Inc.



      Br'IaA—




      Please coAtact me     If       you have aAy questllons or concelI'As.
     Thank you,
      Heather
      Heather H. Hunt
     Chief, FARA Registration Unit
     Counterintelligence and Export Control Section
      National Security Division
      U.S. Department of justice

     Washington, DC 20530
      (202) 233-0776/0777
      heather. hunt usdo         .    ov


      From: Smith, Brian [rnailto:bdsmith cov.com
     Sent: Tuesday,  March 7, 2017 6:02 PM




Confidential   —   Subject to Protective Order                                              Rafiekian EDVA 00044172
     Subject:
      Dear Ms. Hunt,
                            *~
                      Case 1:17-cr-00232-EGS Document 160-14 Filed 01/29/20 Page 2 of 2
                        b
                    Flynn Intel Group, Inc.



     Attached please find a cover letter, registration statement, exhibits, short forms, and terminating
     supplemental statement of the Flynn Intel Group, Inc. These materials are being provided by e-mail
     pursuant to our conversations. Additionally pursuant to our conversations, the information below is being
     provided separately.
     We respectfully request that the Registration Unit redact residential addresses that appear on pages 8 and
     10 of Exhibit C.

     The following residential addresses are being provided to the Department separately:
               Lt. Gen. Michael T. Flynn (Ret.)

               411 North Pitt Street
               Alexandria, VA 22314
               Bijan Rafiekian

               9700 Avenel Farm Dr.
               Rockville, MD 20850

               Philip Oakley

               11400 guailwood Dr.
               Fairfax Station, VA 23039

     A check for $ 610,for the initial registration and the terminating supplemental statement,   will   be sent
     separately by courier to your office.
      Further to your conversation with Mr. Kelnerr we respectfully request that his attached cover letter be
      included in the Unit's public file regarding this registration.
      Please let us know if you have any questions.
      Brian


      Brian D. Smith
     Covington 5 Burling LLP
     One CityCenter, 850 Tenth Street, NW
     Washington, DC 2000 l-4956
                            I   ~M




Confidential   —   Subject to Protective Order                                                     Rafiekian EDVA 00044173
                   Case 1:17-cr-00232-EGS Document 160-15 Filed 01/29/20 Page 1 of 4




                    Re:     Re ulatoI' Advice Acct, iso. 039305.00001

             Dear General Flynn:

                    Enclosed is our statement for professional services rendered by the firm during the period.
             November 1, 2017 through November 30, 2017, in connection ~vith the above,-referenced account.
             Please feel free to cali me if you have any questions.
                    Best regards.
                                                                                 Sincere'1 y y4u rs,




Privileged/Attorney Work Product                                                              Flynn File Transfer 00010121
                    Case 1:17-cr-00232-EGS Document 160-15 Filed 01/29/20 Page 2 of 4

            COVlNGTQN                                                                  Covington tt Bnrling LLP
                                                                                       One CityCenter
            BEIJING BRUSSELS DUBAI JOHANNESBURG LONDON                                 850 Tenth Street, NW
            LOS ANGELES NEW YORK SAN FRANCISCO SEOUL                                   VAshington, DC 20001-4956
            SHANGHAI SILICON VALLEY WASHINGTON                                         T +1 202 662 6000




            General Michael T, Flynn                                                      December 13, 2017
            Flynn Intel Group, Inc.
            44 Canal Center Plaza                                             Invoice;             60783193
            Alexandria, VA 22314                                             Account          039305.00001
                                                                            Attorney:        Robert K. Kelner

            General Michael T. Flynn
            Re: Regulatory Advice

            For professional services rendered in connection vttith the above referenced matter through November
            30, 2017:


            Fees:                                                                                     562,122.50

            Disbursements                                                                                  S16.43

            Total Fees and Disbursements:                                                             563,036.83


            TOTAL AMOUNT DUE:                                                            USD $




Privileged/Attorney Work Product                                                                 Flynn File Transfer 00010122
                   Case 1:17-cr-00232-EGS Document 160-15 Filed 01/29/20 Page 3 of 4




Privileged/Attorney Work Product                                           Flynn File Transfer 00010123
                   Case 1:17-cr-00232-EGS Document 160-15 Filed 01/29/20 Page 4 of 4

            COY I NGTON                                                               Covington k Burling I.LP
                                                                                      One CityCenter
            BEIJING BRUSSELS OUBAI JOHANNESBURG LONOON                                850 Tenth Street, NW
            LOS ANGELES NEW YORK SAN FRANCISCO SEOUL                                  washington, DC 20001-4956
            SHANGHAI SILICON VALLEY WASHINGTON                                        T +12026626000




                                                    Remittance Page

                           CIient Name               General Michael T, Flynn
                           Ilatter Name              Regulatory Advice
                           Date Of Invoice           December 13, 2017
                           Ilatter Number            039305.00001
                           Invoice Number            60783193
                           Total Amount Due          $ 563,038.93




            Please Submit Remittance to:
            Covington 8 Burling Ll P
            Attention: Accounting Department
            One CityCenter
            850 Tenth Street N.W.
            Washington D.C, 20001
            Fed. Id, No. XX-XXXXXXX
            (202j 662-6000


            Wire Instructions:




            Citibank N,A                                  ABA: 254070116
            1101 Pennsylvania Avenue, N.W.                Account No, 9250403781
            Suite 900                                     Account Name: Covington 8 Burling LLP
            Washington, DC 20004                          Swift Code: CITIUS33


                                               Please reference invoice number
                                    Please send remittance details to collections©cov.corn




Privileged/Attorney Work Product                                                                Flynn File Transfer 00010124
                  Case 1:17-cr-00232-EGS Document 160-16 Filed 01/29/20 Page 1 of 2
     Re: call?

     From:        MTFLYNN & rpatriot@mailsol.net&
     To:          "Anthony, Stephen" &santhony@cov.corn&
     Cc:          "Kelner, Robert" &rkelner@cov.corn&, flynnlmmm@mailsol.net
     Date:        Wed, 30 Aug 2017 16:14:27 -0400


     Rob, I assume     we'e using the conference call number?
     Mike




     Michael T Flynn
     Lt. Gen. (R), U.S. Army
     CEO, Resilient Patriot LLC
     NYTBestselling Author, The Field of Fight:
     h:
     How We Can Win the War Against Radical Islam and Its Allies
              ~.mzn.                mFil-Rh-             l    I-   in -   i   l




     0 Aggtl,     Ill,          5.'5,A   h   g,mhh           ~h
       Same for me. Or I could start at 4:30.
       Sent from my iPhone
       0     g30,2II,           3:52,        I,      0       ~hl
       Would you prefer to talk after dinner? It's not urgent, but we do need to update you on a
       development. I could talk later tonight if easier for you.

       Robert Kelner
       Covington R Burling LLP
       One CityCenter, 850 Tenth Street, NW
       Washington, DC 20001-4956
              0   66       03
       ~.cov.corn &htt: ~.cov.cpm&
       &image001.jpg &
       This message is from a law firm and may contain information that is confidential or legally privileged.
       If you are not the intended recipient, please immediately advise the sender by reply e-mail that this
       message has been inadvertently transmitted to you and delete this e-mail from your system. Thank
       you for your cooperation.


       From: MTFLYNN rnailto:r atriot rnailsoi.net
       Sent: Wednesday, August 30, 2017 3:49 PM




Privileged/Attorney Work Product                                                            Flynn File Transfer 00018162
                 Case 1:17-cr-00232-EGS Document 160-16 Filed 01/29/20 Page 2 of 2
                    0 *
       Cc: Anthony, Stephen &santhon         cov.cpm& mailto:santhon   cov.com»;
       flnnimmrn mailsol.net& rnailto:   I   nnlmrnm maiisol.net&
       Subject: Re: call?
       Rob,
       Five is good. We have dinner reservations at 5:30, so we will be in our car if   that's okay.
       Mike




       Michael T Flynn
       Lt. Gen. (R), U.S. Army
       CEO, Resilient Patriot LLC
                    Author, The Field of Fight:
       NYT Bestselling
       How We Can Win the War Against Radical Islam and Its Allies
       htt s: ~.amazon.com Relld-Fi ht-Gioball-A ainst-Radical d         l250l06222




       0 3     30, III,       5.3,    I,         0*
       General, are you free for a call with me and Steve at 5pm today?

       Robert Kelner
       Covington S. Burling LLP
       One CityCenter, 850 Tenth Street, NW
              Il»
       Washington, DC 2000l-4956
                     5503
                       ~0
                             I    55         .        I   .   I   I




       &image001.jpq     &
       This message is from a law firm and may contain information that is confidential or legally privileged.
       If you are not the intended recipient, please immediately advise the sender by reply e-mail that this
       message has been inadvertently transmitted to you and delete this e-mail from your system. Thank
       you for your cooperation.




Privileged/Attorney Work Product                                                               Flynn File Transfer 00018163
                            Case 1:17-cr-00232-EGS Document 160-17 Filed 01/29/20 Page 1 of 1
     Fwd: Chief 3udge Howell's Order re Manafort's FARA
     Lawyer
     From:      "Anthony, Stephen" &santhony@cov.corn&
     To:        "Kelner, Robert" &rkelner@cov.corn&, "Polack, Roger" &rpolack@cov.corn&, "Chertoff, Michael"
                &mchertoff@cov.corn&, "DeBold, joshua" &jdebold@cov.corn&, "Smith, Brian"
                &bdsmith@cov.corn&, "Langton, Alexandra" &alangton@cov.corn&
     Date:      Mon, 30 Oct 2017 21:49:25 -0400


     I just had a flash of a thought that we should consider, among many many factors with regard to Bob
     Kelley, the possibility that the SCO has decided it does not have, wrt Flynn, the same level of showing of
     crime fraud exception as it had wrt Manafort. And that the SCO currently feels stymied in pursuing a
     Flynn-lied-to-his-lawyers theory of a FARA violation. So, we should consider the conceivable risk that a
     disclosure of the Kelley declaration might break through a wall that the SCO currently considers
     impenetrable. Much to consider...
     Sent from my iPhone
     Begin forwarded message:


              :"A       h,R      "
                                         ~h
                                   ~lk Id,l .," I,     ~,'"h
                             h
         Date: October 30, 2017 at 9:32:19
         T:"T      I   k,     d"               PM EDT

                                               h
                                                   "
                                                              h*" ~ll
                                                                            lh,
                                                                                  .,"Ch          II,   lh
                ,Al            d
         CAhTRdh"              ~h
         Subject: Chief 3udge Howell's Order re Manaforl s FARA Lawyer


         Attached (if I succeeded in attaching).


         &f.pdf&




         Sent from my iPhone




Privileged/Attorney Work Product                                                            Flynn File Transfer 00059051
                      Case 1:17-cr-00232-EGS Document 160-18 Filed 01/29/20 Page 1 of 2
      Re: Robert Kelley Declaration

      From:        "Anthony, Stephen" & "/o=covington 5
                   burling/ou=cb/en=recipients/cn =cd.cbpowa0l.anthonysp" &
      To:          "Chertoff, Michael" &mchertoff@cov.corn&
      Date:        Sat, 28 Oct 2017 07:33:37 -0400



       I   tip my cap to Kelley for his candor in this.
       Sent from my iPhone
       On Oct 28, 2017,       at 7:16 AM, Chertoff, Michael
       & mchertoff@cov.corn &       mailto: mchertoff@cov.corn» wrote:
       Home run.
       From: Kelner, Robert
       Sent: Saturday, October 28, 2017 12:33 AM
       To: Anthony, Stephen
       Cc: Polack, Roger; Chertoff, Michael; DeBold, joshua; Smith, Brian; Langton, Alexandra
       Subject: Re: Robert Kelley Declaration
       I'm just getting to this now. I think it came out great, all thinqs considered. It reads like
       it's in his voice and not heavily lawyered at all, which it wasn t. The mix of things he
       included adds to its credibility. It does what we hoped it would do. Thanks, Steve, for
       great work in bringing this to a conclusion. Frankly, there are not many lawyers who
       would be as frank as Kelley has been here.
       Sent from my iPhone
                     at 9:45 PM, Anthony, Stephen
       On Oct 27, 2017,
       &santhony@cov.com&mailto:santhony@cov.corn» wrote:
       See the attached. I believe our private investigator has succeeded in getting a declaration
       from FIG's counsel that (a) makes clear that Bijan/FIG intended to make a FARA filing, (b)
       establishes that counsel gave legal advice that FIG did not need to file under FARA, (c)
       shows that it was the lawyer who spontaneously came up with the idea of not filing under
       FARA, and (d) confesses that it was the lawyer's idea to put the [inaccurate] information
       on the LDA filing, with no input from anyone else. There are a few points that Bob Kelley
       throws in that I would not have scripted (e.g., his assertion that no one told him about the
       NY meeting with Turkish officials), but he does not say or imply that that fact would have
       changed his advice — indeed, he specifies that he didn't ask any further questions when he
       spoke to Bijan. So, the record now establishes that FIG acted on advice of counsel, having
       truthfully answered all of the questions that its counsel saw fit to ask. Further, it's helpful
       to us that the attached declaration was drafted to summarize the facts that Kelley
       recollected in speaking with a private investigator (not Flynn's lawyers, who weren'
       there), and no one even suggested to Kelley that he omit any of the facts he recollected—
       this is a true rendition of his memory, and thus will not be vulnerable on cross-
       exa mination.
       Sent from my iPhone
       Begin forwarded message:
       From: George Kucik
       & gkucik@columbia process. corn & mailto: gkucik@columbia process. corn»
       Date: October 27, 2017 at 6:40:33 PM EDT
       To: "Anthony, Stephen" &santhony@cov.corn & mailto:santhony@cov.corn»
       Subject: RK Signed Declaration




Confidential   —   Subject to Protective Order                                          Rafiekian EDVA 00034932
                      Case 1:17-cr-00232-EGS Document 160-18 Filed 01/29/20 Page 2 of 2
       I just met with Mr. Kelley. He carefully reviewed the declaration and stated: "This is
       great!. I'l sign it." He initialed the first two pages and signed the last page. He then said,
        You did a great job. That's exactly what I said."
       Please see attached.
       George Kucik
       Columbia Process and Investigative Services, LLC
       5406 Connecticut Avenue, NW, Suite 108
       Washington, DC, 20015
       Office (202) 686-5000
       Cell (&tel:%28240%29%20507-3669) 202) 497-1415
       Email Gkucik@columbiaprocess.com&mailto: Gkucik@columbiaprocess.corn)
       This email and any files transmitted with it are confidential and intended solely for the use
       of the individual or entity to whom they are addressed. If you have received this email in
       error please notify us. This message contains confidential information and is intended only
       for the individual named. If you are not the named addressee you should not disseminate,
       distribute or copy this e-mail. Please notify the sender immediately by e-mail if you have
       received this e-mail by mistake and delete this e-mail from your system. If you are not
       the intended recipient you are notified that disclosing, copying, distributing or taking any
       action in reliance on the contents of this information is strictly prohibited.
       &RK Declaration Signed.PDF&




Confidential   —   Subject to Protective Order                                         Rafiekian EDVA 00034933
       Case 1:17-cr-00232-EGS Document 160-19 Filed 01/29/20 Page 1 of 3



                                  DECLARATION           K. KELLEY
                                  DECLARATION OF ROBERT K. KELLEY


1     My name isis Robert Kelley.
                          Kelley. I am I       and competent to testify. The
                                    am over 18 and
      information contained herein is   true and
                                      istrue and correct and is
                                                             is based on my personal
      knowledge.

2.
2      I                      the University of California, Berkeley from
        I attended law school at                                     from 1969-1972.
                                                                           1.969-I972.                    I



       am aa member of the District of Columbia Bar and licensed to practice law in
       am                                                                         in D.C.

3. My background includes the Foreign
                                  Foreign Service in Germany (1966-1969),
                                                              (1-966-1969), Law
   School at the University of California, Berkeley (1969-1972), Wilmer, Cutler, g.
   School                                                                         &
                        (I972-L975), Senate Intelligence Committee (1975-1976),
                   Firm (1972-1975),
   Pickering Law Firm                                                 (I975-1.976),
   Chief of Staff for Senator Charles
                               Charles Mathias (1977), U.S.             lraq (2003-
                                                                     in Iraq
                                                       U,S. Embassy in
   2005), Chief Counsel
                 Counseltoto the National Security Sub-Committee
                                                   Sub-Committee of the U.S.
                                                                           U.S. House
   of Representatives
      Representatives (2006).

4 Currently,
4.                     I                                        Kelley, My practice
                                      The Law Offices of Robert Kelley.
   Currently, I have my own law firm, The
                                              as well as other persons and
   includes representing foreign governments as
        businesses.
        busi nesses,


5. I knew Bijan
5.              Kian when he was at the U.S.
          Bijan Kian
           I                                 Export/lmport Bank. He was one of
                                        U.S. Export/Import
   three guys nominated by the President to run the bank.

6.         Bijan co-founded the Nowruz Commission which was set up to coordinate a
                                                                 Spring. Bijan was the Vice
           Persian Spring festival each year on the first day of Spring.
           Chairman and I was the Secretary
                           I         Secretarv General.
                                               General,


7.
7"         Bijan called me up last year and said that his company had to registerregister with
           FARA, the Foreign Agents Registration Act. At this time, I was not affiliated with
                                                                          I




                            Group. Itlt is
                Flynn Intel Group.
           FlG, Flynn
           FIG,                            importantto
                                        is important       notethat
                                                       to note      I  remember he said: "We
                                                                that lremember
                                                  Justice Department."
                                 FARA at the Justice
           have to register with FARA                      Department." FARA is  is an Act, the
           Foreign Agents Registration Act,
           Foreign                          Act, but it's administered by the   National  Security
           Division of the Department of Justice. You just  just register on
                                                                          on line.
                                                                             line. Bijan
                                                                                   Bijan asked me
           to come out to his house to assist with the registration.

    8.
    B  A few days           on aa Sunday afternoon, I went to Bijan's house. Itlt was in
               days later, on                            I



       September        2016. While there,
       September of 2016.              there, I said to Bijan:
                                                I                  "ls this aa foreign government or
                                                          Bijan: "Is
                             party?" Bijan replied: "No,
       aa foreign political party?"                          it's                       company,"
                                                                   aa foreign private company,"      II



        said:
       said:  "Well, you
                     you   don't  have to register at FARA
                                                        FARA    if it's a foreign   private  company."
                                                                                             company,"
        I asked
          asked Bijan
               I                                         lobbying. Bijan told me that they
                Bijan if they were going to do any lobbying.
        might. lthen
                 then said:
                   I         "You can
                       said:"You    can register             U.S. Congress under
                                                   with the U.S.
                                         registerwith                            underthe
                                                                                        the LDA   which
                                                                                              LDAwhich
        is
       is  the Lobby  Disclosure   Act,"
                                   Act."   I
                                           I also showed
                                                  showed   him    the   Federal   Register  that
                                                                                  Registerthat   says it
           not necessary for aa private company to register with FARA.
        is not
        is                                                                       I   did not ask any
                                                                           FARA. I did
  Case 1:17-cr-00232-EGS Document 160-19 Filed 01/29/20 Page 2 of 3



   additional questions nor
                        nordid   see the contract. lonly
                            did lseethe I           only asked
                                                         asked if it was aa private
                                                          I


   company.

9, Later that same week, I registered the company under the LDA.
9.                                  I




10" On the form
10.         form I had to put down what the company
                        I                                  would lobby about. I had
                                                company would                   had no
                                                                                  I




         so I put the registrant will advise the client on
    idea so I                                              U.S, domestic and foreign
                                                        on U.S.
    policy regarding  S.1635 and the House counterpart, and H.R.
           regardingS.1635                                       H.R. 1735 and the
    Senate counterpart.
            counterpart. I made this decision on
                                I               on my own without guidance from
    anyone else.

11.          also requested the name of who would lobby for the company.
11. The form also                                                   company. I put    I


    my name down. Somebody had to put aa name down so    so I decided
                                                              decided I would put my
                                                                      I   I


    name down. I never actually did any lobbying.
                            I            lobbying. I made this decision on
                                                      I                 on my own
    without guidance from anyone else.
                                   else,


12. In October Bijan asked
12. In                              would like to be general counsel and aa principal
                      asked me if I would
                                        I


    forthe
    for the Flynn
            Flynn Intel Group. This was aa few days after lfiled
                                                            filed for registration under
                                                                  I


    the LDA,   agreed. Bijan took my picture in front of the Flynn
         LDA, lagreed.
                I                                                          attheiroffice
                                                                Flynn logo at their office
                                     VA., and put it on the website.
    at 44 Canal Square, Alexandria, VA.,                     website.

                                    November B'"
13. The next thing was after the November                     Bijan called me and told me
                                                Bth election. Bijan
    to terminate the registration.    The reason he gave me was that he was involved
                        registration, The                                        involved
    with the transition team of President Elect Trump and he was not allowed to be
    aa lobbyist. I terminated the registration.
                    I              registration" This was on-line.
                                                           on-line.

    One day in
14. One
14.           in December, on      Friday, I went to the FIG
                             on aa Friday,  I            FIG office at 44 Canal Square
                         Bijan. While there, we got Ekim Alptekin on the phone. We
    for aa meeting with Bijan.
            him. Ekim said that his company,
    called him.                      company, INOVA, was aa private company and it
    had no government funding and no relation to the Turkish government. Then
    had
    Ekim sent us
    Ekim        us an e-mailto
                   an e-mail to the Flynn
                                     Flynn Intel Group to that effect. That is,
                                                                              is, INOVA
    didn't receive any government funds or have any relationship with any
    government. Itlt was just aa one
    government,                                      Bijan, I saw the e-mail.
                                 one line e-mail to Bijan.    I




15. While at this meeting, we received aa call
15.                                       call from General Flynn.    He asked that we
                                                               Flynn. He
    reach out to another attorney from Jones Day.
    reach                                               did not make the call but
                                                 Day. I did
                                                          I                               I


    understand that Bijan
    understand             did reach out.
                     Bijan did

16. My involvement with FIG
16.                                 limited. II did
                          FIG was limited.      did not know about or have any
    involvement with the op-ed
                          op-ed in the Hill
                                          Hill Newspaper by General Flynn.
                                                                     Flynn. Nor did           II


    know about any meeting in  in New York with Turkish government officials or any
    other matter involving
                 involving the Flynn          Group. To be complete, on one occasion
                                 Flynn Intel Group.                           occasion
          asked me to draft aa letter to aa company in
    Bijan asked
    Bijan                                                       MA. Later, I was told to
                                                      in Boston MA.           I
         Case 1:17-cr-00232-EGS Document 160-19 Filed 01/29/20 Page 3 of 3



                                                              Bijan asked that I coordinate a
         disregard writing the letter. On another occasion, Bijan             I



                  with aa friend of mine to see if they were interested in
         meeting with                                                    in working with FIG.
                                                                                         FlG.
         We met two times but nothing ever formed out of these meetings.

Pursuant to 28 U,S,C, L746, I declare under penalty of perjury that the foregoing
               U.S.C. 1746,  I                                                       is   true
and          Executed on October 27,
and correct. Executed              27,2017.
                                       2017.




Robert   K.
         K.   Kelley
 Case 1:17-cr-00232-EGS Document 160-20 Filed 01/29/20 Page 1 of 16

                                                                      659


 1                     UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
 2                          ALEXANDRIA DIVISION

 3   UNITED STATES OF AMERICA,          )   Case 1:18-cr-00457
                                        )
 4                     Plaintiff,       )
                                        )
 5          v.                          )   Alexandria, Virginia
                                        )   July 18, 2019
 6   BIJAN RAFIEKIAN,                   )   9:00 a.m.
                                        )
 7                     Defendant.       )   Day 4 (AM Session)
                                        )   Pages 659 - 799
 8

 9                          TRANSCRIPT OF TRIAL

10              BEFORE THE HONORABLE ANTHONY J. TRENGA

11                UNITED STATES DISTRICT COURT JUDGE

12                                 AND A JURY

13

14

15

16

17

18

19

20

21

22

23

24

25      COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES


       Rhonda    F.   Montgomery    OCR-USDC/EDVA     (703)   299-4599
Case 1:17-cr-00232-EGS Document 160-20 Filed 01/29/20 Page 2 of 16

                         8Q    HG 6 D HV          5DI HN DQ
5   .HOOH      UHF

4      'LG     RX KDYH D UROH ZLWK WKH 1RZUX] &RPPLVVLRQ"

       , ZDV VHFUHWDU         JHQHUDO      , ZDV       , DWWHQGHG WKH ERDUG

PHHWLQJV      EXW , ZDV QRW RQ WKH ERDUG

4      'LG     RX SURYLGH OHJDO VHUYLFHV DW DOO IRU WKH 1RZUX]

&RPPLVVLRQ"

       1R

4      $QG 0U        5DILHNLDQ   GLG KH KDYH D UROH LQ LW DV ZHOO"

         HV   KH ZDV WKH YLFH FKDLUPDQ

4      $QG GLG WKHUH FRPH D WLPH               DJDLQ      ZH UH WDONLQJ DERXW

WKH VHFRQG KDOI RI                  ZKHQ 0U       5DILHNLDQ FRQWDFWHG       RX

DERXW D OHJDO PDWWHU"

         HV

4      'R     RX UHFDOO DERXW ZKHQ WKDW KDSSHQHG"

       ,W ZDV LQ WKH ILUVW ZHHN RI 6HSWHPEHU

4      $QG GR        RX UHFDOO KRZ KH FRQWDFWHG           RX"    ,Q WHOHSKRQH"

,Q SHUVRQ"

         HV   WHOHSKRQH          H WHOHSKRQHG PH          $QG KH NQHZ P     QXPEHU

IURP        LW ZDV D IULHQG

4      $QG ZKDW GLG       RX XQGHUVWDQG KLP WR EH LQWHUHVWHG LQ OHJDO

DGYLFH DERXW"

         H VDLG WKDW ZH KDYH WR UHJLVWHU DW )$5$                  WKH -XVWLFH

'HSDUWPHQW )RUHLJQ $JHQWV 5HJLVWUDWLRQ $FW                      $QG LI   RX FRXOG

FRPH RXW      KH VDLG     WR DVVLVW PH ZLWK WKH UHJLVWUDWLRQ

4      :KHQ    RX VD      ZH     ZDV KH WDONLQJ DERXW D SDUWLFXODU

EXVLQHVV FRPSDQ "


                                     7RQ D 0      DUU V 2 5 86      9
                          67 51      675    7 2     9 5    1
Case 1:17-cr-00232-EGS Document 160-20 Filed 01/29/20 Page 3 of 16

                          8Q    HG 6 D HV         5DI HN DQ
5    .HOOH      UHF

        , GRQ W NQRZ        , GRQ W NQRZ

4       2ND

        ,W ZDV )O QQ ,QWHOOLJHQFH           URXS    , WKLQN

4       2ND      $QG ZKDW GLG       RX NQRZ DERXW WKH )O QQ ,QWHO              URXS

DW WKH WLPH ZKHQ 0U            5DILHNLDQ

        , GRQ W NQRZ DQ WKLQJ DERXW KLP

4         RX MXVW NQHZ

        $W WKH WLPH

4       2ND      $QG ZKDW GLG       RX OHDUQ LQ       RXU LQLWLDO GLVFXVVLRQ

ZLWK 0U       5DILHNLDQ DERXW WKH )O QQ ,QWHO              URXS DQG ZKDW KH ZDV

LQWHUHVWHG LQ"

        :HOO    ,       , DVVXPHG WKDW , ZDV QRW D SDUW RI WKH )O QQ

,QWHOOLJHQFH          URXS DQG , VKRXOG VWHHU DZD          IURP          , GLGQ W

GLG QRW ZDQW WR SU         DERXW KRZ PXFK WKH PRQH             WKH   UH PDNLQJ

RU       LW ZDV D FOLHQW

4       $QG ZKHQ 0U       5DILHNLDQ FRQWDFWHG         RX    KRZ VSHFLILF ZDV KH

LQ GHVFULELQJ WKH LVVXH"

          H VDLG WKDW , KDYH WR            WKH ILUP KDV WR UHJLVWHU DW WKH

)RUHLJQ $JHQWV 5HJLVWUDWLRQ $FW

4       $QG IROORZLQJ WKLV LQLWLDO FRQWDFW                GLG WKHUH FRPH D WLPH

ZKHQ D PHHWLQJ WRRN SODFH"

        6XQGD    DIWHUQRRQ         RU LQ HDUO      6HSWHPEHU

4       'R    RX UHFDOO ZKHUH WKDW ZDV"

        ,Q KLV KRXVH

4       :DV DQ RQH HOVH SUHVHQW"


                                     7RQ D 0      DUU V 2 5 86       9
                           67 51     675    7 2     9 5    1
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                            8Q     HG 6 D HV         5DI HN DQ
5    .HOOH         UHF

           1R

4          $QG GLG       RX JDWKHU IXUWKHU LQIRUPDWLRQ DW WKDW PHHWLQJ DW

0U     5DILHNLDQ V KRPH"

           1R   , VDLG WKDW , ZDV             LV LW D IRUHLJQ JRYHUQPHQW RU D

IRUHLJQ SROLWLFDO SDUW               DQG KH VDLG         QR    LW V D SULYDWH

FRPSDQ

                   $QG , VDLG       RX GRQ W KDYH WR UHJLVWHU DW )$5$                RX

FDQ UHJLVWHU DW /'                /REE LQJ 'LVFORVXUH $FW LQ WKH &RQJUHVV

4          $ERXW KRZ PDQ         WLPHV LQ   RXU FDUHHU KDG          RX KDG D FOLHQW

LQ VRPH IDVKLRQ LQTXLUH RU OHG                 RX WR GLVFXVV ZLWK WKHP WKH

)RUHLJQ $JHQWV 5HJLVWUDWLRQ $FW YHUVXV WKH /'$"

           $ERXW         WLPHV

4          7KLUW    WLPHV

           , UHSUHVHQWHG           DW WKH /DZ 2IILFH RI -RKQ 6HDUV          ,

UHSUHVHQWHG 6RXWK $IULFD DQG                HOL]H $PELTXH DQG -DSDQ $LUOLQHV

DQG -DSDQ DXWRPRELOH PDQXIDFWXUHUV                    $QG , ILOHG IRU ERWK RI

WKHP       DOO RI WKHP       IRXU RI WKHP      HYHU       VL[ PRQWKV IRU WHQ

    HDUV

4           RX PHQWLRQHG D PLQXWH DJR           LV WKHUH D FRPPRQ DOWHUQDWLYH

WR WKH )RUHLJQ $JHQWV 5HJLVWUDWLRQ $FW                     )$5$"

           7KHUH V WKH /REE LQJ 'LVFORVXUH $FW                  7KH )RUHLJQ $JHQWV

5HJLVWUDWLRQ $FW ZDV SDVVHG LQ                       E    &RQJUHVV DQG VLJQHG

LQWR ODZ E          ) ' 5        $QG LW ZDV D GLVFORVXUHV VWDWXWH DQG           RX

FDQ GR DQ WKLQJ            RX ZDQW    EXW     RX KDYH WR GLVFORVH LW WR WKH

JRYHUQPHQW DQG WR WKH $PHULFDQ SHRSOH                      7KH SXEOLF UHFRUGV DUH


                                        7RQ D 0      DUU V 2 5 86      9
                             67 51      675    7 2       9 5   1
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                           8Q    HG 6 D HV          5DI HN DQ
5   .HOOH        UHF

RQ ILOH

                 $QG LQ          WKH      WKH &RQJUHVV SDVVHG WKH /REE LQJ

'LVFORVXUH $FW          ZKLFK UHPRYHG D FODVV RI OREE LVWV IRU WKH

JRYHUQPHQWV DQG IRUHLJQ JRYHUQPHQWV DQG IRUHLJQ SROLWLFDO

SDUWLHV

4      8QGHU ZKDW FLUFXPVWDQFHV LQ               RXU SUDFWLFH GLG        RX

W SLFDOO       DGYLVH D FOLHQW WR ILOH XQGHU WKH /'$ YHUVXV )$5$"

       , GLGQ W         , PDGH WKH GHFLVLRQ LQ                  WR UHJLVWHU DW

)$5$        RK    /'$     /REE LQJ 'LVFORVXUH $FW           IRU WKH -DSDQHVH

DXWRPRELOH PDQXIDFWXUHUV EHFDXVH , ZDV OREE LQJ DQG , IHOO

XQGHU WKH VWDWXWH

4      /HW V JR EDFN WR WKH GD               RX PHW ZLWK 0U        5DILHNLDQ DW

KLV KRPH

                 :KDW      GLG    RX OHDUQ DQ WKLQJ WKDW OHG             RX WR UHDFK

D FRQFOXVLRQ DERXW ZKHWKHU )$5$ RU WKH /'$ ZDV WKH SURSHU

SODFH WR UHJLVWHU"

         HDK      , VDLG WKDW WKH            LW ZDV D        , DVNHG WKH

TXHVWLRQ         ,V LW D IRUHLJQ JRYHUQPHQW RU IRUHLJQ SROLWLFDO

SDUW "

                 $QG WKH    VDLG QR       DQG KH VDLG        QR    LW ZDV D

SULYDWH FRPSDQ

                 $QG , VDLG       RX GRQ W KDYH WR UHJLVWHU DW )RUHLJQ

$JHQWV 5HJLVWUDWLRQ $FW                RX FDQ UHJLVWHU LQ WKH 8 6

&RQJUHVV

                 $QG , DVNHG KLP       :LOO OREE LQJ EH LQYROYHG"


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                       8Q    HG 6 D HV           5DI HN DQ
5    .HOOH      UHF

                $QG , VDLG      KH VDLG       ,W PLJKW

                $QG , VDLG      RX FDQ UHJLVWHU DW /REE LQJ 'LVFORVXUH

$FW

4       :K     LV WKH IDFW WKDW WKH FRQWUDFW ZDV ZLWK D SULYDWH

FRPSDQ       DQ LPSRUWDQW FRQVLGHUDWLRQ IRU           RX"

        :HOO    WKH      DFW UHPRYHG D FODVV RI OREE LVWV ZKR DUH

UHSUHVHQWLQJ D IRUHLJQ FRPSDQ             DQG      RU WKH SULYDWH FRPSDQ

DOWRJHWKHU       $PHULFDQ FRPSDQLHV       DQG WKH        GLGQ W KDYH WR

UHJLVWHU DW )$5$

4       $QG     RX WHVWLILHG D IHZ PLQXWHV DJR WKDW 0U            5DILHNLDQ LQ

KLV LQLWLDO FRQWDFW ZLWK          RX VDLG       , QHHG WR UHJLVWHU ZLWK

)$5$

                ,V WKDW D IDLU VXPPDU "

          HV

4       $QG ZKDW ZDV LW WKDW PDGH          RX VWHHU

        ,W ZDV D SULYDWH FRPSDQ        DQG LW GLGQ W KDYH WR UHJLVWHU

DW       KH GLGQ W KDYH WR UHJLVWHU DW )$5$

4       :DV WKDW WKH DGYLFH       RX JDYH 0U       5DILHNLDQ"

          HV

4       $ERXW KRZ VRRQ DIWHU WKLV PHHWLQJ ZLWK 0U               5DILHNLDQ GR

    RX UHFDOO    RX ILOHG WKH /REE LQJ 'LVFORVXUH $FW UHJLVWUDWLRQ"

        , WKLQN LW ZDV LQ 6HSWHPEHU RU D FRXSOH ZHHNV DIWHUZDUGV

4       :KHUH GLG     RX ILQG      KRZ GLG       RX JDWKHU WKH LQIRUPDWLRQ

WKDW     RX XVHG WR ILOO RXW WKH IRUP"

        , NQHZ KRZ WR ILOO RXW WKH IRUP


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                             8Q    HG 6 D HV            5DI HN DQ
5   .HOOH        UHF

4        :KHUH GLG       RX JDWKHU WKH IDFWXDO LQIRUPDWLRQ WKDW               RX

HQWHUHG"

         2K    , FDOOHG           , DVNHG    LMDQ ZKDW ZDV WKH DGGUHVV RI WKH

SULYDWH FRPSDQ              DQG KH VDLG LW ZDV WKH 1HWKHUODQGV DQG KH

JDYH PH KLV DGGUHVV DQG , ZURWH LW GRZQ                         $QG VR WKH FOLHQW

ZDV D 'XWFK FRPSDQ

4        'R    RX UHFDOO WKH QDPH RI WKH FRPSDQ "

         ,QRYR

                 05    0$&'28 $//           RXU   RQRU      WR DYRLG KDYLQJ

FRPSHWLQJ H[KLELWV               , ZRXOG OLNH WR XVH WKH JRYHUQPHQW V

H[KLELWV ZLWK WKLV ZLWQHVV

                 7 ( &2857         7KDW V ILQH

                 05     ,    6     1R REMHFWLRQ         -XGJH

    05      0$&'28 $//

4        0U    .HOOH        , ZRXOG OLNH      RX WR SOHDVH KDYH D ORRN DW

ZKDW V EHHQ SUHYLRXVO              PDUNHG DV       RYHUQPHQW ([KLELW           $QG

WKDW V MXVW IRU LGHQWLILFDWLRQ ULJKW QRZ

                 7KDQN      RX    0U   XUQV



4         HV   VLU

         , YH JRW LW         , WKLQN     ,W V WKH OREE LQJ UHJLVWUDWLRQ

/REE LQJ 5HJLVWUDWLRQ $FW                RYHUQPHQW ([KLELW

4        2ND      &RXOG       RX WHOO WKH MXU           RU WHOO WKH &RXUW LI    RX

UHFRJQL]H WKLV GRFXPHQW"

          HV


                                        7RQ D 0         DUU V 2 5 86   9
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                         8Q   HG 6 D HV           5DI HN DQ
5   .HOOH      UHF

4      $QG LI        RX G MXVW UHSHDW     SOHDVH       ZKDW LW LV

       7KH OREE LQJ UHJLVWUDWLRQ            ,W V /'$           /'    GLVFORVXUH

IRUP        ,W VD V LW DW WKH WRS

4      'LG     RX SUHSDUH WKLV      RXUVHOI"

         HV

4      'R     RX UHFDOO DERXW ZKDW GDWH"

       6RPHWKLQJ         , UHPHPEHU LQ ODWH 6HSWHPEHU

4      'LG DQ RQH KHOS        RX GR WKLV RU GLG           RX GR WKLV       RXUVHOI"

       , XVHG DQ LQWHUQ       6DP 6REHULH         SK      ZKR LV WKH          LV

VLWWLQJ DW WKH IURQW GHVN          DQG ODWHU KH ZDV D SDUDOHJDO RU

VRPHWKLQJ

4      ,V LW DW       RXU ODZ ILUP"

         HDK

4      2ND       6R LW ZDV D SDUDOHJDO RU LQWHUQ DW                 RXU ODZ ILUP"

         HDK

4      2ND       $QG ZKHUH GLG      RX ILOH WKLV IRUP RQFH               RX

FRPSOHWHG LW IRU )O QQ ,QWHO            URXS"

       7KH FOHUN RI WKH 6HQDWH RU WKH                  WKH 6HQDWH          6HFUHWDU

RI WKH 6HQDWH DQG WKH FOHUN RI WKH                RXVH     ,W ZDV ILOHG

RQOLQH        ,W ZDV GLIIHUHQW WKDQ HDUOLHU ZKHQ , ZHQW WR WKH

-DSDQHVH $XWRPRELOH 0DQXIDFWXUHUV $VVRFLDWLRQ DQG ,                           WKH

GLGQ W KDYH LW RQOLQH DQG LW ZDV D FOHUN RI WKH                     RXVH      DQG LW

ZDV SDSHUV HYHU ZKHUH

4      6R     RX ILOHG WKLV RQOLQH DQG , WDNH LW               RX DIIL[HG       RXU

VLJQDWXUH HOHFWURQLFDOO           DV ZHOO     LV WKDW ULJKW"


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                          67 51     675     7 2     9 5    1
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                              8Q   HG 6 D HV               5DI HN DQ
5    .HOOH       UHF

           HV

                 05     0$&'28 $//             RXU      RQRU    WKH GHIHQVH ZRXOG PRYH

WKH DGPLVVLRQ RI              RYHUQPHQW ([KLELW

                 7 ( &2857         , EHOLHYH LW V DOUHDG                 LQ

                 05      ,    6      HDK        $QG WKHUH ZLOO EH QR REMHFWLRQ

    XW , WKLQN LW LV          DQG MXVW WR FRQILUP WKDW                   EXW LI LW V QRW

LQ     ZH KDYH QR REMHFWLRQ

                 7 ( &2857         $OO ULJKW            ([KLELW           LV LQ

                 7 ( :,71(66           7KHUH VKRXOG EH D VHFRQG SDJH WR WKLV

7KHUH V RQO            RQH SDJH      0     GLJLWDO VLJQDWXUH LV RQ WKH RWKHU

VLGH RI          RK     KHUH

     05      0$&'28 $//

4         'R    RX KDYH WKH HQWLUH GRFXPHQW                    0U    .HOOH "

           HV    , WRRN LW RXW RI WKH SODVWLF

4         7KDW V SHUIHFWO          ILQH

           HDK

4         $UH    RX DEOH WR VHH

          ,W VD V 6HSWHPEHU              WK                      GLJLWDOO      VLJQHG E

5REHUW .HOOH

4         -XVW D IHZ TXHVWLRQV DERXW WKLV GRFXPHQW

                 05     0$&'28 $//            ,I , FRXOG DVN LW WR EH SXEOLVKHG

WR WKH MXU              RXU   RQRU

                 7 ( &2857           HV

     05      0$&'28 $//

4         :KR LV UHJLVWUDQW XQGHU WKLV /REE LQJ 'LVFORVXUH $FW IRUP


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                               67 51          675    7 2       9 5   1
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                         8Q     HG 6 D HV         5DI HN DQ
 5   .HOOH      UHF

 WKDW    RX FRPSOHWHG DIWHU PHHWLQJ ZLWK 5DILHNLDQ

        )O QQ ,QWHOOLJHQFH        URXS LV WKH OLQH RI WKH UHJLVWUDQW

 4      :KDW V WKH DGGUHVV IRU )O QQ ,QWHO                URXS"

             &DQDO &HQWHU 3OD]D        , FDOO LW          &DQDO 6TXDUH

 $OH[DQGULD      9LUJLQLD

 4      0U     .HOOH

        ,W ZDV RQ WKH 3RWRPDF 5LYHU

 4      0U     .HOOH    ZKR LV OLVWHG DV WKH LQGLYLGXDO FRQWDFW RQ

 WKH IRUP"

        0H

 4      :K     GLG    RX OLVW

        6LQFH WKH        , ZDV ILOOLQJ RXW WKH IRUP DQG , ZDV                 LW

 PDGH VHQVH WR SXW P VHOI GRZQ DV WKH FRQWDFW SHUVRQ

 4      $QG GLG       RX EHOLHYH WKDW      RX ZRXOG EH GRLQJ DQ        OREE LQJ

 IRU )O QQ ,QWHO        URXS DQG 0U     $OSWHNLQ

        , WKLQN VR       HDK

 4      ,V WKDW ULJKW"

          HV    HV

 4      $QG LV WKDW WKH UHDVRQ WKDW            RX SXW      RXUVHOI GRZQ DV WKH

 FRQWDFW"

          HV

 4        RLQJ IRUZDUG     DIWHU    RX ILOHG WKH /REE LQJ 'LVFORVXUH

 $FW IRUP DIWHU )O QQ ,QWHO          URXS      ZKDW GLVFXVVLRQV       LI DQ

 GLG    RX KDYH UHJDUGLQJ D UHJXODU ZRUNLQJ UHODWLRQVKLS ZLWK

 WKDW ILUP"


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                           8Q     HG 6 D HV            5DI HN DQ
 5   .HOOH      UHF

        :HOO        LMDQ DVNHG PH WR EH WKH JHQHUDO FRXQVHO RI WKH

 )O QQ ,QWHOOLJHQFH          URXS    DQG , GLGQ W PRYH IURP                 , GLGQ W

 KDYH DQ RIILFH LQ WKH )O QQ ,QWHOOLJHQFH                      URXS     , VWD HG DW

     WK DQG .      -HIIHUVRQ :DWHUPDQ ODZ ILUP

 4      7KDW ZDV         RXU ODZ ILUP"

          HV       $QG , WKRXJKW RI KLP DV D FOLHQW

 4      ,Q     RXU H[SHULHQFH       LV WKDW FRPSOHWHO              XVXDO WKDW D

 ODZ HU PD      UHPDLQ SK VLFDOO           SUHVHQW LQ D ODZ ILUP ZKLOH

 SURYLGLQJ JHQHUDO FRXQVHO"

          HV

 4      $ORQJ WKRVH VDPH OLQHV             GLG    RX KDYH DQ RIILFH DW WKH

 )O QQ ,QWHO          URXS HYHU"

        1R

 4        RZ DERXW DQ H PDLO DGGUHVV"

        , WKLQN , KDG DQ H PDLO             EXW , QHYHU FKHFNHG LW               ,     P

 ZLIH KDYH WR DVN DERXW 7ZLWWHU

 4      , XQGHUVWDQG         , GR WRR

                7HOO PH WKH UHDVRQ ZK             RX QHYHU FKHFNHG           RXU H PDLO

 ER[ EH RQG MXVW D ODFN RI

        :HOO       , ZDV         RX NQRZ    LI    RX KDYH          WKLQJV WR FKHFN

 LW V QRW VHQVLEOH           ,      LI D SHUVRQ ZDQWHG WR VHQG PH DQ

 H PDLO      WKH      NQHZ WKLV H PDLO DGGUHVV

 4      ,W ZDV UHDOO        LPSRUWDQW WR FDOO            RX    ULJKW"

          HV       $QG    LMDQ WUDGLWLRQDOO        FDOOHG PH

 4      2QH PRUH TXHVWLRQ RQ          RYHUQPHQW ([KLELW                     0U   .HOOH


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                            67 51      675       7 2     9 5   1
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                         8Q     HG 6 D HV             5DI HN DQ
 5   .HOOH      UHF

 FRXOG       RX KDYH D ORRN     SOHDVH         DW OLQH LWHP            ZKLFK    RX ZLOO

 ILQG DW WKH YHU        ERWWRP RI WKH ILUVW SDJH"

          HV

 4       7KDW DVNHG D TXHVWLRQ             6SHFLILF OREE LQJ LVVXHV             FXUUHQW

 DQG DQWLFLSDWHG

                :KDW GLG      RX UHVSRQG WKHUH"

         , UHVSRQGHG WKH UHJLVWUDQW ZLOO DGYLVH RQ 8 6                        GRPHVWLF

 DQG IRUHLJQ SROLF         SHULRG        DQG 6            DQG WKH      RXVH

 FRXQWHUSDUW               DQG WKH 6HQDWH FRXQWHUSDUW

 4       /HW V WDNH WKRVH RQH DW D WLPH                 6            ZKDW ZDV WKDW

 DERXW"

         , WKLQN LW ZDV WKH 1DWLRQDO 'HIHQVH $XWKRUL]DWLRQ $FW

 4       $QG 6 VWDQGV IRU 6HQDWH            LV WKDW ULJKW"

          XK"

 4       6 LQ WKH 6           VLF   VWDQGV IRU 6HQDWH"

          HV     HV   WKH 8 6    6HQDWH

 4       $QG WKH RWKHU HQWU         LV      5             $QG       5 VWDQGV IRU   RXVH

 RI 5HSUHVHQWDWLYHV        ULJKW"

          HV

 4       2ND      :KDW ZDV WKDW DERXW"             :KDW

         , WKLQN LW ZDV WKH 6WDWH 'HSDUWPHQW DXWKRUL]DWLRQ ELOO

 4       :K    GLG    RX HQWHU WKRVH VWDWXWHV KHUH ZKHUH WKH IRUP

 DVNHG IRU VSHFLILF OREE LQJ LVVXHV FXUUHQW DQG DQWLFLSDWHG"

         :HOO    LW ZDV QRW         LW ZDV WKH FRPPLWWHH DFWLRQ                 $QG WKH

 6HQDWH )RUHLJQ 5HODWLRQV &RPPLWWHH DQG WKH 6HQDWH $UPHG


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                              8Q   HG 6 D HV         5DI HN DQ
 5    .HOOH      UHF

 6HUYLFHV &RPPLWWHH            WKH    KDG KHDULQJV         $QG WKH        RQH 3RPSHR

 JRHV WR WKH KHDULQJ RQ WKH EXGJHW RI WKH 6WDWH 'HSDUWPHQW                       ,

 NQRZ WKH JX           WKDW SUHSDUHG WKH ELQGHU            $QG KH GRHVQ W DVN

 WKH FRQJUHVVPHQ GR QRW DVN TXHVWLRQV RI 3RPSHR                      EXW ZK   DUH ZH

 LQ     HPHQ RU ZK       LV 1$72 GHPDQGLQJ WR LQFUHDVH WKH

 FRQWULEXWLRQ           7KH    GRQ W DVN DERXW WKH EXGJHW

                 $QG , NQHZ WKDW WKH              IURP P     H[SHULHQFH ZLWK WKH

 -DSDQ DXWRPRELOH              DXWRPRELOH PDQXIDFWXUHV DQG WKH -DSDQ

 DLUOLQHV       WKDW SULYDWH FRPSDQ           LV LQWHUHVWHG LQ 8 6        IRUHLJQ

 SROLF        DQG GHIHQVH SROLF       DQG WKH 6WDWH 'HSDUWPHQW

 4       6R WKDW ZDV          RXU EHVW HVWLPDWH DW WKH WLPH"

           HV

 4       $QG GLG 0U        5DILHNLDQ DVN       RX WR SXW WKDW LQ"

         1R      , MXVW SXW LW LQ P VHOI

 4       &RXOG     RX SOHDVH KDYH D ORRN              LQ WKH VDPH ELQGHU

 0U     .HOOH     DW      RYHUQPHQW ([KLELW            IRU LGHQWLILFDWLRQ"

         ,W LV WKH

 4       $QG     RX UH ZHOFRPH WR WDNH LW RXW RI WKH VOHHYH LI                 RX G

 OLNH

         2ND

 4       'R     RX UHFRJQL]H WKDW GRFXPHQW"

         ,W V WKH 'HSDUWPHQW RI 6WDWH $XWKRULWLHV $FW ILVFDO                    HDU



 4       $QG RQ WKH XSSHU ULJKW KDQG FRUQHU RI WKH ILUVW SDJH

 WKHUH V D QXPHULFDO GHVLJQDWLRQ WKDW IROORZV


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                             8Q    HG 6 D HV            5DI HN DQ
 5   .HOOH      UHF

        6

 4      $QG KRZ GRHV WKDW UHODWH WR WKH HQWU                           RX KDG PDGH RQ

 WKH

        , PDGH WKH HQWU           IROORZLQJ WKH              , ZDV JRLQJ WR PRQLWRU

 WKH 6WDWH 'HSDUWPHQW DXWKRUL]DWLRQ ELOO                          7KH    FDOO LW WKH

 DXWKRUL]DWLRQ ELOO DQG IRU WKH QH[W                       HDU ILVFDO         HDU

 $QG WKH       KDG      W SLFDOO         WKH     ZRXOG KDYH D ORW RI KHDULQJV

 $QG 3RPSHR ZRXOG FRPH XS DQG 6HFUHWDU                       RI        6HFUHWDU      RI

 6WDWH 7LOOHUVRQ            ZDV LW    DQG KH WHVWLILHG EXW QRW RQ WKH

 EXGJHW      WKH       EXW WKH SURFHVV

 4      6R LQ RWKHU ZRUGV            ([KLELW            ZDV RQH RI WKH SLHFHV RI

 OHJLVODWLRQ          RX FLWHG LQ WKH

          HV

 4           DSSOLFDWLRQ          LV WKDW ULJKW"

        , ZDV JRLQJ WR PRQLWRU WKH FRPPLWWHH KHDULQJV

                05     0$&'28 $//           RXU      RQRU    PD    , DVN WKH &RXUW WR

 WDNH        , P VRUU             RYHUQPHQW ([KLELW                    PD     , DVN WKH

 &RXUW WR WDNH MXGLFLDO QRWLFH RI

                7 ( &2857                RU       "

                05     0$&'28 $//         :HOO       LW V         LQLWLDOO          WKHQ



                7 ( &2857          5LJKW       , EHOLHYH WKH            UH ERWK LQ

 HYLGHQFH       7KH     UH DOUHDG        LQ HYLGHQFH

                05      ,    6     7KH    DUH

                05     0$&'28 $//         7KDQN       RX     RXU       RQRU


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                                 8Q   HG 6 D HV           5DI HN DQ
 5    .HOOH       UHF

      05      0$&'28 $//

 4         6R , P VRUU            , PLVVSRNH       0U     .HOOH       LI   RX FRXOG KDYH

 D ORRN TXLFNO              DW    RYHUQPHQW ([KLELW               ZKLFK VKRXOG EH

 ULJKW DIWHU WKDW LQ WKH ELQGHU"

            HV        2ND        'HIHQVH $XWKRUL]DWLRQ $FW IRU ILVFDO                 HDU



 4         $QG KRZ GRHV WKDW GRFXPHQW UHODWH WR WKH HQWU                         RX PDGH

 LQ        RQ VSDFH              RI WKH

           :HOO       , NQRZ LW ZDV          DIWHU WKH IDFW           , NQHZ LW ZDV

 YHWRHG         EXW         E    3UHVLGHQW 2EDPD         EXW LW ZDV        LW ZDV WKH

 SURFHVV WKDW , ZDV LQWHUHVWHG LQ                     QRW WKH ELOO QXPEHU          $QG

 WKH     KDYH           5LFKDUG 7KRUQEHUU                0DF      :LOOLDP 0DF

 7KRUQEHUU            , ZHQW WR VHH KLP IRU ZKHQ , UHSUHVHQWHG WKH YLFH

 SUHVLGHQW RI ,UDT DQG WKH                    , ZDV LQ ,UDT IRU WZR             HDUV LQ

         WKURXJK                  $QG , KDG D 7RS 6HFUHW FOHDUDQFH                $QG ,

 ZDV RUJDQL]LQJ D FRPSDQ                  DW WKH         WKH VHQDWRUV DQG

 UHSUHVHQWDWLYHV                DQG WKH   FDPH DERXW HYHU         WKUHH GD V DQG

 IRU WKH SHULRG RI WLPH IRU WZR                    HDUV        $QG LW ZDV        RU

 VRPHWKLQJ            $QG

 4         6R ZHUH       RX SDLG E        WKH )O QQ ,QWHO         URXS IRU WKH OHJDO

 ZRUN      RX GLG"

            HV

 4         'R    RX UHFDOO KRZ PXFK"

           , WKLQN

 4         'R    RX UHPHPEHU ZKR SDLG              RX"


                                            7RQ D 0       DUU V 2 5 86      9
                                  67 51     675     7 2     9 5   1
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Privileged and Confidential                                                 November 1, 2017

Memorandum



To:    Rob Kelner, Steve Anthony, Brian Smith, Mike Chertoff, Josh Debold, and Roger Polack

From: Alexandra Langton

Re:    November 1, 2017 Notes from Covington’s Meeting with the Special
       Counsel’s Office


        On November 1, 2017, Robert Kelner (“Rob”), Stephen Anthony (“Steve”), and Alexandra
Langton met Brandon Van Grack (“BVG”) and Zainab Ahmad (“ZA”) at the Special Counsel’s
Office (“SCO”) at 395 E Street SW, Washington, DC from approximately 1:00p.m. to 1:45p.m.
This memorandum summarizes the discussion at that meeting. Information in brackets is
information that I have added for context or clarification. Information separated by asterisks
indicates non-verbal gestures.

I.     Summary of the Meeting

BVG: We wanted to invite you here because we know if has been a couple of months since we’ve
spoken. You guys have been very cooperative with us and quiet in the media and we really
appreciate that.

We have a number of decisions points that we are going to have to make and we wanted to gage
your interest in talking to us before we have to make those decisions. General Flynn has said on
a number of things regarding having a story to tell and we’d like to explore that.

Rob: General Flynn very much wants to cooperate. We have spent a lot of time talking to him
about what he knows. At the end of the day, there are a few things we don’t quite know what to
make of. There are some issues not related to Russia that he has questions about. You all might
have specific things you could present to him to refresh his recollection. We don’t think that
there is a “smoking gun,” but we are open to making General Flynn available.

BVG: There is information that you or your client might not be aware of. From where we’re
sitting, there might still be value in sitting down with your client. We have a good sense of what
Flynn knows and what Flynn doesn’t know.

Rob: Refreshing recollection is key with General Flynn. He often doesn’t have a sense of what is
important and tends to forget even mundane things.
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BVG: We’re at a point where we can have a conversation with Flynn with prompts. I will say, the
value of whatever information he has will be different now than it will be in two weeks or a
month. We’re interested in talking to him even if he doesn’t think he has a smoking gun.

Steve: What sort of protections are you willing offer so his words aren’t against him?

BVG: A proffer letter.

Rob: Queen for a day?

BVG: *Nods*

Rob: We would need to discuss that. We need to get comfortable with the situation. We would
feel better with something stronger than a proffer letter like statutory immunity.

Steve: I have to ask, where are you guys going with respect to charges against General Flynn?

BVG: (1) FARA (failure to register); (2) FARA false statements; and (3) false statements to
government officials regarding contacts with Russian officials during the transition.

Steve: On the last point, do you mean the White House interview?

BVG: False statements at an FBI interview at the White House.

Rob: Frankly, we are surprised by that. That is not consistent with what we have learned from
press reports and other sources.

Steve: Would you be willing to give us the 302?

BVG: We’re not currently in a posture where we’re providing that information. We’re certainly
willing to hear what you have to say if you think that we’re wrong.

ZA: We’re not saying no; we’ll think about it. You might be entitled to it soon anyway. We feel
like we know all we can know short of talking to him. We’re at a fork in the road and we want to
talk to him (General Flynn) to decide how to move forward.

Rob: He would be willing to tell his story if you are, in good faith, willing to tell us that if he
comes in and you think that he is being truthful, that you may not take action against him.
However, it could be that the interview is just a way for the SCO to get information to help its
case against General Flynn.

ZA: Look, all options are on the table . . . no pros? We are like a typical USA’s office. We want to
get all the facts. It doesn’t have to be that he has a smoking gun. We haven’t thought a lot about
deals. It would all depend on how the interview with Flynn goes.

Steve: I’m just imagining getting ready for trial to begin, thinking to myself, “jeez, why did I let
my client do this interview?” I don’t know if it makes sense to expose ourselves with only a
proffer letter in return.
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BVG: We feel confident that your client has value to provide. This isn’t supposed to be a “gotcha”
interview. This is meant to get input from your client for our broader investigation.

Rob: I can imagine ways in which we come in. Agreeing only to a proffer could put him at risk.
We don’t want our client charged or found guilty of a felony offense. We don’t think he has
committed a felony offense.1 It would be helpful to get more details about where you are going.

ZA: We’ve given you the universe of charges. I don’t know if we can provide any additional
assurances beyond what we’ve already mentioned. If he gives us useful information, we can talk
and negotiate from there. You don’t know everything he knows.

BVG: No decisions have been made with respect to Flynn because we want to talk to him first.
Turkey or FARA wouldn’t necessarily be the focus. Questions about the campaign would not be
the first thing we talk about. There are things that we know that you and your client would not
necessarily have focused on.

Steve: This would definitely be a leap of faith on our part.

ZA: The information is much more valuable for us than it might be in a traditional context. Non-
smoking gun information is valuable to us.

BVG: Yes, our mission here is to answer questions.

Rob: And you believe this is information that he actually has?

BVG/ZA: Yes. *Both nodding emphatically.*

Rob: We have spent a lot of time a lot of time trying to elicit information from him. He doesn’t
have the memory of a lawyer. It would be a very time-consuming process.

Steve: You said that the information would be more valuable today than it would be a month
from now?

BVG: Yes.

ZA: *Nods.*

BVG: There’s one more issue I want to bring up. One of the charges we mentioned was false
statements under FARA. Because Covington prepared the FARA registration, that would make
you (Rob) a fact witness. It isn’t something we are considering.

Rob: If we were to get to that point, we would litigate it very aggressively.

ZA: We’re not saying it’s not waivable. We just want to make sure you talk it through with your
client.



1   Zainab made a note of this point.
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Rob: Well, we say what you guys did with Manafort, and we’ll definitely raise it with our client.

BVG/ZA: *Both visibly uncomfortable.*

Rob: When do you guys want to hear back from us?

BVG: By the end of the week if possible.

Rob: That’s going to be hard for a variety of reasons.

Steve: One of which is I am going to be in Oregon for another matter.

BVG: Let’s plan on talking on Tuesday morning.

Rob: Thank you for the accommodation.

All: Small talk about Portland coffee.
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            Privileged K Confidential                                                                              November 3, 2ox7

            Memorandum


            To:    Rob Kelner, Steve Anthony, Brian Smith, Mike Chertoff, Josh Debold, and Roger Polack

            From: Alexandra Langton

            Re:    November 3, soap Notes from Covington's Call mith Special Counsel's Office

                  On November 3, 2017, Robert Kelner ("Rob'*), Stephen Anthony (" Steve" ), and Alexandra
            Langton had a call with Brandon Van Grack ("BVG") and Zainab Ahmad ("ZA") at the Special
            Counsel's Office ("SCO") from approximately 8:3oa.m. to 9:boa.m. This memorandum
            summarizes the discussion on that call.
            I.     Summary of the Call
            Rob: I know we had said we'd talk on Tuesday, but we wanted to have at least an interim
            conversation today. We have been thinking about the discussion the other day and that has left
            us with a few critical questions as to whether we could get comfortable bringing him in for a
            proffer.

            You suggested that there is something General Flynn knows that would be valuable to your
            investigation, although it wouldn't be as valuable several weeks from now. You also said you'e
            confident that he knows this information and you want to ask him about it. You haven't given us
            a sense about the topic. That leaves us in a situation where we'd be bringing him in completely
            cold as to that issue without us having any chance to test with him his recollection. It would be
            in everyone's interest to not bring him in cold. Is it a meeting'? Something that happened in the
            WH'? Is it classified? Do you have more specific information so we can assess whether he can
            give you what you need and we could bring him in. That's the first of a couple of key issues. I'l
            stop there to let you react.
            BVG:  I'm glad you raised that. One of the important takeaways is understanding that there is
            value we think your client has. The timing point is related to where we are in the broader
            investigation and not necessarily the notion of the specific information. I want to make sure we
            separate the two. The timing issues relates to where we are in the investigation.
            ZA: Another way to say that is this is the best moment for us to talk to General Flynn and hear
            his story based on where we are in our investigation. We don't necessarily agree with your
            characterization of this being best for everyone. This is the right moment given the arch of our
            investigation to hear him out.




Privileged/Attorney Work Product                                                                                     Flynn File Transfer 00184468
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            BVG: Perhaps a slight misunderstanding on or end. There isn't a particular question that we
            think General Flynn is going to answer. There are a number of different points,
            cornmunieations, perceptions, and meetings that are helpful to our investigation. This is not a
            situation where there is one particular question from one day where we know he has the answer.
            It is broader than that. Broadly, the focus of the questions would be:
                  ~   Communications your client had during transition with foreign officials, including
                      Russian officials.

                      Whether anyone provided him directions on those communication.
                  ~   Communications he is aware of that other members of the transition had with foreign
                      officials,

                      Communications he had with foreign officials during his time at the WH.

                      Communications other people had with foreign officials.

            Steve: We had a slightly different takeaway from our meeting. We'e still interested in exploring
            this. I don't think it's in anyone's interest to reach a misinformed conclusion that we have to
            keep him away from you. We'd like to get to yes. We'd like to explore how we could make this
            work. Are the topics you want to ask about inculpatory? Are there questions you view as being
            relevant to exposure to some other person or do you want to ask about things that are the
            subject of the charges against him'?
            BVG: I do take your point. I think we represented what the charges are: FARA and false
            statements. There are a number of them. When we talk about topics that could in incrimination.
            Those wouldn't be our initial focus. The only incriminating thing would be false making a false
            statement. If he's being truthful about what was said, I don't think we would be setting your
            client up for culpability.

            ZA: We'e eventually going to want to talk about everything. That will include topics he has
            criminal exposure on. We aren't interested in Turkey right now. We'e asking him to come in
            because we think he has information that will shed criminality on other actors. It will cover
            everything.

            Steve: Cutting to the chase, are you going to ask him "what is Inovo" or do you intend to leave
            Turkey aside and talk about the types of things Brandon was talking about?
            BVG: When you talk about a general proffer,     at some point, your client will need to have a
            truthful discussion about any topic we'd want to talk about. What I would propose is, right now,
            we want to talk to your client initially for more than one day. Right now, initially, we are fine not
            talking about Turkey or the FARA piece because our investigation is not focused on
            Turkey/PARA. In terms of broader next steps, at some point, we would need to have that
            conversation.




Privileged/Attorney Work Product                                                                                     Flynn File Transfer 00184469
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            Rob: There are a number of issues, Regarding contacts with foreign officials during the
            transition or his time at the WH, without getting into attorney-client conversations, this is a
            topic on which he doesn't necessarily have a granular recollection on every interaction. It is not
            an incredibly attractive topic on which to bring somebody in to pass a test of candor. Franldy, if
            you asked me about meetings I had with clients, I don't know if I could pull it off with any
            precision. To ask someone about meetings and. calls during an incredibly busy period of his life
            as an evaluation of candor is not a particularly attractive option. What I am hearing now is that
            you want a general proffer.
            BVG: I  want to make sure we all have clarity. I will just say a couple of things. It seems like you
            think there is a specific topic we think he can answer. That's true; we have multiple topics. This
            is a multiple question exam and not a single question exam. Just to be clear, we'e interested in
            a broader range of topics than it seems that you walked away with.

            Rob: What we thought was that there was some topic or episode where he had information
            regarding your investigation of some third party. If that were the case, we were contemplating a
            limited proffer on that topic. We now see that we misunderstood and what I'm hearing now is
            more of a conventional, general proffer. You also want the ability to question him on the variety
            of topics on which he has exposure. Is that a fair description?

            BVG: I want to be sincere. The reason why it is important to knowing there is value is that there
            is a broad range of topics and information that General Flynn has. We feel confident having him
            coming in and being truthful will be helpful. I don't think there is exposure for your client. The
            only potential exposure is false statements by your client, That's the exposure of anyone coming
            in for a proffer.
            Steve: You mean false statements during the interview?

            BVG: That's right. I thought you were clear in our meeting about the importance of the use of
            prompts. I can set him up and say, you were in Mar-a-Lago on this date, show him the record,
            and set him up that way. We have prompts that can help jog his memory and a lot of
            information you might not have.
            Rob: I want to reiterate something we said the other day. We'e spent a lot of time with him. It
            can be difficult to reconstruct a recollection. Not because of any intention on his part to conceal,
            there is sometimes a quality of fogginess to consider that requires a lot of work. That's one
            reason why this requires a good bit of thought. I think I clearly understand what you'e asking
            and what is on the table. It is going to be a tough call for us.
            Steve: I think where, possibly, the misunderstanding came from is our discussion of how this is
            different from a typical white collar ease. I think it was in the course of that conversation, you
            guys gave us reasons to persuade us that this would be something we could wisely do. I think
            your premise is there are topics that wouldn't have exposure to him, and topics that are of
            interest in your investigation. I take it that this could have real value to you and General Flynn
            could. do himself good even if he's talking about topics that wouldn't be obvious to us or to him.




Privileged/Attorney Work Product                                                                                    Flynn File Transfer 00184470
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            Rob: We don't think there's a I"ARA violation. We don't think he made false statements. You
            think he did. Inevitably, what that means is he's going to come in and give you answers to
            questions, and you won't agree with his answers to at least some of the questions. I sense there
            will be numerous points of disagreement as to what happened. That's why coming in for a
            general proffer, although we would like to get to yes, is difficult. We feel we have strong defenses
            across these issues and you feel differently. It doesn't tee up a situation where you will nod and
            accept his answers.
            BVG: This is  not a usual situation. If all we were charging someone with a false statement, we
            wouldn't need to have this conversation with your client at all because the only crime is he lied
            and this opportunity wouldn't present itself. We think there is other information he has that
            doesn't involve criminal activity he did. If we were in EDVA, we would not be having this
            conversation because if it is false statements; there's nothing your client could provide. I don'
            think you walked away with the wrong impression. We want to talk about information he has
            that doesn't have to do with his potential criminal activity.
            Second, to the extent your questions involve TurkeyjFARA, I would propose our initial session
            doesn't cover Turkey/PARA. In terms of a long-term proffer, that would have to be on the table.
            In terms of our priorities for our broader investigation, we would be fine having the initial
            sessions be focused on his time as NSA, the transition, etc.
            Rob: I think we understand that clarification. We just want to note a couple factual points. Apart
            from the fact that this is a guy who doesn't have a detailed catalogue of dates, times, and places,
            he also was not in fact a central player in the campaign in the way that he was perceived to be
            publically. He did, certainly, spend a lot of time with the candidate traveling, but I want to make
            sure you guys are aware of that.
            HVG: That"s    not a surprise to us and that doesn't change our prior representation.
            Rob: Qk, good. The information he has is not as encyclopedic as others'ight be. We had also
            asked about seeing the 3oa. You said that you would think about it. We would like to renew that
            request in the context of figuring this out. We have not thought of the I BI interview as being a
            significant point of exposure. If we are wrong about that, it would be clarifying to see why you
            think we'e wrong. That's why the 302 is important. It seemed that you were highlighting the
            FBI inteiview in particular.

            BVG: The answer    right now is not at this time in terms of sharing the 3o2 because it might
            reveal more about our investigation and other investigative priorities. It is about what has been
            widely reported regarding the December 29, 2017 call. We can't now because I have confidence
            that your client will be able to provide helpful information on those communications.
            Rob: There are a few other points, but I want to talk to Steve about it first. We'l caucus on our
            end and we might circle back with a couple other questions.
            BVG: Let me say two things before we leave. I would still like to set a time on Tuesday to talk. I
            would propose 9:ooa.m. on Tuesday. I have not circulated our standard proffer letter. I will send
            it to you guys. If we do move forward, we can talk about the specifics of the proffer letter on
            Tuesday.




Privileged/Attorney Work Product                                                                                     Flynn File Transfer 00184471
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            Steve: We appreciate you working in good faith with us. Thank you.




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     Re: talking points

     From:      "Anthony, Stephen" & "/o=covington 5
                burling/ou=cb/en=recipients/cn =cd.cbpowa0l.anthonysp" &
                "Kelner, Robert" &rkelner@cov.corn&
                Mon, 06 Nov 2017 20:46:59 -0500


     Prepping a witness but will look at 10 pm. Thanks for doing.
     Sent from my iPhone
     On Nov 6, 2017, at 8:11 PM, Kelner, Robert &rkelner@cov.com&mailto:rkelner@cov.corn» wrote:

     My day got away from me, and I am only now turning to batting out draft talking points for our 9am call
     with BVG and ZNA tomorrow. See what you think of the points below:

     Good morning. We have spent a lot of time thinking about our discussions last week and talking the
     issues through with our client.
     We'e considered    carefully your request to interview General Flynn under a proffer agreement.
     To cut to the chase, we are prepared to bring him in to answer your questions. As you proposed, we
     would hold questions on the Inovo contract for a subsequent proffer.
     We will need some time to get him ready to meet with you, and having time to do that adequately is
     important to us. We can talk about timing in a bit.
     We do want to make a few things clear.

     First, as we said when we met with you recently, General Flynn has always wanted to cooperate with the
     Special Counsel's investigation, and as Brandon may recall, even before the Special Counsel was appointed,
     we offered to answer questions about documents we were producing.
     Second, we are very, very coqnizant of the various risks of bringing a client who has been told he's a
     target  in to be interviewed, with the limited immunity provided in a proffer letter (especially, if we may
     editorialize briefly, the rather stingy proffer letters currently in use by the Department of justice....)
     We are nonetheless taking those risks, and General Flynn is taking those risks, in the interest of
     cooperating as fully as we can, but also because we hope and expect that you will emerge from the proffer
     with a clearer view of the facts, which we believe should weigh heavily against any felony charges against
     General Flynn. We want you to have the benefit of the information he can share, as you make the
     judgments that you need to make.
     Finally,just to make sure that you do not misinterpret our decision to let General Flynn participate in the
     proffer, we do want to reiterate that we are firmly of the view that he did not commit any felony offenses.
      There are no circumstances under which he would plea to a felony offense. Regardless, even without any
     commitment by the SCO regarding charging decisions, he is prepared to be interviewed.

     Robert Kelner
     Covington 5 Burling LLP
     One CityCenter, 850 Tenth Street, NW
     Washington, DC 20001-4956
     T +1 202 662 5503 rkelner@cov.com&mailto:rkelner@cov.corn&
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      ou are not  the intended recipient, please immediately advise the sender by reply e-mail that this message
      as been inadvertently transmitted to you and delete this e-mail from your system. Thank you for your
     cooperation.
     Attachments:
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     http: //cbentvault01dc.cov.corn/EnterpriseVaultP/iewMessage.asp?
     VaultId= 18A5452219DOEAE4B83DD2B08CB452572 1110000cbentvaultsite86avesetId=201803070462125
       201711070147010000 Z FOOB205650FOCAEOC9857BB58EOA5141&AttachmentId=limage00l.jpg
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     RE:     status
     From:    "Langton, Alexandra" &alangton@cov.corn&
     To:      "Kelner, Robert" & "/o=covington 5 burling/ou=cb/en=recipients/cn=caLb.cbpowa01.kelnerrk" &,
              "Smith, Brian" & "/o=covington 5 burling/ou=cb/en=recipients/cn=caLb.cbpowa02.smithbd" &,
              "Polack, Roger" &"/o=covington 5 burling/ou=exchange administrative group
              (fydibohf23spdlt)/en=recipients/cn=7d7e836d400a47d799f87lab9352509c-pola" &, "DeBold,
              joshua" & "/o=covington 5 burling/ou=cb/en=recipients/cn=deboldjn" &
     Cc:      "Anthony, Stephen" & "/o=covington 5
              burling/ou=cb/en=recipients/cn =cd.cbpowa0l.anthonysp" &, "Chertoff, Michael"
              & "/o=covington 5 burling/ou=cb/en=recipients/cn=chertoffm" &
     Date:    Wed, 15 Nov 2017 14:42:47 -0500




     From: Kelner, Robert
     Serlt: Wednesday, November 15, 2017 2:41     PM
     To: Smith, Brian &bdsmithecov.corn&; Polack, Roger &RPolackecov.corn&; Langton, Alexandra
     &ALangtonecov.corn&; DeBold, Joshua &jdeboldecov.corn&
     Cc: Anthony, Stephen &santhonyecov.corn&; Chertoff, Michael &mchertoffocov.corn&
     Subject: status
     We finished prepping General Flynn for the proffer tomorrow and Friday.

     Steve and just spoke with Brandon Van Grack. He said that if the proffer tomorrow and Friday
                I


     "goes well," they likely would want Flynn to come back in Monday to proceed to the proffer on
     Turkey/Inovo/FARA. We said that we'e not yet prepared him for that. Brandon said politely that
     because of time pressures they have related to something else in their investigation, he wasn't sure,
     but they might need to tell us to be prepared to do the Turkey proffer Monday. We said we would
     plan accordingly, and would be ready to prep him this weekend for a proffer session Monday.
     General Flynn was going to head to Rl this weekend but we will tell him he needs to stay here. will
                                                                                                       I


     change some weekend travel plans to be ready for this.
     Alex and Roger: Because of this, we need to turn asap to pulling together Turkey/Inovo documents.
     Because that story is complex, think we need an outline of how we will walk him through the
                                      I


     Turkey/Inovo/FARA filing story and associated emails, texts, and documents. Alex, though you will
     be at the proffer tomorrow, you are probably in the best position to craft the outline and to help
     oversee pulling this together, with help from Roger. Can you get started on it today'?
     Brian, are you around this weekend because if this goes forward, I'd like you to help prep him on
     Turkey/FARA?

                         turns on whether tomorrow and Friday "go well," and they may have a very
     To be clear, this all
     different idea of what "well" means than we do.

     Robert Kelner
     Covington 8r Burling LLP
     One CityCenter, 85o Tenth Street, NW
     Washington, DC 20001-4956

     ~.cov.Mm
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                      Case 1:17-cr-00232-EGS Document 160-27 Filed 01/29/20 Page 2 of 2
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                      Case 1:17-cr-00232-EGS Document 160-28 Filed 01/29/20 Page 1 of 2
     RE:      status
     From:                    "Kelner, Robert" &rkelner@cov.corn&
     To:                      "Anthony, Stephen" &santhony@cov.corn&
     Date:                    Wed, 15 Nov 2017 15:39:10 -0500




     Robert Kelner
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     T +1 202 662 5503 rkelnerI cov.corn
                          l

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               From: Anthony, Stephen
              Seht: Wednesday, November     15, 2017 2:44 PM
              To: Kelner, Robert &rkelnerecov.corn&
              Subject:        RE:     status




               From: Kelner, Robert
              Sent: Wednesday, November

              C:                  .
                                          ~bd


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                                                     15, 2017 2:41 PM


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              Subject: status
              We finished prepping General Flynn for the proffer tomorrow and Friday.

              Steve and just spoke with Brandon Van Grack. He said that if the proffer tomorrow and
                              I


              Friday "goes well," they likely would want Flynn to come back in Monday to proceed to the
              proffer on Turkey/Inovo/FARA. We said that we'e not yet prepared him for that. Brandon
              said politely that because of time pressures they have related to something else in their
              investigation, he wasn't sure, but they might need to tell us to be prepared to do the Turkey
              proffer Monday. We said we would plan accordingly, and would be ready to prep him this
              weekend for a proffer session Monday. General Flynn was going to head to Rl this weekend
              but we will tell him he needs to stay here. will change some weekend travel plans to be
                                                                     I


              ready for this.
              Alex and Roger: Because of this, we need to turn asap to pulling together Turkey/Inovo
              documents. Because that story is complex, think we need an outline of how we will walk
                                                                         I


              him through the Turkey/Inovo/FARA filing story and associated emails, texts, and
              documents. Alex, though you will be at the proffer tomorrow, you are probably in the best




Privileged/Attorney Work Product                                                                            Flynn File Transfer 00102747
                   Case 1:17-cr-00232-EGS Document 160-28 Filed 01/29/20 Page 2 of 2
             position to craft the outline and to help oversee pulling this together, with help from Roger.
             Can you get started on it today?

             Brian, are you around this weekend because if this goes forward, I'd like you to help prep
             him on Turkey/FARA?

            To be clear, this all turns on whether tomorrow and Friday "go well," and they may have a
            very different idea of what "well" means than we do.

             Robert Kelner
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            Washington, DC 20001-4956

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Privileged/Attorney Work Product                                                        Flynn File Transfer 00102748
                      Case 1:17-cr-00232-EGS Document 160-29 Filed 01/29/20 Page 1 of 3
     RE:      Brandon/Zainab call
     From:                    "Kelner, Robert" &rkelner@cov.corn&
     To:                      "Anthony, Stephen" &santhony@cov.corn&
     Date:                    Thu, 16 Nov 2017 10:50:04 -0500




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               From: Anthony, Stephen
              Sent: Thursday, November 16, 2017 10:46 AM
              To: Kelner, Robert &rkelnerocov.corn&
              Subject: RE: Brandon/Zainab call



               From: Kelner, Robert
              Sent: Thursday, November 16, 2017 10:45 AM
              Subject:        RE:   Brandon/Zainab call




              Robert Kelner
              Covington lk Burling LLP
              One CityCenter, 85o Tenth Street, NW
              Washington, DC 20001-4956

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                     Case 1:17-cr-00232-EGS Document 160-29 Filed 01/29/20 Page 2 of 3
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            Thank you
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                          From: Anthony, Stephen
                          Sent: Thursday, November 16, 2017 10:37 AM
                                                     kkh
                          Subject:     Re:   Brandon/Zainab call
                          Yes, although don't read it as a threat to move to l3Q us; rather, as a punctilious
                                             I


                          exercise in making sure the SCO isn't later criticized. Like: they are checking that box.

                          Sent from my iPhone
                                                                         b


                                Got it. Likely, as our client would say. If they raise it again with him there, am
                                                                                                               I


                                going to repeat my point that we are prepared to litigate that issue aggressively.

                                Sent from my iPhone

                                                                                     ~h
                                  Nothing to worry about. They wanted to ask what they'
                                       ~
                                                                 ~
                                                                         ~            ~                    ~

                                    reviously asked: have we considered and disclosed to the client
                                                             ~               ~                 ~


                                  ~
                                   a) RKs potentially being a fact witness and (b) Covington's own
                                                 ~                   ~           ~

                                  interest with respect to its prior advice to FIG/MF regarding
                                  FARA — and that the client is OK proceeding with us& Answer:
                                  yes. I repeated what we had said m the face-to-face meeting: we
                                  are aware of those issues, and, while we are going to keep to
                                  ourselves the substance of our discussions with our client and
                                  don't waive any A/C privilege, I can assure them the client has
                                  been made aware of those matters as well, and that he has
                                  knowingly consented to going forward with us as his counsel. I
                                  added, with a little acerbity, that you and I are the firm's General
                                  Counsels and that partners come to us for advice on these
                                  issues. They chuckled appreciatively. I believe what triggered




Privileged/Attorney Work Product                                                                   Flynn File Transfer 00097423
                  Case 1:17-cr-00232-EGS Document 160-29 Filed 01/29/20 Page 3 of 3
                         this is that a higher-up (Mueller, or maybe Dreeben) told them to
                         make sure they had covered this with us.




Privileged/Attorney Work Product                                              Flynn File Transfer 00097424
                   Case 1:17-cr-00232-EGS Document 160-30 Filed 01/29/20 Page 1 of 3
     Re: PRIVILEGED 5. CONFIDENTIAL                              —   Covington
     Engagement
     From:      MTFLYNN &rpatriot@mailsol.net&
     To:        "Anthony, Stephen" &santhony@cov.corn&
     Cc:        "Kelner, Robert" &rkelner@cov.corn&, LORI-IV &flynnlmmm@mailsol.net&
     Dam:       Mon, 20 Nov 2017 12:00:38 -0500



       Steve,
      Thanks for laying this out. It is very clearly stated.
      As   we'e discussed, Lori and I are very confident in you and Rob (and the rest of the
      team) and,  we'e felt from day one, Covington, with both of your leadership and
       guidance, have counseled beyond what we could imagine.
       We'e good going forward with you all and very much trust that you will continue to guide
       us through this difficult time.
      Thank you.
       Mike


       Michael T Flynn
       Lt. Gen. (R), U.S. ARMY


                      at 13:13 Anthony, Stephen
       On Nov 19, 2017,
       «santhony@cov.com&maifto:santhony@cov.corn» wrote:
      PRIVILEGED ai. CONFIDENTIAL
      ATTORNEY-CLIENT COMMUNICATION

       Mike,
      As you know, the Special Counsel's Office (SCO) is challenging the accuracy of the FARA
      filing that Covington prepared and filed on behalf of you and FIG Inc. This brings to a
       head a topic that we raised and discussed with you on August 30 and in subsequent
       discussions with you.
      As we have discussed, under     the D.C. rules of professional conduct, we are required to
      advise a client if a representation involves a conflict of interest between our firm and the
      client, so that the client can decide whether to proceed with the representation. This email
      summarizes in writing our previous explanation of our firm's potential conflict in handling
      this matter. By this email we seek your informed consent to the conflict.
       When someone (here, the SCO) challenges the work product of a law firm, that challenge
       raises the potential of a conflict of interest between the client for whom the work was done
       (you) and the law firm that did the work (us). For example, the client might take the
       position that he gave the lawyers the correct information and that the lawyers made a
       mistake that shouldn't be attributed to the client.
      The SCO's stance toward you also raises the prospect that the SCO may obtain the
      testimony of Rob (and/or other Covington attorneys) as a fact witness regarding what you
      told him and what you didn't tell him. The SCO could seek to penetrate the attorney-




Privileged/Attorney Work Product                                                       Flynn File Transfer 00008283
                  Case 1:17-cr-00232-EGS Document 160-30 Filed 01/29/20 Page 2 of 3
      client privilege and compel Rob to testify about your communications with Covington. The
      SCO could then use that testimony against you — for example, to argue that you lied to
      your lawyers, thereby causing a false FARA filing.
      Additionally, we discussed with you the proposition that, any time a law firm's work
      product is challenged, the lawyers potentially have two interests in mind: (a) the client's
      interest, and (b) the lawyers'wn interest in defending their own prior work. Put another
      way, it raises the prospect that we will be looking over our shoulder at the same time as
      we are defending you going forward. You should know that our awareness that our own
      prior work is being called into question could — even unconsciously — color our advice to
      you regarding whether to be interviewed by the SCO about the FARA filing, and regarding
      what to do going forward.
      Under Rule 1.7 of the D.C. rules of professional conduct, a lawyer shall not represent a
      client if there is a significant risk that the representation will be materially limited by a
      personal interest of the lawyer, unless the client gives informed consent. As described
      above, our continued representation of you creates a potential conflict under Rule 1.7,
      because it involves prior work of our law firm, namely our preparation of the FARA
      filing. Defending a client in a criminal investigation raising issues regarding a law firm's
      prior legal work may generate a conflict of interest when there is a plausible claim that the
      prior work was deficient, especially if there are alternative strategies for handling the
      matter, and one strategy is better for the law firm and a different strategy is better for the
      client. In that instance, the potential exists that the law firm will pursue the criminal
      defense strategy that is better for the firm so as to protect its prior work from blame. In
      this situation, it could be argued that any deficiencies in the FARA filing are (wholly or
      partly) the fault of Covington. Conceivably, the firm could handle the defense of the
      criminal investigation so as to minimize that issue. For example, the firm could
      recommend strategies that avoid criticism of the decisions it made in preparing the FARA
       filing.
      The most likely alternative to your consenting to our continued representation of you in
      SCO investigation is that you will need to identify and engage other lawyers to handle the
      SCO matter. Although Covington's continued defense of you in the SCO investigation
      creates a potential conflict, as described above, we do not believe that our commitment,
      dedication, and ability to effectively represent you will be adversely affected by our own
      interests, and we believe that we will be able to provide you with competent and diligent
       representation.
      Nevertheless, in deciding whether to consent to the conflict, you should consider carefully
      how our prior work for you and our desire to protect our firm's interests may affect you.
      Although there is no requirement that you do so, because this is an important decision,
      you may want to consult independent counsel before deciding whether to consent.
      As we previously told you, we cannot advise you regarding a conflict of interest between
       ou and us. We therefore recommended on August 3D that you obtain advice from a
      rawyer independent of Covington.   In a later conversation with you, we suggested the
      name of Tom Mason of Harris, Wiltshire 5 Grannis LLP (direct dial: (202) 73D-1302), a
      respected lawyer who practices in the area of lawyers'rofessional duties. As we
      mentioned, Tom has told us he has determined his firm has no conflicts, and he is willing
      to be engaged by you for a reduced, fixed fee.
      You have decided not to    seek independent advice from Tom or from another lawyer. We
       respect that that's your decision to make.
       Now that your discussions with the SCO have progressed to the point where you are
      prepared to answer questions about the FARA filing, we wanted to put in writing the
      understandings between us. We ask you to confirm that we have alerted you to the
      existence of an actual or potential conflict of interest between you and us, that we
      suggested you seek advice from an independent lawyer about this, and that you have
      decided to consent to any such conflict and wish to continue moving forward with us as
      your counsel.
       Steve
       Stephen Anthony




Privileged/Attorney Work Product                                                  Flynn File Transfer 00008284
                  Case 1:17-cr-00232-EGS Document 160-30 Filed 01/29/20 Page 3 of 3

      Covington 5 Burling LLP
      One CityCenter, 850 Tenth Street, NW
      Washington, DC 20001-4956
      T +1 202 662 5105 santhony@cov.corn(mailto: santhony@cov.corn)
      www. cov. corn ( http: //www. cov. corn)
                           (




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Privileged/Attorney Work Product                                                 Flynn File Transfer 00008285
                     Case 1:17-cr-00232-EGS Document 160-31 Filed 01/29/20 Page 1 of 2
     RE: FARA           client development
     From:     "Smith, Brian" & "/o=covington 5 burling/ou=cb/en=recipients/cn=chb.cbpowa02.smithbd" &
     To:       "Kelner, Robert" &rkelner@cov.corn&
     Cc:       "Anthony, Stephen" &santhony@cov.corn&
     Da~:      Mon, 27 Nov 2017 17:25:09 -0500


     I agree. I had a conversation last week with Derek, encouraging him and Zack to take advantage of the
     environment while you and I are constrained from doing so. I like the idea of client briefings, coupled
     with an advisory. I m happy to help draft the advisory and update our prior decks, of course.
     Allthat said, I really worry about a press backlash if we launch something right on the heels of a plea. I
     agree that the General won't mind, but we could take a beating in the press if it's too close to the plea.
     With that in mind, we should definitely include Zack and Derek (to make it less of "Flynn's lawyers" ). And
     I think some space from the plea is wise, notwithstanding the challenge that presents with the holidays
     and doing events while attention is high.
     Honestly, I think the attention   will remain   high, and you doing an event on FARA will generate a lot of
     attention itself.

     From: Kelner, Robert
     Sent: Monday, November 27, 2017 3:32 PM
     To: Smith, Brian &bdsmith@cov.corn&
     Cc: Anthony, Stephen &santhony@cov.corn&
     Subject: FARA client development
     I'e been thinking about this.     Assuming we reach a resolution of the Flynn case this week, after that
     resolution is fully public, including the FARA discussion, I would feel free to issue a meatier client advisory
     on FARA. I am trying, as time permits, to work up a draft. After that goes out, I am thinking we could do
     a client briefing in DC, one in NY, and one in LA. We would need to generate a unique slide deck for this,
     based partly on the advisory. We could perhaps divide and conquer, pairing with Zack and Derek, so that
     we could cover more locations quickly. 3ust sending out announcements of the events would be good
     advertising.
     This may be a lot to bite off with the holidays coming up, but we may as well strike when the iron is hot,
     and I think Flynn would be iIine with that, since the chances of our getting paid for his case are looking
     grim.
     Steve, let me know if you see any issues with this.

     Robert Kelner
     Covington 5 Burling LLP
     One CityCenter, 850 Tenth Street, NW
     Washington, DC 20001-4956
     T +1 202 662 5503 rkelner@cov.corn& mailto:rkelner@cov.corn)
                          (

     www.cov.corn& http: //www.cov.corn)

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     http:




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                   Case 1:17-cr-00232-EGS Document 160-31 Filed 01/29/20 Page 2 of 2
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      201711272225110000 Z E110873AF19840241A95B58FBlFBSCCl&AttachmentId= limage002.jpg
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Privileged/Attorney Work Product                                             Flynn File Transfer 00105441
                       Case 1:17-cr-00232-EGS Document 160-32 Filed 01/29/20 Page 1 of 4
     AmLaw Litigators of the Week: Rob Kelner and Steve
     Anthony
     From:    "Hall,   john" &jhall@cov.corn&
     To:     Attorneys All &attorneysall@cov.corn&, Marketing All &marketingall@cov.corn&, Paralegals All
             &paralegalsall@cov.corn&, Staff Attorneys &staffattorneys@cov.corn&, Management Committee
             & managementcommittee2@cov.corn&, LSS &lss@cov.corn&
     Date:   Fri, 08 Dec 2017 10:39:13 -0500



     Colleagues: No doubt most of you saw the photos and video of our colleagues, Rob Kelner and
     Steve Anthony, accompanying their client Lt. Gen. Michael Flynn to his plea hearing in federal court
     in Washington last Friday. Those images appeared on every news outlet around the world. Not
     surprisingly, Rob and Steve were named this morning as the American Lawyer's "Litigators of the
     Week." Pasted below is the terrific story. It is a wonderful tribute to Rob's and Steve's and their
     team's outstanding and careful work on this highest-of-high-profile matters. And it is yet another
     confirmation of Covington's place at the very top of the global legal industry's white collar defense
     and investigations practices. Please join me in congratulating them! John



     Litigators of the Week: Covington Pair Score
     the Plea Deal Read Round the World
      y~hi                   I
                                    b   II7,    0 7

     Robert Kelnner and Stephen Anthony




                                        Robert Kelner and Stephen Anthony




Privileged/Attorney Work Product                                                        Flynn File Transfer 00076319
                   Case 1:17-cr-00232-EGS Document 160-32 Filed 01/29/20 Page 2 of 4
     For the past year, Lt. Gen. Michael Flynn has reportedly faced a laundry list of potential
     criminal charges—everything &om money laundering to violating the Logan Act to conspiracy to
     kidnap a Turkish cleric.

     That's why when news broke last week that Flynn, the former National Security Adviser to
     President Donald Trump, would plead guilty in federal court to a single count of lying to federal
     investigators, it sent shockwaves not only through the media, but also through the Washington,
     D.C. legal community.

     While we may never know what Robert Mueller III, the dogged special counsel, had on Flynn,
     it's hard to imagine a much better outcome for the retired general. That deal is a testament to the
     work of his lawyers, a team at Covington k, Burling led by partners Robert Kelner and Stephen
     Anthony.

     Kelner and Anthony declined comment, but their peers in the white collar bar are clearly
     impressed by the result they achieved.

     "It's the lawyers who need to assess litigation risk and optimal outcome, then advise their
     client," said Jacob Frenkel, chair of the government investigations practice at Dickinson Wright
     and a former federal prosecutor. "'They clearly negotiated effectively and enjoyed the trust and
     confidence of their client, which is essential in such life-altering cases."

     If found guilty of any number of the crimes for which Mueller was reportedly investigating,
     Flynn could have served decades in prison. In fact, the government's           m   nt   II'&   8   n
     61ed in court, even notes that Flynn lied in documents he filed to the Justice Department
     pursuant to the Foreign Agents Registration Act. Yet Flynn was not charged with any FARA
     vlolatlorL

     Former Trump campaign chairman Paul Manafort was not so lucky; he pleaded not guilty to a
     12-count indictment including FARA charges in October and could face at least a decade in
     prison.

     Flynn's single charge carries a maximum prison sentence of Ave years. But the plea deal shows
     the government agreed that the appropriate sentencing range for Flynn would be zero to six
     months—the lowest possible option. While only the judge can decide his sentence, Flynn could
     avoid jail altogether, as could his son, Michael Flynn Jr., who was reportedly under investigation




Privileged/Attorney Work Product                                                        Flynn File Transfer 00076320
                 Case 1:17-cr-00232-EGS Document 160-32 Filed 01/29/20 Page 3 of 4
     by Mueller as well.

     Though the deal makes no mention of Flynn, Jr., who has not been charged with any crimes, it'
     possible investigators are showing leniency toward him, said Rob Walker, of counsel at Wiley
     Rein, also a former federal prosecutor.

     ''My understanding is that [the deal] kept the government away &om Flynn's son as a potential
     target, and also, at least in theory, could result in little or no jail time," Walker said. "Obviously
     under the circumstances I think it is a good result for Flynn and that his lawyers did a strong job
     in achieving that result for him"

     For Kelner and Anthony, that success appears to stem &om their years of experience, a multi-
     disciplinary approach to the case and consistent media strategy.

     Kelner, who is coming up on 20 years with Covington, is one of very few FARA experts in
     Washington„and has handled dozens of criminal cases over the years„many with a political
     aspect. He represented John Lopez, chief of staff to former U.S. Sen. John Ensign. Lopez was
     granted immunity in a Senate Ethics Committee and DOJ investigation into the serLator's efforts
     to cover up an affair. Kelner also represented Rep. Tom Petri, who was cleared of all
     wrongdoing aAer a House Ethics Committee investigation into his advocacy for certain
     companies in which he owned stock.

     Then there's Anthony, approaching 18 years at Covington. No stranger to public corruption and
     white collar cases, Anthony spent Ave years as a federal prosecutor in the U.S. Attorney's
     Once in Washington, D.C. and three at Main Justice. He's repped numerous companies and
     individuals in all kinds of criminal cases, including the Lieutenant Governor of American
     Samoa, whose indictment on &aud charges was dismissed following a complex trial and hung



     Between the two of them, Kelner and Anthony have a mix of expertise and also overlap in key
     areas, which was likely essential in scoring a win in such a complex case. Plus, they have a
     crack team supporting them at Covington, which includes of counsel Brian Smith and associates
     Josh DeBold, Alexandra Langton and Roger Polack.

     Kelner and Anthony have also been noticeably absent &om press reports, issuing only a handful
     of statements here and there. Public relations and crisis management, it seems, was likely part of




Privileged/Attorney Work Product                                                       Flynn File Transfer 00076321
                  Case 1:17-cr-00232-EGS Document 160-32 Filed 01/29/20 Page 4 of 4
     their winning recipe.

     Still, the work is far &om over for the Covington team Multiple congressional committees are
     entrenched in ongoing investigations into Flynn. Just Wednesday, a letter &om a top Democrat
     on the House Oversight and Government Reform Committee revealed whistleblower allegations
     that Flynn texted a former business partner minutes aAer the inauguration to indicate they were
     "good to go" on a deal to build nuclear reactors in the Middle East.

     Notably, the New York Times'tory on the letter stated that "a lawyer for Mr. Flynn declined to
     comment."

     Expect to read more lines like that in stories about Flynn for months to come.




Privileged/Attorney Work Product                                                      Flynn File Transfer 00076322
                       Case 1:17-cr-00232-EGS Document 160-33 Filed 01/29/20 Page 1 of 5
     Re: Brian, Alex, Roger, 3osh: Your well-deserved
     recognition — to be added to your growing clips collection
     From:        "Chertoff, Michael" &mchertoff@cov.corn&
     To:          "Anthony, Stephen" &santhony@cov.corn&, "Smith, Brian" &bdsmith@cov.corn&, "Langton,
                  Alexandra" &alangton@cov.corn&, "Polack, Roger" &rpolack@cov.corn&, "DeBold, joshua"
                  &jdebold@cov.corn&
     Cc:          "Kelner, Robert" &rkelner@cov.corn&
     Date:        Fri, 08 Dec 2017 07:29:07 -0500



     Congratullatlonsl

     From: Anthony, Stephen
     Sent: Friday, December 08, 2017 12:54 AM
     To: Smith, Brian; Langton, Alexandra; Polack, Roger; DeBold, Joshua
     Cc: Kelner, Robert; Chertoff, Michael
     Subject: Brian, Alex, Roger, Josh: Your well-deserved recognition — to be added to your growing clips
     collection



    Litigators of the Week: Covington Pair Score the Plea Deal Read Round the World

    By   Cogan Schneier       (
                                  December 07, 2017




              Robert Kelnner and Stephen Anthony

   For the past year, Lt. Gen. Michael Flynn has reportedly
   faced a laundry list of potential criminal charges—
   everything from money laundering to violating the Logan
   Act to conspiracy to kidnap a Turkish cleric.


   That's why when news broke last week that Flynn, the
   former National Security Adviser to President Donald
   Trump, would plead guilty in federal court to a single
   count of lying to federal investigators, it sent shockwaves




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                   Case 1:17-cr-00232-EGS Document 160-33 Filed 01/29/20 Page 2 of 5
   not only through the media, but also through the
   Washington, D.C. legal community.


   While we may never know what Robert Mueller III, the

   dogged special counsel, had on Flynn, it's hard to imagine
   a much better outcome for the retired general.
   That devil is a testament to the work of his lawyers, a
   team at Covington     fk Burling led by   partners Robert
   Kelner and Stephen Anthony.


   Kelner and Anthony declined comment, but their peers in
   the white collar bar are clearly impressed by the result
   they achieved.

   "It's the lawyers who need to assess litigation risk and
   optimal outcome, then advise their client," said Jacob
   Frenkel, chair of the government investigations practice at
   Dickinson Wright and a former federal prosecutor. "They

   clearly negotiated effectively and enjoyed the trust and
   confidence of their client, which is essential in such life-
   altering cases."

   If found guilty of any number of the crimes for which
   Mueller was reportedly investigating, Flynn could have
   served decades in prison. In fact, the
   government's     m%menlt olf the oPenm, filed         in   court,
   even notes that Flynn lied in documents he filed to the
   justice Department pursuant to the Foreign Agents
   Registration Act. Yet Flynn was not charged with any
   FARA   violation.

   Former Trump campaign chairman Paul Manafort was not
   so lucky; he pleaded not guilty to a 12-count indictment
   including FARA charges in October and could face at least
   a decade in prison.




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                     Case 1:17-cr-00232-EGS Document 160-33 Filed 01/29/20 Page 3 of 5
   Flynn's single charge carries a maximum prison sentence
   of five years. But the plea deal shows the government
   agreed that the appropriate sentencing range for Flynn
   would be zero to six monthsMhe lowest possible option.
   While only the judge can decide his sentence, Flynn could
   avoid jail altogether, as could his son, Michael Flynn Jr.,
   who was reportedly under investigation by Mueller as
   well.


   Though the deal makes no mention of Flynn, Jr., who has
   not been charged with any crimes, it's possible
   investigators are showing leniency toward him, said Rob
   Walker, of counsel at Wiley Rein, also a former federal
   prosecutor.

   "My understanding is     that [the deal] kept the government
   away from Flynn's son as a potential target, and also, at
   least in theory, could result in little or no jail time," Walker
   said. "Obviously under the circumstances I think it is a
   good result for Flynn and that his lawyers did a strong
   job in achieving that result for him."

   For Kelner and Anthony, that success appears to stem
   from their years of experience, a multi-disciplinary
   approach to the case and consistent media strategy.

   Kelner, who is coming up on 2D years with Covington, is
   one of very few   FARA    experts   in   Washington, and has
   handled dozens of criminal cases over the years, many
   with a political aspect. He represented John Lopez, chief
   of staff to former U.S. Sen. John Ensign. Lopez was
   granted immunity    in   a Senate Ethics Committee and DOJ
   investigation into the senator's efforts to cover up an
   affair. Kelner also represented Rep. Tom Petri, who was
   cleared of all wrongdoing after a House Ethics Committee




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   investigation into his advocacy for certain companies in
   which he owned stock.


   Then there's Anthony, approaching 18 years at
   Covington. No stranger to public corruption and white
   collar cases, Anthony spent five years as a federal
   prosecutor     in   the U.S. Attorney's Office   in Washington,

   D.C. and     three at Main justice. He's repped numerous
   companies and individuals in all kinds of criminal cases,
   including the Lieutenant Governor of American Samoa,
   whose indictment on fraud charges was dismissed
   following a complex trial and hung jury.


   Between the two of them, Kelner and Anthony have a mix
   of expertise and also overlap in key areas, which was
   likely essential in scoring a win in such a complex case.

   Plus, they have a crack team supporting them at
   Covington, which includes of counsel Brian Smith and
   associates Josh DeBold, Alexandra Langton and Roger
   Polack.


   Kelner and Anthony have also been noticeably absent
   from press reports, issuing only a handful of statements
   here and there. Public relations and crisis management, it
   seems, was likely part of their winning recipe.

   Still,   the work is far from over for the Covington team.
   Multiple congressional committees are entrenched in

   ongoing investigations into Flynn. Just Wednesday, a
   letter from a top Democrat on the House Oversight and
   Government Reform Committee revealed whistleblower
   allegations that Flynn texted a former business partner
   minutes after the inauguration to indicate they were
   "good to go" on a deal to build nuclear reactors in the
   Middle East.




Privileged/Attorney Work Product                                                 Flynn File Transfer 00061156
                    Case 1:17-cr-00232-EGS Document 160-33 Filed 01/29/20 Page 5 of 5
   Notably, the New York Times'tory on the letter      Mted
   that "a lawyer for   Mr. Flynn declined   to comment."

   Expect to read more lines like that in stories about Flynn
   for months to come.



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Privileged/Attorney Work Product                                           Flynn File Transfer 00061157
                   Case 1:17-cr-00232-EGS Document 160-34 Filed 01/29/20 Page 1 of 1
     Israel representation
     From:    "Kelner, Robert" &rkelner@cov.corn&
     To:      "Zakheim, Roger" &rzakheim@cov.corn&, "Hindin, Doron" &dhindin@cov.corn&, "Hester,
              Timothy" &thester@cov.corn&, "Garland, James" &jgarland@cov.corn&, "Anthony, Stephen"
              &santhony@cov.corn&, "Smith, Brian" &bdsmith@cov.corn&, "Parks, Zachary"
              &zparks@cov.corn&
     Date:    Sat, 30 Dec 20l7 l2:59:58 -0500


     I received a call this week letting me know that the Government of Israel decided not to retain us to
     provide FARA advice. While our work on the Flynn matter seems to have initially drawn them to us, the
     Prime Minister's Office apparently saw things differently and decided that our Flynn representation was a
     minus and not a plus. They were worried about optics. I suspect they may be worried about other things,
     too. So they will not be engaging us. They asked for references to other firms and I gave them a few
     names. just wanted to let you aII know.
     Rob

     Sent from my iPhone




Privileged/Attorney Work Product                                                           Flynn File Transfer 00092103
                      Case 1:17-cr-00232-EGS Document 160-35 Filed 01/29/20 Page 1 of 1
     FW: 30e Pianka

     From:      "Kelner, Robert"    & "/o=covington     at burling/ou=cb/en=recipients/cn=csib.cbpowa01.kelnerrk" &
     To:        BVG & bvg@usdoj.gov&, ZNA &zna@usdoj.gov&
     Cc:        "Anthony, Stephen" &santhony@cov.corn&
     Bcc:       "Langton, Alexandra" &alangton@cov.corn&, "Chertoff, Michael" &mchertoff@cov.corn&, "Smith,
                Brian" &bdsmith@cov.corn&
     Date:      Mon, 29 jan 2018 21:54:35 -0500


     Brandon and Zallnab:




     Rob


     Robert Kelner
     Covington R Burling LLP
     One CityCenter, 85o Tenth Street, NW
     WaslllIlgton, DC 2ooo1-4956
     T +1 2D2 662 55D3 rkelner@cov.corn
                          l

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     From: Mark Mazzetti [mailto:mazzettionytimes.corn]
     Serlt: Monday, January 29, 2018 8:36 PM
     To: Kelner, Robert &rkelnerocov.corn&
     Subject: Joe Pianka

     Can we talk? Tonight or tomorrow AM?
     Our understanding is that Joe Pianka interviewed Flynn and went to IG and said he was
     pressured by McCabe to change 302. It's in IG report and one of the reasons Wray pushed
     McCabe to leave.
     We'e been told that Hill has informed Flynn and legal team


     Sent &om my iPhone




Privileged/Attorney Work Product                                                                            Flynn File Transfer 00016930
                      Case 1:17-cr-00232-EGS Document 160-36 Filed 01/29/20 Page 1 of 2
     Re: Plea Documents

     From:       "Kelner, Robert" & "/o=covington 5 burling/ou=cb/en=recipients/cn=c8Lb.cbpowa01.anthonysp" &
     To:         "Smith, Brian" &bdsmith@cov.corn&
     Cc:         "Langton, Alexandra" &alangton@cov.corn&, "Polack, Roger" &rpolack@cov.corn&, "Chertoff,
                 Michael" &mchertoff@cov.corn&, "Anthony, Stephen" &santhony@cov.corn&, "DeBold, 3oshua"
                 &jdebold@cov.corn&
                 Mon, 27 Nov 2017 20:05:52 -0500


     Your point about the caveats in the FARA filings is one I made as well (not surprisingly).
     Sent from my iPhone
     On Nov 27, 2017, at 7:51 PM, Anthony, Stephen &santhony@cov.com&mailto:santhony@cov.corn»
      wrote:
     All   good points. Paragraph 2 of the Statement will grab a headline, no?

     From: Smith, Brian
     Sent: Monday, November 27, 2017 7:50 PM
     To: Kelner, Robert &rkelner@cov.com&mailto:rkelner@cov.corn»; Langton, Alexandra
     &ALangtonOcov.com&mailto:ALangton@cov.corn»; Polack, Roger
     &RPolackOcov.corn& mailto: RPolack@cov.corn»; Chertoff, Michael
     &mchertoff@cov.corn &mailto:mchertoff@cov.corn»; DeBold, 3oshua
     &jdebold@cov.com&mailto:jdebold@cov.corn»
     Cc: Anthony, Stephen &santhony@cov.com&mailto:santhony@cov.corn»
     Subject: RE: Plea Documents
     My reactions:
     - The double negatives in the Information (and the Statement) are helpful in that they make the false
     statements hard to comprehend.
     - The parts of the Statement that will get the most attention are paragraph 3.c. (conversation with
     "incoming NSC official" ) and paragraph 4.b. ("senior official from the Presidential Transition Team directed
     Flynn...").
     - Paragraph 5 of the Statement (regarding FARA) is hardly brief or passing, as they suggested it would be.
      Several of the "false statements  'recontradicted by the caveats or qualifications in the filing. For
     example, the Statement says "Flynn made" false statements that are, in the filing, attributed to Arent Fox
     and the accounting records.
     - In page 5 of the Plea, he waives the right to be accompanied by counsel at subsequent interviews.


     From: Kelner, Robert
     Sent: Monday, November 27, 2017 6:31 PM
     To: Langton, Alexandra &ALangton@cov.com&mailto:ALangton@cov.corn»; Smith, Brian
     &bdsmith@cov.com&mailto:bdsmith@cov.corn»; Polack, Roger
     &RPolack@cov.corn& mailto: RPolack@cov.corn» ; Chertoff, Michael
     &mchertoff@cov.corn &mailto:mchertoff@cov.corn» ; DeBold, 3oshua
     &jdebold@cov.corn &mailto:jdebold@cov.corn»
     Cc: Anthony, Stephen &santhony@cov.com&mailto:santhony@cov.corn»
     Subject: RN: Plea Documents
     Draft plea papers from the SCO.

     Robert Kelner
     Covington     5 Burling   LLP




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                   Case 1:17-cr-00232-EGS Document 160-36 Filed 01/29/20 Page 2 of 2
     One CityCenter, 850 Tenth Street, NW
     Washington, DC 20001-4956
     T +1 202 662 5503 rkelner@cov.com&mailto:rkelner@cov.corn&
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     cooperation.
     From: BVG [mailto: BVG@usdoj.gov]
     Sent: Monday, November 27, 2017 6:21 PM
     To: Kelner, Robert &rkelner@cov.com&mailto:rkelner@cov.corn»; Anthony, Stephen
     &santhony@cov.corn &mailto:santhony@cov.corn»
     Cc: ZNA &ZNA@usdoj.gov& mailto: ZNA@usdoj.gov»
     Subject: Plea Documents
     Rob and Steve, after our meeting this morning and subsequent discussions with the Special Counsel,
     attached is our proposed plea ofTer. Rather than call you right now to address all of the points you'e
     raised, I'd propose that you first review the documents since they address some of your concerns. That
     would also give you the opportunity to raise any remaining questions or concerns now that you have the
     documents in hand. We'e available to talk later this evening at your convenience or connect tomorrow at
     1 1:15 (which unfortunately is the earliest we'd be able to talk tomorrow).

     Please let us know.
     Brandon
     Brandon   L.   Van Grack
     The Special Counsel's Office
     (202) 514-0529

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     http:
     VaultId=1C868D1B9E0E2BE49838A464981CCD7B91110000cbentvaultsite8iSavesetId=201803302448307
       201711280105540000 Z E110813DB8751FA1BABE8C543E53FAD1SAttachmentI1=1image00l.jpg
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